Case 5:16-cV-O4O49-NC Document 1-2 Filed 07/18/16 Page 1 of 118

EXHIBIT A

Case 5:16-cV-O4O49-NC Document 1-2 Filed 07/18/16 Page 2 of 118

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(A vlso AL eEMANeADo).- . _' . . l t; l~r[tj t.l l,t__‘q l; Ul _
FAY SERVICING, LLC;.U.S. BANK, N.A.; FLAGS-TAR BANK, FSB;` *‘ z'~~ ll -U `
and DOES l three h 50, inclusive
g JUN 10 2016

YOU ARE BE|NG SUED ‘BY PLA|NT|FF:
(LO ESTA DEMANDANDO EL DEMANDANTE).'

MICHAEL PARADISE '

 

 

 

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'rE- 6 DAV!D H. YAMASAK| orerrr, by EH""`, NGO .Depury

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KETTNER LAW CORP.
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0ASE NAME:
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', . demanded ,' demanded is Filed with met appearance by defendant ' ~
exceeds $25.000) $25.000 or less) (Cal. Rules of Court, rule _3.'402) oEF.'T: l
' llems 1-6 be ewmtlsl'oe completed fees instructions en page 2). ' -

 

 

1. Cheoi< one box below for.the case type that beat describes title case:

 

 

 

Au\o ron Contrect Frevte|erlel|y Complex Clvll L|tigetion

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2 Asbestos(Ot) [____\ othercontract(av) I:_:l securities litigation (23) '

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ij other employment net |:] outer ;tlututel ret-law tool

 

 

2. This case l:,,l le ill le not complex under rule 3.400 ofthe Cal|femla Rules of Court. lf the casale complex, mark the
factors requiring exceptional judicial management
a. l::l Large number of separately represented parties d. [::] Lerge number of witnesses
b. I::l Extenelve motion practice raising difficult or novel e. l:l Coord|nat|on with related actions pending in one or more courts
issues that will be time-consuming to resolve in other countiee, statee, or countries, or ln a federal court
c. l:l Substentia| amount of documentary evidence f. l:| Substant|el postjudgment judicial supervision

3. Remed|es sought (check all that apply): a.[:l monetary lmle nenmenetery; declaratory or injunctive relief c. Epunittve
lt. Number'cf causes of action (spec/fy).' 8

5. This case [::] is l:_[_l ls not a class action eu|t.

6 lf there are any known related cases, file and serve a notice of related ceae. (You may use form CM-015.)

Date: Junc 2, 2016

Maro A tecum -
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' umt"”ruuu'c?'re*n"emnt"“____“
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¢ Pla|ntifl’ must file this cover sheet with the first paper filed in the acl|on or proceeding (exoept small claims cases or cases tiled

' under the Probate Code, Family Code, or Welfare and institutions Code). v(<.`,ai. Rutos of Court, rule 3.220.) Faliure to tile may result
in eenotlone.

° Fiie this cover sheet ln addition to any cover sheet required by local court ru|e.

v lf this casale complex under rule 3.400 et eeq. ofthe Callfom|a Ru|es of Court, you must serve a copy et this cover sheet on all
other parties to the action or proceeding ,

- Unless this le a collections case under rule 3.740 er a complex ccse. this cover sheet will be used for statistical purposes only o

3 l

Porm ed et r M¢nuatery lien cni. Ruian el court. ellen a,ee, ezzu, a,¢toe-:t.rtoa. :L'l'-te,-
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Case 5:16-cV-O4O49-NC Document 1-2 Filed 07/18/16 Page 4 of 118

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To Platntlffs end Othore Fliing First Papors. lt you are filing a first paper (f_or o:»:en'tptel a compieint) in a civii case, you must
complete and ti|o. along with your first poper. tire Civii Cese Cever Sheet contained on page 1. Thie information will be used to compile
statistics about the types end numbers of cases t||ed. You must complete items 1 through B on the sheet. in item 1, you must check
one box fortna case type that best describes the caee. li- the case fits both a general end a more specific type of case listed in item ‘i,
check the more specific one. it the case has muii|pie causes of eci|on, check the box thot. best indicates the primary cause of aotion.
To assist you in completing the eheet, examples of the cases that belong under each ease type in item 1 ere provided betow. A cover
sheet must be ii|ed only with your initiei paper. Failuro to file s cover sheet with the first paper tiiod |n a civil case may subject a party,
its oounsei, or both to sanctions under rules 2.30 and 3.220 of the Caiiiomia Ruies of Court. _ .

To Partles in Rule 3.'!40 Coiieotions Casee. A "coi|ectlons caso" under rule 3.740 le defined as an action for recovery of money
owed in a sum stated to be certain that is not marathon $25,000, exclusive of interest end attomey's fees. arising fro_m a transaction in
which properly, servicos,'or money was acquired on credits A coiioctions case does not include en action seeking the following: (1) tort
damagesl (2) punitive damages (B) recovery of reel propertyt (¢t) recovery of personal property, or' [5} o prejudgment Writ of
attachmentl ~ The identification of a case as o ruie 3.740 collections-ceee-,on-ihie-iorm means that il will be exempt from the' general
1|rrrrr.fgr.serv|¢a requirements and case management rulesl unio.-=.s a defendant files a responsive pleading. A'ruto 3.740 collections
case witt .he subject to the requirements for service and obtaining ajudgment in rule 3.740. _ ' -

To Parttes in Complex Cas_oe. |n complex cases on|y,-parties must eis'o use the `Civii Cece Oovor S_hoet to designate whether the
case is complex lf.a plaintiff believes the casale complex under rule 3.400 oi tire Califomia Ru|ee of Court`, this must be_indicated by
completing the appropriate boxes in items“i and 2. ita plaintiff designates a case es compie)<, the cover street must be served with the
complaint .on all parties to the action. A defendant may file and serv_e no later ihan'tito time of its iirst appearance a joinder in the
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.Kettner Law Corporation

Marc Applbaum (SBN 222511)

2150 W Washington Street, Suite 104
San Dicgo, CA 92110

Tel: '(619) 756~7300

Fax: (619) 363-3944
marc@kettnerlawcol'p.com

'Anomey for Ple.imiff, MIcHAEL_ PAP;ADISB

SU'PERIOR COUR'I’ OF THE S'I'ATE OF CALIFORNIA
COUNTY OF SANTA CLARA

MICHAEL PARADISE

Plaintiff,

FAY SERVICING, LLC; U.S. BANK, N.A.
FLAGSTAR BANK, FSB; and DOES l
through 50, inclusive,

Defendants.

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Plaintiff, MICHABL PARADISE, by and through his attomey, alleges as follows:

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I’ARADISE v. FAY SERVICING, LI.C - COMPLAINT FOR DAMAGES AND INJUNCTlVE RELIEF

Case No.
COMPLAINT FOR:

5`\'\‘1`3-`.;'_-'--_-,'." ..-
‘ lawful L'-' L\~\:=.H»'~w [.".' ' `

' 16CV29623'?

VIOLATION OF CAL]FORNIA
HOM.EOWNER BILL OF RIGHTS
STATUTORY UNFAIR COMPETITION
- CALIFORNIA BUSINESS AND
PROFESSIONS CODE §17200 ET SEQ.
BREACH OF COVENANT OF GOOD
FAITH AND FAIR DEALING
NEGLIGENCE

NEGLIGENT INFLICTION OF
EMOTIONAL DISTRESS

BREACH OF EQUAL CREDIT
OPPORTUNITY ACT

FOR DECLARATORY RELIEF

FOR INJUNCTIVE RELIEF

.TU`RY ’I`RIAL DBMANDED

BY FAX

 

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Case 5:16-cV-O4O49-NC Document 1-2 Filed 07/18/16 Page 6 of 118

_ d PARTIES l

1. Plaintiff, I\/IICHAEL PARADISE, (“Plaintiff”) is, and at all times relevant to the
facts herein was, an individual residing in real property commonly known as 3927 Rhoda Drive,
San Jose, C’A 95117 (“subject property”) located in the County of Santa Clara, in the State of
california `

2'. ' Plaintiff is informed and believes and based thereon alleges that Defendant FAif
SERVIC,ll\lG,~LLC _(.“FAY”') is, and at all times relevant to the facts herein was, a limited liability -
company registered in the state of California, doing business in the County`of Santa Clara, State
of California as current loan servicer. ` '

3. Plaintiff is informed and believes and based thereon alleges that Defendant U.S.
BANK, N.A. (“US BANK”) is, and at all times relevant to the facts herein was, a national
association registered in the state of California, doing business in the County of Santa Clara, State
of California as current loan investor and as Trustee for CVF Mortgage Loan Acquisition
Company.

n 4. Plaintiff 'is informed and believes and based thereon alleges that Defendant
FLAGSTAR BANK, FSB (“FLAGSTAR”) is, and at all times relevant to the facts herein was, a
Federal Savings Bank registered in the state of California, doing business in the County of Santa
Clara, State of California as prior loan servicer.

5. The true names and capacities, whether individual, corporate, partnership,
associate, or otherwise of Defendants DOES l through 50, are unknown to Plaintiff who sues
each Defendant b`y such fictitious names. Plaintiff is informed and believes and based thereon
alleges each of the Defendants designated herein as a fictitiously named Defendant is, and in some
manner, was responsible for events and happenings referred to herein, either contractually or
tortuously, When Plaintiff ascertains the true names of capacities of DOES l through 50, he will
amend this complaint accordingly.

6. Plaintiff is informed and believes and based thereon alleges that Defendants and

each.of them, are, and at all times herein were, the agents, joint ventures, officers, members,

_ 2 .
PARADISE v. FAY sEvaClNG, LLC ~ COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

 

 

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-rep`resentaLives, servants, consultants or employees of their co~defendants, and in committing the
acts herein allege, were acting within the scope of such affiliation with knowledge, permission,

consent or subsequent ratification of their co~defendants.

JURIsDICTroN AND vENUE

7. This'Court has subject matterjurisdiction over this matter, as the Subject Property
is located in the County of Santa'Clara, California. ‘ v `

8. Ih addition, this Court has subject matter jurisdiction over the claims raised herein
pursuant to Cal;`fornia Const).'tutz'on Article VI, section lO, which grants this Court “original
jurisdiction in all causes except those given by statute to other trial coults.”

9. Defendants herein purposefully directed their activities to the Statc of California.
As a result, Defendants caused an event or events to occur in California, and more particularly in
the County of Santa Clara, out of which this action arises and Whlch form the basis of this action.

lO. Defendants either are entities duly licensed to do business in the State of California
or are entities that regularly conduct business within this judicial district within California.

ll, Venue is proper for this Court since the Subject Property is located in the County
of Santa Clara and because events or events out of which this action arises and which form the

basis for this action arise in the County of Santa Clara.

STATEMENT OF FACTS
12. On or about October 23, 2006, Rebekah V. Owen financed the Subject Property
for $620,000.00. As evidence of the loan, Ms. Owen executed a promissory note (“Note”), and
concurrently executed Deed of Trust (“Deed of Trust”) as security for the Note. The Deed of
Trust for the Subject Property was recorded as Document No. 19164224 in the Ofticial Records
of the Santa Clara County Recorder’s Office. The named Lender in the Deed of Trust was

FLAGSTAR. The named Trustee in the Deed of Trust was loan H. Anderson.

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PARADISE v. FAY sEvacrNG, LLC - coMPLAlNT FOR DAMAGES AND INJUNC'HVE RELlEF

 

 

 

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13. Ms. Owen was married-to l)laintiff. Unfortunately,.Ms', Owen passed away and '
Subject Propeity was held in the “Paradise Livin g Trust.” Plaintiffwas confirmed Trustee of the
“Paradise Living Trust.” A court order confirming such was recorded on or about April 09, 2015,
as Docuinentl No, 229130-96 in the Officia| Records of the Santa Clara County Recorder’s Officc.

l4. The Subject Propei'ty is Plain'tiff’ s principal residence and is owner-occupied

15. ` During or around the beginning of 2013, Plaintiff began experiencing financial

hardship as a result ofunderemployment. Plaintif_f contacted FLAGSTAR for any assistance they

' could offer'..

l6.l FLAGSTAR told Plaintiff he was not eligible for a loan modification, and'as such,
his only option was to continue to mm payments in full and on time. FLAGSTAR
failed to first review any of Plaintiff’s financial records prior to telling him he would not receive
a modification

17. Plaintiff` questioned why FLAGSTAR would consider him ineligible for a loan
modification without having first reviewed any of Plaintiff`s records. Furthermore, Plaintiff
contends FLAGS"TAR` failed to provide any meaningful assistance to avoid foreclosure as
required by law. FLAGSTAR ignored Plaintiff’s questions and concerns and refused to provide
Plaintiff with any assistance Whatsoever.

18. Throughout the following months, Plaintiff continued to exhaust every possible
avenue to procure assistance FLAGSTAR refused to provide Plaintiff any assistance whatsoever,
Plaintiff did not understand why FLAGSTAR was so hesitant to provide Plaintiff with assistance
Plaintiff realized FLAGSTAR’s only intention Was to push Plaintiff to foreclosure

19. On or about April 10, 2013, Defendants caused to be recorded a Substitution of
Trustee which purported to replace the original trustee under the Deed ofTrust with Law Offices
of Les Zieve (“Zieve”). The Substitution of Trustee was recorded as Document No. 22166797 in
the Official Santa Clara County Recorder’s Office Records.

20. On or about April 10, 2013, Sara Simonini, purporting to be an agent of Zieve, and

alleging to be the trustee under the Deed of Trust, caused to be recorded a Noticc of Dcfault and

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PARAi)isE v. FAY sERviciNG, i.i,c - coMPLAINT iron nAMAGirs ANn inninc'rivn RELiirF

 

 

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' _Election to Sell under Deed of Trust (‘~‘NOD”) in the Ofiicial Santa Clara.'County Recoi'der’s

Office Records as Document No. 22166798.

21. On or about July 19, 2013, Christine O’ Brien, purporting to be an agent onieve,
alleging to be the trustee under the Deed of Ti'ust, caused to be recorded a Notice of Trustee’s
Sale (“NTS”) in the Official Santa Clara County Recordci’ s Office Records as Document No.
22308679.

22. After ieceiving notification of the N_OD and NTS, Pla_intiff again ieached out to

' FLAGSTAR in a last ditch effort to secure a loan modification Finally, a representative fioin

FLAGSTAR encouraged Plaintiff` to apply for a modification The representative informed
Piaintiff that his application would be reviewed With priority to ensure he did not fall further
behind on his mortgage.

23. Plaintiff immediately gathered ali required documents and submitted an
application for loan modification into FLAGSTAR. FLAGSTAR delayed Plaintifi’s review and
refused to provide him any meaningful updates throughout the process.

24. Aft`er a prolonged review which put Plain_tiff deeper into default, FLAGSTAR
offered Plaintiff a modification After reviewing FLAGSTAR’s offer, Plaintiff realized the terms
of the proposed modification were wholly unreasonable The modification essentially did not
lower Plaintiff’s monthly mortgage payments because the interest rate was increased to a much
higher level. Plaintiff could not afford to reinstate his loan, so he accepted the modification after
receiving a promise from a FLAGSTAR representative that FLAGSTAR would review their offer
to Plaintiff

25. P]aintiff knew he could not truly afford the terms of the modification since it nearly
exceeded his monthly income. Plaintiff asked FLAGSTAR to reconsider their offer but rather
than address any of Plaintiff’s questions and concerns, they transferred seivicing obligations of
Plaintiff’s loan to Defendant FAY.

26. On or about September 19, 2013, an Assignment ofDeed of Trust was executed,

and by that Assignment, all rights, title and interest under the Deed of Trust were assigned to

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PARAi)isE v. FAY sERviciNc, LLc - coMPLAmT ron I)AMAGES ANi) iancTiva names

 

 

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Defendarit US BANK. The Assignment of Deed of Trust was recorded as Document No,.
22391632 in the Official Records of the Santa Clara County Recorder’s Office

27. Plaintiff immediately contacted FAY to seek any assistance they could offer in
securing a~ more manageable monthly payment FAY continuously ignored Plaintiff’s
correspondence and failed to provide him with any meaningful assistance

28. ~ Plaintiff began to fall behind on his`moi'tgage payment since the modification
represented a monthly payment Plaintiff could not realistically afford. Every attempt to contact
FAY for assistance was fruitless . l _ v v l 4
l 29. Plaintiff fell approximately $49,000 into default on his loan. At that point,
Plaintiff realized he would not receive any assistance from FAY to remedy the situation
Therefore, to protect the horne from being foreclosed upon, Plaintiff collected nearly the entirety
of his savings and submitted into FAY a $49,000 lump sum payment to fully reinstate his loan.

30. For the following eight months, Plaintiff made each and every payment in
accordance -with the terms of his modification Thereafter, Plaintiff received notification that he
owed an additional $5:,800. Plaintiff immediately contacted FAY to determine why they Were
demanding an additional $5,800 after he had fully reinstated his loan and faithfully made each
and every monthly payment up until that point. Again, FAY failed to provide Plaintiff with any
answers.

31. The following four months, Plaintiff made every payment on time and in full, but
FAY refused to accept Plaintiffs payments FAY claimed each payment was “insufficient” since
it did not include the additional $5,800. Plaintiff informed FAY that prior to paying $5,800, he
desired to see an accounting from FAY to determine why they were demanding the additional
amount since Plaintiff contends he had been fully current at the time

32. FAY’s ignorance in providing any explanation to Plaintiff or offering any
investigation as to why they demanded an unknown amount caused Plaintiff to again fall $1 1,000

into default on his loan.

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33. To protect his house from foreclosure Plaintiff submitted into FA'Y`a lump sum
payment of $11,000 with strict instructions that the payment be applied to his default Rather
than apply the payment to Plaintiff’s loan, FAY applied to the payment to the $5,800 and put the
rest in an unapplied account.

34. To this day, Plaintiff still has not received any verification as to why FAY applied
an additional charge of'$5,800 to his account. l '

35. Since FAY failed _to apply Plaintiff s reinstatement payment to his mortgage loan,.
Plaintiff had no choice but to request another modification Plaintiff gathered all materials and
submitted a full and complete modification into FAY. Plaintiff received guarantees that his
application would be reviewed and a decision would be reached within the following 30 days.

36. Af`ter months of futile contact, FAY sent Plaintiff a letter indicating his application
was incomplete for missing documents Plaintiff was furious that FAY was just then notifying
him of missing documents after Plaintiff had received prior assurances from multiple FAY
representatives that his application Was complete and in review.

37. ` Plaintiff contends he submitted all required documents for a loan modification
FAY had either lost or misplaced Plaintiff"s submitted documents Plaintiff suffered great anxiety
since the documents FAY lost or misplaced contained highly sensitive and confidential
information concerning Plaintiff’s state of financial affairs. chertheless, Plaintiff resubmitted
all requested documents into FAY and continued to await a resolution

38. At that point, Plaintiff wanted to establish a single point of contact with FAY to
ensure he could speak to the same representative who was knowledgeable about Plaintiff’s affairs
thus far. Throughout Plaintiff’s dealings with FAY, his single point of contact changed on
multiple occasions Plaintiff rarely spoke with his assigned contact and, rather, was transferred
from one representative to another all of whom gave conflicting answers to questions and
inaccurate status updates.

39. ' Plaintiff’ s voicemails consistently Went unanswered The only updates obtained

were a result of Plaintiff’s due diligence in consistently contacting FAY, rather than vice-versa

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as required by the Homeowner Bill of Rights. An uncommunicative single point of contact does
not satisfy the requirement under Cal. Civ. Code §2923.7.

40. Aiter a substantial delay, Plaintiff received notification that FAY had denied
Plaintifl”s request for loan modification as a result of missing documents Plaintiff immediately
contacted FAY to ask if he could appeal FAY"s denial since he had submitted every document
FAY had requested on numerous occasions. A representative from FAY inaccurately informed
Plaintiff that an appeal was not possible

41, `Defendants failed to abide by Civil Code 2923. 55 due to the fact that they did not -
review Plaintiff’s financial situation and further did not advise him of all options available to .v
avoid foreclosure

42. Defendants failed in their obligations to both offer assistance to Plaintiff prior to
the Notice of Default, Notice of Trustee’s Sale and meeting communication requirements once
Plaintiff was able to submit a request. Defendants did not offer Plaintiff a meaningful review as
required by California law. l

l 43. ` Defendants are actively moving toward foreclosure of the home and took clear
steps to satisfy this state’s requirements toward a non-judicial foreclosure, including recording a
Notice of Default and Notice of Trustee’s Sale.

44. Plaintiff now faces the loss of the Subject Property, as well as the lost opportunity
to pursue foreclosure prevention options that he would have pursued but for the Defendants’
violation of California Civil Code section 2924 et. seq. Defendants violated communication
requirements under the California I-Iomeowners Bill of Rights and failed to rescind the Notice of
Default to remedy said violations

45. Consequently, Plaintiff is informed and believes and based thereon alleges that the
negotiations were not in good faith, and were a mere “smoke sereen” for use by defendant to lull
Plaintiff into a state of complaceney while his home is foreclosed on and taken from him.

46. By way of this Complaint, Plaintiff seeks a temporary restraining order, followed

by a preliminary injunction, enjoining Defendants from selling Plaintiff’s property at auction.

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Plaintiff also seeks damages for Defendants'blatant violation of the requirements of California

Civil Codes §§ 2923.55, 2923.6, 2923.7, 2923.9, 2924.] 0, 2924.11, 2924.]2.

FIRST CAUSE OF ACTI ON
VIOLATION OF CALIFORNIA HOMEOWNER BlLL OF RIGHTS
v (Against ALLl Defendants) -

'.47. Plaintiff hereby incorporates by this reference paragraphs 1 through _.46, as fully l
set_foi~th herein. . ' v v n n ` _ ' ' - - n

48. The"Homeowner Bill of R-ights consists of a series of related bills including two
identical bills that Were passed on July 2, 201 2 by the state Senate and Assembly: AB 278 (Eng,
Feuer, Pérez, Mitchell) and SB 900 (Leno, Evans, Corbett, DeSaulnier, Pavley, Steinberg). Both
of which ultimately give rights back to borrowers and create a system in which banks can be held
accountable for pursuing their own interests above the borrowers

49. Lenders are now legally obligated to ensure a borrower receives “meaningful”
opportunity to be considered for any and all options available to avoid foreclosure It also
guarantees struggling homeowners a single point of contact at their lender With knowledge of
their loan and direct access to decision makers, and imposes civil penalties on fraudulently signed
mortgage documents ’

50. Plaintiff contends that California Civil Code § 2923.6 mandates that a good faith
review and an actual exploration take place regarding the borrower's financial situation and the
borrower's options to stay in his home. ]t is the servicer’s obligation to act in the best interests of
all parties to the loan pool or investors in the pooling and servicing agreement if it agrees to or
implements a loan modification or workout plan for Which the following apply'.

(l) The loan is in payment default or payment default is reasonably foreseeable;

(2) Antieipated recovery under loan modification or Worl<-out plan exceeds the anticipated

recovery through foreclosure on a net present value basis;

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» (Bl) lt is the intent of the Legislature that the mortgagee, beneficiary, or authorized agent
offers the borrower a loan modification or workout plan if such a modification or plan is
consistent with its contractual or other authority. v
51. Plaintiff alleges that Defendants violated Civil Code §2923.6. Plaintiff requested -

mortgage relief assistance on numerous occasions to help save his home from foreclosure yet
received nothing but runai'ound assistance from Defenda`nts.

52. California Civil Code section 2924.1_ 8 prohibits a mortgage servicer from
commencing or continuing the foreclosure process pending a completed review of a loan
modification application submitted by a borrower and until after the borrower has been provided
with a written decision about eligibility for alcan modification

53. Plaintiff alleges that Defendants continued the foreclosure process without
offering Plaintiff any assistance regarding how to avoid foreclosure On multiple occasions,
Plaintiff demanded assistance from Defendants, but Defendants only ignored Plaintiff's requests
for help.

54.` Defendants’ inability to accurately inform Plaintiff Of further instructions, missing
and/or expiring documents, and status updates caused Plaintiff to believe on multiple occasions
Defendants would provide Plaintiff no assistance, all the while as Defendants continued to push
closer to foreclosure

55 . California Civil Code section 2923.7 provides that upon the request of a
foreclosure prevention alternative, the mortgage servicer “shall promptly establish a single point
of contact and provide the borrower one or more direct means of communication with the single
point of contact.”

56. Despite Plaintiff’s request for assistance with an alternative to foreclosure, the
numerous representatives at FAY that Plaintiff spoke with were unable and/or unwilling to help
and consistently gave Plaintiff vague answers to questions Said representatives failed to offer
adequate assistance to Plaintiff including further instructions and status updates regarding an

application for assistance.

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PARADISE v. FAY SERVICING, LLC - COMPLAINT FOR DAMAGES AND lNJUNCTlVE RELIEF

 

 

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~57.` Per California Civil Code 29_23.6, if a loan modification application is denied, a
mortgage servicer is required to Send a borrower written notice identifying the reasons for denial,
including (l) timing and instructions for requesting an appeal; (2) if applicable, reasons for
investor disallowance of the loan modification; (3) information related to net present value
calculation, if denial was based on this calculation; (4) if applicable, a finding of a prior failed
loan modification; and (5) a description of other foreclosure prevention alternatives for which the
borrower may be eli'gible. A mortgage servicer must provide a borrower at least'30 days from `
the date of.a written denial to appeal the deniall and provide evidence that the'mortga.ge servicer’s
determination was in error. v

58, Plaintiff alleges he was not formally declined by mail or phone.

59. California Civil Code section 2923.55' provides the following: “a mortgage
servicer shall send the following information in writing to the borrower. ..

(B) A statement that the borrower may request the following:

(i) A copy of the borrower’s promissory note oi' other evidence of indebtedness

(ii) A copy of the borrower’s deed of trust or mortgage

(iii) A copy of any assignment, if applicable, of the borrower’s mortgage or deed of trust

required to demonstrate the right of the mortgage servicer to foreclose

(iv) A copy of the borrower’s payment history since the borrower was last less than 60

days past due.”

60. Plaintiff has not received any of the documents listed in Cal. Civil Code section
2923.55 (B), iii violation of Cal. Civil Code section 2923,55, despite a request to furnish the
aforementioned documents.

61. Plaintiff has suffered and will continue to suffer substantial irreparable haim,
including but not limited to the potential loss of the Subject Property, the cost and expense of the
instant pending litigation, continuing emotional distress, and other actual consequential damages

that will be proven on date of trial. Furthermore, Plaintiff has been harmed in that Plaintiff was

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unable to exercise his right-to reinstate the loan under Cal. Civil Code section 29240, as well as

exercise his right to secure other alternatives to foreclosure

sECoNi) CAUSE or ACTIoN
STATUTORY UNFAIR COMPETITION - CALIFORNIA BUS'INESS AND
PROFESSIONS CODE §17200 ET SliJQ.
g (quinst.ALi.. Defend@iiis)~ _ _
' 62. . , l>laiiitiff hereby incorporates`by this reference paragraphs-l through 61, as_ though
fully incorporated -herein, l l ' d

63. Defendants’ conduct as alleged herein constitutes unlawful, unfair or fraudulent
business act(s) or practice(s) within the meaning of California Business and Professions Code
§17200 et seq.

64. Specitically, Defendants are unlawfully and unfairly proceeding with foreclosure
against California homeowners, including Plaintiff, in direct violation of California Civil Code
foreclosure procedure statutes, including newly amended statutes implemented effective January
l, 2013 by way ofAB 237 and SB 900.

65, Upon information and belief, Defendants have pattern and practice of foreclosing
on property of California homeowners without contacting them to explore options to avoid
foreclosure as required by law. In fact, as was the case here, Defendants are purposefully
precluding homeowner attempts to apply and qualify for any and all workout options.

66. Upon information and belief, Defendants have pattern and practice of foreclosing
on property of California homeowners without giving opportunity for, agreeing to or
implementing a modification or workout as required by California Civil Code §2923.6 when loan
payments are in default or default is reasonably foreseeable and anticipated recovery under the
workout exceeds the anticipated recovery through foreclosure on a net present value basis.

67 . Plaintiff has additionally been damaged in the amount of foreclosure fees and costs

already charged to and added to Plaintiff’s loan, in an amount to be proven at trial.

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'.68. The fees and costs charged by'Defendants were charged Withou_t any legal
authority to do so and in direct violation of the statutory mandate of California Civil Code
§2923.55 and §2923.6.

69. ~' Defendants must be required to disgorge any profit or gain that they obtained as a
result of their Wrongful conduct as herein alleged. '

70. Plaintiff is entitled to equitable relief in the form of an order requiring Defendants

_to disgorge,all profits or gain they have obtained from Plaintiff or at the expense 'of Plaintiff and

members`of the general public by reason of their unlawful, unfair or fraudulent business act(s) _

and practioe(s) and an injunction enjoining Defendants from continuing said acts or practices

THIRD CAUSE OF ACTION
BREACH OF COVENANT OF GOOD FAITH AND FAIR DEALING
(Against ALL Defendants)

71 . Plaintiff hereby incorporates by this reference paragraphs 1 through 70, as though
fully set forth herein.

72. Defendants’ conduct, as alleged, constitutes a breach of the covenant of good faith
and fair dealing implied in every contract under California law. This covenant creates an
obligation in Defendants not to hinder or prevent Plaintiff’s ability to perform under the contract
or receive the benefit of the contract

73. On or about October 23, 2006, Plaintiff entered into a loan agreement, executing
a Promissory Note and Deed of Trust in favor of FLAGSTAR and subsequently Defendants.
Plaintiff alleges that Defendants breached the covenant of good faith and fair dealing and
interfered With P]aintiff’s ability to perform under the contract by refusing to provide Plaintiff
any meaningful assistance and then impairing his ability to get current on his loan like he was
trying desperately to do. l

74. ` For years, Plaintiff substantially performed under the loan agreement, making his

full monthly payments on time every month.

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PARADISE v. FAY sEvaclNG, LLC - COMPLAINT non DAMAGES AND lNJuNcTIvE REL!EF

 

 

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75. Defendant’s negligence in responding to Plaintiff"s requests for assistance,
coupled with prolonged review periods and major communication failures, forced Plaintiff into
an unrecoverablc default whereby if assistance was not offered, Plaintiff would have on other
means to save his home.

76. Therefore, because Defendants induced Plarntrff to not perform under the contract
by failing to provide assistance as required by law, Plaintift’s performance was excused as set -
forth unde1 Cal. Civ. Code § 15]1, which states if a defendant does some act naturally tending to
induce the platntlff not to perform, the plaintiffs failure to perform' rs excused When this occurs,
according to Cal. Civ. Code § 1512, the plaintiff rs entitled to all the benefits of the contract had
it been performed by both parties. As such, no conditions existed that would interfere With
Defendant performing under the contract, and all conditions necessary for Defendants to fulfill
its obligations under the contract had occurred when Defendants coerced Plaintiff into missing
payments by promising Plaintiff that he would not face foreclosure if he did so. ln fact, this
promise was designed to induce and coerce Plaintiff to miss payments and sit idly by during
supposed review periods so that Defendants could foreclose on Plaintiff’s loan.

77. As a proximate result ofDefendants’ acts and practices, Plaintiff’s credit has been
detrimentally impacted, and Plaintiff now risks the loss of his home through foreclosure Plaintiff
has incurred contract damages, according to proof at trial, attorney’s fees, costs to save the home,

and loss of equity.

FOURTH CAUSE OF ACTION
NEGLIGENCE
(Against ALL Defendants)
7 8. Plaintiff hereby incorporates by this reference, paragraphs l through 77, as though
fully incorporated herein.
79. The elements of a cause of action for negligence are Wcl| established They are (a)

a legal duty to use due care; (b) a breach of such legal duty; (c) the breach as the proximate or

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legal cause 'of the resulting injury. (Ladd v. County of San Mateo (1996) 12 Cal.4tl1 913,l 917
[SOCal.Rptr.Zd 309, 91 1 P.2d 496].)

80. At all times relevant herein, Defendants, acting as PlaintifPs lender and servicer,
had a duty to exercise reasonable care and skill to maintain proper and accurate loan records and
to discharge and fulfill the other incidents attendant to the maintenance accounting and servicing
of loan records, including, but not limited 'to, disclosing to Plaintiff the real status of any
foreclosure actions taken by it, refraining from taking any action against Plaintiff outside its legal
authority, and providing all relevant information regarding Plaintiff`.’s loan accounts with
Defendants

81 . Under the facts specified above and in the allegations incorporated, the Defendants
were under a duty to Plaintiff and are liable to the Plaintiff for Negligence.

82. It is true that some courts have held that in the standard lender/borrower
relationship, a duty of care is not necessarily created, For instance, the court held in Nymark v.
Heart Federal Savings & Lcan Association., 231 Cal. App. 3d 1089, 1095 (1991) th_at "as a general
rule, a financial institution owes no duty of care to a borrower when the institution's involvement
in the loan transaction does not exceed the scope of its conventional role as a mere lender of
money."

83. However, the Nymark court simply found that a duty was not owed under the facts
in that case after analyzing them pursuant to the six part test established in Biakanja v. lrving, 49
Ca12d 647 , 122 P.2d 294.

84. A relationship of trust and confidence existed between Plaintiff and Defendants
Arnong other things, Plaintiff entrusted Defendants with his home mortgage refinancing as well
as with a myriad of confidential information with regard to the subject mortgage loans, including,
without limitation, Plaintiff’s social security numbers and/or tax ID numbers, tax returns, WZ's,
pay stubs, bank statements, other income information and/or verification, financial statements,

information With regard to Plaintiff’s debt, work history, credit history and net worth.

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PARADISE v. Frw ssnvrcruc.', 1,Lt: - coMPLAlNT FoR DAMAGES AND INJUNcrrvs. names

 

 

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85. A fiduciary relationship came into existence When Plaintiff and Defendants were
negotiating foreclosure options. Defendants promised and represented that Plaintiff would be
receiving a loan and the repayment options would be within Plaintiff’s monthly means.

86. In addition to the above-described common law fiduciary rclationship, Defendants
automatically occupy a fiduciary relationship to their Principa|, including ~Plaintiff, and owe

Plaintiff the highest possible duty including, but not limited-to, absolute honesty and undivided

`8"7, When Defendants were acting `as ser'vicer of Plaintiff’s loan, there existed th_e
traditional lender/borrower relationship, which does not usually` rmpose a duty of care. However, `
once Defendants promised and represented that Plaintiff would be considered and properly
evaluated for all available mortgage relief options, they stepped outside the role of a traditional
lender and created a duty of care to Plaintiff.

88. Defendants created a duty to Plaintiff when it: (l) affected Plaintiff by making
clear and unambiguous promises and representations regarding modifying Plaintiff’s loan to
prevent fdreclosure; (2) spent months delaying making a decision on Plaintiff’s request for
mortgage relief; (3) created additional arrears by refusing to accept a payment from Plaintiff; (4)
the harm of Plaintiff losing his home was foreseeable if the numerous promises made by many
different employees were breached; (5) Plaintiff"s injury was certainly foreseeable; (6)
Defendants’ long period of bad-faith conduct with Plaintiff over saving his home from foreclosure
is evidence of them causing Plaintiff’s injury and damages; (7) the extreme runaround,
contradictory promises, directives from various employees, all create moral blame with regards
to Defendants; (8) the public policy of preventing future harm would require Defendants to
answer for their mistreatment of Plaintiff.

89. Defendants breached their duty of care to Plaintiff by signing inaccurate and
invalid written instruments concerning Plaintiff’s home mortgage loan, falsifying loan

documents,`mlsleading Plaintiff, and promising there would be no foreclosure attempt of Subject

Property.

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90. Defendants failed to disclose to Plaintiff the existence of` any other available
mortgage relief programs as required under current California statutes
91 . At the time Defendants made their representations and/or omissions to Plaintiff as

alleged above, they knew, or had reason to know, that said representations and/or omissions were

in fact false, and nevertheless made them, with the intent to defraud Plaintiff and cause Plaintiff ' '

to believe his home would not be foreclosed upon. Had Plaintiff known the true facts, Plaintiff
would have demanded an explanation and/or clarification fror_n Defendants and pursued other
available legal remedies to protect their interests ' n -

92. The lack of proper assistance and communication by befendants caused Plaintiff
monetary loss, severe emotional stress at the loss Plaintiff`s home, loss ofhome equity, and more.

93. Plaintiff demands damages in an amount to be proven at trial.

FIFTH CAUSE OF ACTION
NEGLIGEN'I` INFLICTION OF EMOTIONAL DISTRESS
(Against ALL Defendants)

94. Plaintiff hereby incorporates by this reference paragraphs l through 93, as though
fully set forth herein.

95. Plaintiff alleges Defendants negligently inflicted emotional distress upon him.

96, Defendants wrongfully pursued foreclosing on Plaintiff’s home in violation of
various California statues as mentioned above.

97. Plaintiff has directly suffered serious emotional distress in response Plaintiff
requested assistance from FLAGSTAR and FAY, and was continually ignored. Furthermore,
Defendants engaged in harassing behavior to Plaintiff by unnecessarily prolonging Plaintiff"s
review for modification and instituting foreclosure proceedings against Plaintiff when they had
promised otherwise Defendants had a routine practice of making false assurances to Plaintiff

Which Plaintiff Would justifiably rely on._

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98. `- Plaintiff diligently followed all instructions asked of him `by FLAGSTAR and
FAY Which ultimately led him to a worse position. Plaintiff spent countless nights suffering from
severe anxiety due to the questionable business practices Defendants conducted Plaintift‘s
anxiety manifested itself as a decrease in Plaintiff’s general health and a lower quality of life.

99. Plaintiff demands an award of damages for all his distress suffered in an amount

to be determined at trial'.

`_ sIXTIi clauss oF AcTioN
BREACH oF EQUAL cREl)IT oPPoRruNI.rY ACT
(Against Defendants FAY and FLAGSTAR)

100. Plaintiff hereby incorporates by this reference paragraphs l through 99, as fully
set forth herein.

lOi. According to 12 CFR 1002,9, “a creditor must notify an applicant of action taken
on the applicant’s request for credit, Whether favorable or adverse, Within 30 days after receiving
a completed application.”

102. Plaintiff submitted applications for a loan modification With the assurances from
Defendants that they would reach a resolution on Plaintiff’s request within thirty days.
Defendants failed to notify Plaintiff of a resolution within the mandatory thirty day period.

103. Defendants’ unjustifiable delay resulted in Plaintiff falling substantially behind on
his mortgage despite the fact Plaintiff complied with all instructions asked of him by Defendants

104. Defendants have Violated section 1002.9 of the Equal Credit Opportunity Act
(ECOA) in that Defendants have failed to respond to Plaintiff’s application within thirty days.

105. in addition to actual damages, the ECOA provides for punitive damages of up to
$10,000 along with an award of court costs and attorney’s fees as per 12 CFR l002.16.

106. Plaintiff demands an award of damages for Defendants’ violation of the ECOA in

an amount to be determined at trial.

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sEvENTH cAUs~E_oF AeTI.oN
FOR DECLARATORY RELIEF
(Against ALL Defendants)
107.~ Plaintiff hereby incorporates by this reference paragraphs l through 106, as though
fully set forth herein. l
`108. An actual controversy has arisen and now exists between the parties to thisl
complaint and their respecting rights and responsibilities l
109. Plalntlff requests and is entitled to a judicial declaration and judgment of th1s Court
that: -
(A) That Defendants failed to abide by their own guidelines in offering Plaintiff an
application for a loan modification or other alternative in violation of Civil Code §2923,6
and further violated numerous communication requirements as dictated by the California
Homeowners Bill of Rights.
(B) 'I`hat Defendants and each of them, failed to provide the required statutory
notifications and undertake the required courses of action as mandated under California’s
Civil Code.
l ]0. Plaintiff has no adequate remedy at law for the injuries that have occurred and are
being threatened by the Defendants herein.
111. Plaintiff has additionally been injured in that Plaintiff has incurred unlawful

foreclosure fees and expenses, which have been added to the amount of Plaintist loan.

EIGHTH CAUSE OF ACTION
FOR INJUNCTIVE RELIEF
l12. Plaintiff hereby incorporates by this reference paragraphs l through 111, as fully

set forth herein.

l 13. Under California law, a borrower may bring an action for injunctive relief to enjoin

a material violation of Civil Code section 2923.55, 2923.6, 2923.7, 2923.9, 2924.10, or 2924.1 l.

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PARADISE v. FAY sEerclNG, LLC ~ coMPLAlNT FoR DAMAGES AND IN.luN(:TIVF. nELlEF

 

 

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ll4. Any injunction shall remain in place and any trustee’s sale shall be enjoined until
the court determines that the bank has corrected and remedied the violations giving rise to the
action for injunctive relief. Civil Code 2924.12.

l l5. Pursua'nt to California Civil Code section 2924.] 9 (a), any injunction shall remain
in place and any trustee’s sale Shall be enjoined until the court determines that the mortgage

servicer, mortgagee, beneficiary, or authorized agent has corrected and remedied the violation or

_ violations giving rise to the action for injunctive lrelief.

116.` Also undei these laws, pursuant to California Civil Code section 2924. 19 (h),a
court may award a prevailing borrower reasonable attorney’ s fees and costs in an action brought
pursuant to this section. Id. At subsection (g). Additionally, a borrower shall be deemed to have
prevailed for purposes of this subdivision if the borrower obtained injunctive relief or was
awarded damages pursuant to this section. Id at subsection (h). Under the recently-enacted
California Homeowner Bi]l ofRights, a mortgage servicer/bank may not record a notice of default
until it complies with numerous specific conditions set forth in the statute at 2924.18 and further

cannot continue foreclosure proceedings unless all rights of the borrower are considered and give.

WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

1. A declaratory judgment and order of this Court that:

(A) Defendants, and each of them, may not foreclose on the Property until they have
honored and proven that all statutory requirements stemming from and relating to Plaintist
options to avoid foreclosure have been met.

(B) That Defendants failed to abide by their own guidelines in qualifying or
reviewing Plaintiff for a loan modification in violation of Civil Code §2923.6.

(C) That Defendants and each of them, failed to provide the required statutory
notifications and undertake the required courses of action as mandated under California’s Civil

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2. ' 'F or a temporary restraining order, preliminary injunction and permanent
injunction prohibiting Defendants from engaging in unlawful and deceptive acts and practices
of foreclosing on property of California homeowners, including Plaintiff, without considering
her for within their guidelines, and when anticipated recovery through a modification or
workout plan exceeds anticipated recovery through foreclosure on a net present value basis.

~3. ` For disgorgement of Defendants illegal profits and gain, including but not
limited_to all foreclosure fees and costs charged California homeowners, including Plaintiff.

4. ',For an award,of actual damages in an amount within thejurisdictional limits-of '

this Court to be proven at trial.

5, F or general damages, according to proof.

6 For special damages, according to proof.

7. For consequential damages, and incidental damages, according to proof.

8 For an award of reasonable attorney’s fees pursuant to agreement of the parties,

according to proof.
9." ` For an award of interest, including prejudgment interest, as provided by law.
10. For costs of suit; and

11. For such other relief as the Court deems just and proper.

DATED: June 2, 2016 KETTNER LAW CORPORATION

 

Attorney for Plaintiff

-21_
PARADISE v. FAY sERviclNG, LLC - CoMPLAlN'r FOR DAMAGES AND INJuNCl‘ivn RELlF.F

 

 

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Kettner Law Corporation

Marc App]baum (SBN: 222511)
2150 W Washington St., Suite 104
San Diego, CA 92110 k ]__-__.:.' . .-
Tel: (619) 756~7300 :h_“_“_":___‘_ - .-
Fax: (619) 363-3944 y ~-~~»BJ_-$~`_.l},c,]l{.|.i.
marc@kettnerlawcorp.com _

 

Attorney for Plaintiff, MICHAEL PARADISB

- SUPERIOR COURT OF THE STATE OF CALIFORNIA

COUNTY OF SANTA CLARA
' 1 6 C V 2 9 6 2 3 '7
Case No.
MICHAEL PARADISE
NOTICE OF PENDENCY OF ACTION
[CCP § 405.20]
Plaintiff,

v_- 1 ny san

FAY SBRVICING, LLC; U.S. BANK, N.A.;
FlAGSTAR BANK, FSB; and DOBS 1 through
50, inclusive,

Defendants

 

 

NOTICE IS HEREBY GIVEN that the above-entitled action Was filed in the above court on
June 2, 2016, by MICHAEL PARADISE, Plaintiff, against FAY SERVIC]NG, LLC; U.S. BANK,
N.A.; FLAGSTAR BANK, PSB; and DOES l through 50, inolusive, Defendants. The action effects

title to real property and the validity of foreclosure actions taken by defendants in the complaint The

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mannst v. FAY snnvrclno, 1.1.c - No'ricn 011 PnNnnncY or nc'rrou

 

 

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specific real property is affected by the_ action is located in the County of Santa Clara, State of

California, and described as follows:

LEGAL DESCRIPTION

LoT 17, As DELINEATED UPON THAT CERTAIN MAP ENTITLED “TRACT No. 413 1 FILED
FOR RECORD lN IHE OFFlc_E 0F THE COUNTY OF SANTA CLARA, 31A1 13 oF
CALIPoRNIA, ON FEBRUARY 24“', 1966 IN BOOK 205 OF MAPS AT PAGE 42.

EXCE_PTING T1IEREFROM THE UNDERGROUND WATER OR R1G11_TS THERETO WITH NO
RIGHTS OF SURFACE _ENTRY, AS GRANTED TO SAN JOSE WATER WORKS, A ` '

- CALIFORNIA CORPORATION BY INSTRUIVIENT, RECORDED MARCH 29,19661N BOOK

7337 OF OFFICIAL RECORDS, P'AGE 232

APN: 299~18-117

DATED: June 2, 2016 KETTNER LAW CORPORATION

BY:MA _M,

MARC APPLBAUM
Attorney for Plaintiff

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PA lml)lsn v. FA\' smz\#l(:lNG. L.LC~ Nt}'l'l(:b: 01“ PENDENCV 01-1 AC'rloN

 

 

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ATTACHMENT CV-5012

cler LAwsulT NoTrcE ' . - licensee esa
Superlor Court of Calllornla, County of Santa Clara CASE NUMBER: ' »
191 N. Fll‘sfo, San JOSO, CA 95113

PLEASE READ TH|S ENT|RE FORM

 

 

 

 

 

PLA____l__NT/FF (the person suing): Within 60 days after filing the lawsuit you must serve each Defendant with the Complalnl, v
Summons, an Allematlve Dispure Resolullon (ADR) lnformailon Sheel. end a copy of thls Clvll Lewsull Notlce. end you `must tile
written proof of such service. ,

DEFENDANT(The person sued): You must do each of the following to protect your rights: '

You must il|s' _a written response to the Complalnt, us/ng the proper legal form or format, in the Clerk’s 0fllce of the
Courl, within 30 days of the dale you were served with the Summons and Complalnt;

You must serve by mall a copy of your written response on the Plaintlff‘s attorney or on the Plaintiff lf Plaintiff has no
attorney (to "serve by mail" means to have ah adult other than yourself mail a copy); and

Vou must attend the first Case Managemeni Conference.

Warnlng: lf you, as the Defendant, do not follow these instructions,
you may automatically lose this case.

 

BULES AND FORMS.' You must follow the Calilorn|a Rules of Court and the Superlor Court of Californla. County of Santa C|ara
Loca| C|vll Rules and use proper forms. You can obtain legal informetion, view the rules and receive forms tree of charge, from
the Self- -Help Center at 09 Notre Dame Avenue, San Jose (408- 882- 2900 x-2026). w\_~nu__. scse|tserulco.o _o_rg (Se|ect "Clvll") or from

Slate Rules and Judlcla| Coun¢il Forms: M,goul;tlnfo,ca,gov/forms and w_ww`.courtinfo.ga.gov/rules
- Loca| Rules and Forms: htln://www.sccsuperlorcourt.orqlc|vglruleltoc.htm

CASE MANAGEMENT CONEERENCE (CMCl: You must meet with the other parties and discuss the case in person or by
telephone al least 30 calendar days before the CMC. You must also fill out file and serve a Case Managemeni Statement

(dudiclel Councll form 011-110) at least 15 calendar days before the CMC.
You or your attorney must appear at the CMC. You may ask to appear by telephone ~ see l.ocal Clvll Rule 8.

 

 

Your Case ManagementJudgels: Maureen Folan Department: 8
The 13' CMC ls scheduled for: (Cornp|eted by C|erl< of Court)

Date: Tlme: 3130[2"1 ln Department: 8
The next CMC ls scheduled lor.' (Completed by party if the lrst ClvlC was continued or has passed)

Date: Tlme: ` ln Depertment:

 

 

 

 

Al. Y'ERNA TlVE DlSPUTE RESOLUTlON lADRi: lt all parties have appeared and llled a completed ADR Stl,ouiallon Form (|oce|
form CV 5000] at least 15 days before the CMC the Court will cancel the CMC and mall notice of an ADR Slalus Conferenoe.

Vlslt the Courl's webslte al My_/ sgcsuperlgrggurt. org/civi|lADBl or call the ADR Adm|nlstralor (400 082- 2100 x- -2530) for s list of
ADR providers and their qualifications services and fees.

MBMN_Q; Sancllons may be imposed ll you do not follow the California Rules of Court or the Local Rules of Court.

 

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SANTA CLARA COUN.TY SUPER|OR COURT
ALTERNAT|VE DlSPUTE- RESOLUT|ON
iNFOR|VlAT|ON SHEET "

Meny cases can be resolved to the satisfaction of all parties without the necessity of traditional litigationl which can be expensive, time
consuming, and stressfui. The Court finds that it is in the best interests of the parties that they participate in alternatives to traditional
litigation, including arbitration, mediation, neutral evaluation, special masters and referees, end settlement conferences Therefore. all

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cause to dispense with the ADR requirement

What ls ADR?
ADR is the general term for a wide variety of dispute resolution processes that are alternatives to lltlgetlon. Typ_es otADR processes
include mediation arbitration neutral evaluation. special masters and reierees. and settlement conlerences. among others formsl

What are the'advantages of chooslng 'ADR instead of lltlgetlon ?
ADR can have a number of advantages over litigation:

o A'DR can save time. A dispute can be resolved in a matter of months, or even weeks, while litigation can take years.
- ADR can save money. Attorney's fees. court coets, and export fees can be reduced or avoided altogether.

o ADR provides more participation Parties have more opportunities with ADR to express their interests and concerns, instead
of focusing exclusively on legal rlghts.

» ADR provides more control end flexibility. Parties can choose the ADR process that ls most likely to bring a satisfactory
resolution to their dlspute.

- ADR can reduce stress. ADR encourages cooperation end communication while discouraging the adversarial atmosphere of
litigation Surveys of parties who have participated in an ADR process have found much greater satisfaction than with parties
who have gone through litigation

What are the main forms ofADR offered by the Court?

tillediatlon is an informal, contidentlal. flexible end nonbinding process in the mediator helps the parties to understand the interests of
everyone |nvolved, and their practical and legal choicesl The mediator helps the parties to communicate better, explore legal and practical
settlement options, and reach an acceptable solution of the problem. The mediator does not decide the solution to the dispute; the parties

do.

Medlat|on may be appropriate when:
v The parties want a non-adversary procedure
~ The parties have a continuing business or personal relationship
o Communication problems are interfering with a resolution
o There is an emotional element involved
. The parties ere interested in en inlunctlon. consent decree, or other form ot equitable relief

Neutra| evaluation. sometimes called "Early Neutral Eva|uetlon" or"ENE". ls en informal process in which the evaluator. an experienced
neutral lawyer, hears a compact presentation of both sides of the case. gives a non-binding assessment of the strengths and weaknesses
on each slde, and predicts the likely outcome. The evaluator can help parties to identify lssues, prepare stipulations and draft discovery
plens. The parties may use the neutral's evaluation to discuss settlement

Neuirel evaluation may be appropriate when:
» The parties are tar apart in their view of the law or value of the case
o The case involves a technical issue in which the evaluetor has expertise
o Case planning assistance would be helpful end would save legal fees and costs
~ The parties are interested in an ln]unctlon, consent decree. or other form of equitable relief

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Arbitration is a les_s formal process than a tria|, with no jury. The arbitrator hears the evidence and arguments of the parties and then
makes a written decision The parties can agree to binding or non-binding arbitration in binding arbitration the arbitrators decision is final
end completely resolves the case. without the opportunity for appeal in non- binding arbitralion, the arbitrators decision could resolvethe
case, Withoutthe opportunity for eppeal, unless a party timely rejects the arbitrators decision within 30 days and requests a lria|. Private
arbitrators are allowed to charge for theirtime.

Arbitratlon may be appropriate when:
~ The a'otion is for personal injury, property damage, or breach of contract
¢ Oniy monetary damages are sought
-- W|tness testimony. under oath, needs to be evaluated
o ‘ An advisory opinion ls sought from an experienced iitlgator(lf a non-binding arbitration)

'Civil Judge ADR allows parties to have a mediation or settlement conferencewith an experienced judge of the SuperiorCourt. Medialion
.le an lnformal, confldentiai. flexible and non-binding process ln which the judge helps the parties to understand the interests of everyone `
. _ invoived, and their practical and legal choices Asettlement conference is an informal process in which thejudge meets with th_e parties or '

their attorneys. hears thefacte of the dispute, helps identify issues to be re',soived and normaiiysuggestea resolution that the parties may '
accept cr u_se as a basis for further negotiations The requesthr mediation or settlement conference may be made promptly by stipulation
(ag`reement) upon the filing of the Civil complaint and the answer. There is no charge for this service.

Civil Judge ADR may be appropriate when:‘
- ' The parties have complex facts to review
~ The case involves multiple parties and problems
- ' The courthouse surroundings would he helpful to the settlement process

S_peclai masters and referees are neutral parties who may be appointed by the court to obtain information or to make specific fact
findings that may iead- to a resolution of a dispute.
Speclai masters and referees can be particularly effective in complex cases with a number of parties like construction disputes.

Setttement conferences are informal processes in which the neutral (a judge or an experienced attorney) maetswith the parties orthe|r
attorneys. hears the facts of the dispute. helps identify issues to be resolved and normally suggests a resolution that the parties may
accept or use as a basis for further negotiations

Settiement conferences can be effectivewhen the authorityor expeniseofthe judge or experienced attorney may help the parties reach a
resolution.

What kind of disputes can be resolved by ADR? '

Aithough some disputes must go to court. almost any dispute can be resolved through ADR. This includes disputes involving business
matters; civil rights; collections; corporations; construction; consumer protection; contracts; oopyrights; defamation; dlsabi|ities;
disorimination; employment; environmental problems; fraud; harassment; health care; housing; insurance; intellectual prcperty; iabor;
landlord/tenant media; medical malpractice and other professional negligence; neighborhood problems; partnerships; patents; personal
lnjury; probate; product iiabi||ty; properly damage; real estate; securities; sports; trade secret; and wrongful death, among other mattere.

Where can you get assistance with selecting an appropriate form ofADR and a neutral for y'our case, information abourAD_R
procedures or answers to other questions about ADR?

Con!ac'f:
Santa Ciara County Suparior Court Santa O|ara County DRPA Cocrdinator
. ADR Admlnlstrator _ 408'792~2784

408~882~2530

 

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Case 5:16-cV-O4O49-NC Document 1-2 Filed 07/18/16 Page 31 of 118

WR]GHT, FINLAY & ZAK, LLP

'I`. Robert Finlay, Esq., SBN 167280
Rona|d M. Arlas, Esq., SBN 59091

4665 MacArthur Court, Suitc 280
Ncwpnrt Bcach, CA 92660

Tcl: (949) 477-5050; Fax: (949) 477-9200

WRIGHT, F[NLAY & ZAK, LLP
Rona|d M. Arlas, Bsq. SBN 5909|

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Kcntf`lcld, Ca. 94904

Tcl: 4 l 5/230-4350;» Fax: 415/455-0370
rarlas@wrightlcgal.net

E`.NDUR_SED
F\L:D

JUL \5 2016

 

Altomcys for Defendants FAY SERVlCl'NG, LLC AND US BANK, N.A. AS TRUS'I`EE FOR CVI-'
MORTGAGE LOAN ACQUIS]T|ON COMPANY (erroneously sued as US Bank, N.A)

IN THE SUPER|OR COURT OF THE STATE OF CALIFORNIA
lN AND FOR THE COUNTY OF SANTA CLARA

MlCHAEL PARADISE,
Plaintiff
vs.
FAY SERVIC[NG, LLC, cl al.

Dcf`cndams

 

 

 

Case No. l6CV296237

NOTICE OF DEMURRER AND
DEM'URRER TO COMPLAINT BY
DEFENDANTS FAY SERVlCI`NG.
LLC AND US BANK, N.A. AS
TRUSTEE TO THE ORIGINAL
COMPLAINT

Datc: Augusl 30, 2016
Time: 9:00 a.m.

Placc: Dcpt. 8
Reserved Hearing Dale

TO THE HONORABLE COURT AND ALL PARTIES AND THEIR A'I`TORNEYS

OF RECORD, lF ANY:

PLEASE TAKE NOTICE that on August 30, 2016, at 9:00 u.m. in Dcpartmcm 8 of thc

abovc'captioncd Court located at located at |91 Norlh First Strcet, San Josc, Califomia, 95113,

defendants FAY SERVICI`NG, LLC and US BANK, N.A. AS TRUSTEE FOR CVF MORTGAGE

 

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NOT|CE OF DEMURRER AND DEMURRER TO COMPLAINT BY DEFENDANTS FAY SERV|C|NG. LLC
AND US BANK. N.A. AS TRUSTEE TO THE OR|GI'NAL COMPLA|NT

 

Case 5:16-cV-O4O49-NC Document 1-2 Filed 07/18/16 Page 32 of 118

LOAN ACQU`ISITION COMPANY (erroneously sued as US Bank, N.A), collectively “dcfendants"
will demur to the original complaint filed by plaintiff MlCl*lAEL PARADISIS (“plaintii"f"), on the
grounds set forth in the accompanying Demurrer.
This demurrer is made pursuant to California Code ol" Civil Procedure (“CCP”) §§430.10(b),
(e) and (f) on thc grounds that the plaintiffs do not have the legal capacity to sue, that all of the
causes ol’ action of the complaint do not state facts sufficient to constitute causes of action against all
of the defendants and that many ol" said causes of action arc also uncertain and ambiguous The
demurrer is based upon this Notice, the supporting l\/lemoranduru ol" Points and Authorities filed
concurrently herewith, the Request for Judicial Notice filed concurrently herewith, the complete liles
and records in this action, the oral argument of eounsel, if any, and such other and Further evidence
as the Court might deem proper.
Respectl"ully submitted,
WR_I l-lT, FINLAY & ZAK, LLP
ix ir /}/i ll ';- f
Dated: July 15, 2016 By? l `i_\ F.r~i=l {_!1' ¢Ll/e- ' ‘/\ ‘. (F\AM
T. llobert Finlay, l‘f§sq.,
Ronald l\/I. Al'las, Esq., Attorneys t`or
Defendants Fay Servicing, I,l.,C and
Wilmington Savings Fund Society l*`SB

Dba Christiana 'l`rust, as '_l`rustee ol` the
ARL`P 'I`rust 2

 

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NOTICE OF [)EMURRER AND DEMURRER TO COMPLAINT BY DEFENDANTS FAY SERVlClNG, LLC
AND US BANK, NiA, AS TRUS'|`EE TO THE ORlGlN/\l. COMPL-AlN'l`

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new

Defendants FAY SERVICING, LLC and US BANK, N.A. AS TRUSTEE FOR CVF

MORTGAGE LOAN ACQUISITION COMPANY (erroneously sued as US Bank, N.A), collectively

“defendants”, generally and specifically demur to plaintiffs’ complaint and all of its causes of action

enumerated below on the following grounds:

l.

The entire complaint is demurrable because the plaintiff stated herein does not have the
legal capacity to sue. CCP §430.10(b).

The First Cause of Action fails because the plaintiff stated herein does not have the legal
capacity to sue; it also fails to state facts sufficient to constitute a cause of action against
defendants and it is also vague and ambiguous CCP §430.10(b), (e) & (f).

The Second Cause of Action fails because the plaintiff stated herein does not have the
legal capacity to sue; it also fails to state facts sufficient to constitute a cause of action
against defendants and it is also vague and ambiguous CCP §430.10(b), (e) & (f).

The Third Cause of Action fails because the plaintiff stated herein does not have the
legal capacity to sue; it also fails to state facts sufficient to constitute a cause of action
against defendants and it is also vague and ambiguous CCP §430.10(b), (e) & (f).

The Fourth Cause of Action fails because the plaintiff stated herein does not have the
legal capacity to sue; it also fails to state facts sufficient to constitute a cause of action
against defendants and it is also vague and ambiguous CCP §430.10(b), (e) & (f).

The Fitth Cause of Action fails because the plaintiff stated herein does not have the legal
capacity to sue; it also fails to state facts sufficient to constitute a cause of action against
defendants and it is also vague and ambiguous CCP §430.10(b), (e) & (f).

The Sixth Cause of Action fails because the plaintiff stated herein does not have the

 

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NOTICE OF DEMURRER AND DEMURRER TO COMPLAINT BY DEFENDANTS FAY SERVlCING, LLC

AND US BANK, N.A. AS TRUSTEE TO THE ORlGlNAL COMPLAINT

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legal capacity to sue; it also fails to state facts sufficient to constitute a cause of action
against defendants and it is also vague and ambiguous CCP §430.10(b), (`e) & (t).

8, 'l"he Seventh Cause of Action fails because the plaintiff stated herein does not have the
legal capacity to sue and because it fails to state facts sufficient to constitute a cause of

action against defendants CCP §430.10(b) & (e).
9. The Eighth Cause of Action fails because the plaintiff stated herein does not have the

legal capacity to sue and because it fails to state facts sufficient to constitute a cause of

action against defendants CCP §430.10(b) & (e).
Respectfully submittcd,

WRIQE I"l`, 'l`*`INLAY & ZAK, LLP

nated.» 1111)/15, 2016 By: (..? rev/if ith - fine M

'l`. Robet't Finlay, Esq.,

Ronald M. Arlas, Esq., Attorneys for
Defendants Fay Servicing, LLC and US Bank,
N.A as Trustee for CVF lviortgage Loan
Acquisition Company

 

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NOTICE OF DEMURRER AND DEMURRER 'l`O COMPLAINT BY DEl‘-`l`:IND/\`N'I`S FAY Sl`£RVlClNG. Ll,C
AND US BANK, N.A. AS TRUSTEE 'l`O THE ORlG_l`NAL COMPLAINT

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PROOF OF SERVICE

 

I, Catherine Lawler, declare as follows:

I am employed in the County of Marin, State of California where the mailing occurred. l
am over the age of eighteen (18) and not a party to the within action. My business address is 907
Sir Francis Drake B|vd., Kentfield, CA 94904. I am readily familiar with the practices of
Wright, Finlay & Zak, LLP, for collection and processing of correspondence for mailing with the
United States Postal Service. Such correspondence is deposited with the United States Postal
Service the same day in the ordinary course of business I am aware that on motion of party
served, service is presumed invalid if postal cancellation date or postage meter date is more than
one day after date of deposit for mailing in affidavit.

On July l$, 2016, I served the foregoing DEFENDANTS’ NOTICE OF DEMURRER
AND DEMURRER TO PLAINTIFF’S COMPLAINT on all interested parties in this action
by placing [ ] the original [X] a true copy thereof enclosed in sealed envelope(s) addressed as
follows:

Marc Applbaum, Esq.

KETTNER LAW CORPORATION

2150 West Washington Street, Suite 104
San Diego, CA 92110

'I`elephone: (619) 756-7300

Facsimile: (619) 363-3944

E-Mail: marc@kettnerlawcorp.com

Attorneys for Plaintiff
MICHAEL PARADISE

[X] (BY UNITED STATES MAIL) I placed such envelope(s) for collection and mailing,
following our ordinary business practices

[] (BY UNITED STATES CERTIFlED MAIL) I placed such envelope(s) for collection
to be mailed on this date following ordinary business practices via Certified Mail, Retum
Receipt Requested.

[ ] (BY OVERNIGHT DELIVERV) I enclosed the document(s) in an envelope or package
provided by an overnight delivery carrier and addressed to the person(s) at the
address(es) listed herein. I caused to be placed the envelope or package for collection
and overnight delivery at an office or a regularly utilized drop box of the overnight
carrier.

[ ] (BY MESSENGER SERVICE) l served the document(s) by placing them in an
envelope or package addressed to the person(s) at the address(es) listed herein and
providing them to a professional messenger service for service. A Declaration of
Messenger is attached to the original Proof of Service.

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(BY PERSONAL SERVICE) l personally delivered the document(s) to the person(s) at
the address(es) as set forth on the attached service list. (l) For a party represented by an
attorney, delivery was made (a) to the attorney personally; or (b) by leaving the
document(s) at the attorney’s office, in an envelope or package clearly labeled to identify
the attorney being served, with a receptionist or an individual in charge of the office; or
(c) if there was no person in the office with whom the notice of papers could be left, by
leaving them in a conspicuous place in the office between the hours of nine in the
moming and five in the evening (2) For a party, delivery was made to the party or by
leaving the document(s) at the party’s residence with some person not younger than 18
years ofage between the hours of eight in the morning and six in the evening

I declare under penalty of perjury under the laws of the State of California that the

foregoing is true and correct.

Executed on July 15, 2016, at Kentfield, California

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Catherine Lawler

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WRIGHT, FINLAY & ZAK, LLP

T. Robert Finlay, Esq., SBN 167280
Ronald M. Arlas, Esq., SBN 59091

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WRIGHT, FINLAY & ZAK, LLP
Ronald M. Arlas, Esq. SBN 59091

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Kentfleld, Ca. 94904

Tel: 415/230-4350; Fax: 415/455-0370
rarlas@wrightlegal.net

Attomeys for Defendants FAY SERVICING, LLC AND US BANK, N.A. AS TRUSTEE FOR CVF
MORTGAGE LOAN ACQUISITION COMPANY (erroneously sued as US Bank, N.A)

IN THE SUPERIOR COURT OF THE STATE OF CALIFORNIA
IN AND FOR THE COUNTY OF SANTA CLARA

MicHAEL PARADISE, case No. 160v296237
Plaintiff DECLARATION 0F RONALD M.
vs. ARLAS, ESQ. PuRSuANT To ccP
FAY sEthcrNG, LLc, et at §430-41(3)(3)
Defendants Date: August 30, 2016

Time: 9:00 a.m.
Place: Dept. 8
Reserved Hearing Date

 

 

 

I, RONALD M. ARLAS, do hereby declare:

l. That I am an attorney licensed to practice before all of the courts of the State of
California and that I am employed as a Senior Litigator by the Law Firm of WRIGHT, FINLAY &
ZAK, counsel for defendants FAY SERVICING, LLC AND US BANK, N.A. AS TRUSTEE FOR
CVF MORTGAGE LOAN ACQUISITION COMPANY (erroneously sued as US Bank, N.A),

hereinafter collectively “defendants”.

 

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DECLARATlON OF RONALD M. ARLAS, ESQ. PURSUANT TO CCP §430.4l(a)(3)

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2. On July 12, 2016, I had a telephonic meet and confer with plaintiffs counsel as
required by CCP §430.41 with regards to plaintiffs original complaint The parties were unable to
reach an agreement resolving the objections to be raised in defendants’ proposed demurrer to
plainti'fi”s’complaint.

1 declare under penalty of perjury that the foregoing is true and correct and that if called as a
witness would so testify thereto.

Executed this 15th day ofJuly 2016 at Kentiield, Ca.

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RONALD M. ARLAS, ESQ.

 

_ 2 _
DECLARA'I`[ON OF RONALD M. ARLAS, ESQ. PURSUANT TO CCP §430.41(2\)(3)

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RR_O_L.____.OFSI‘JIW_I_C_E.

I, Catherine Lawler, declare as follows:

I am employed in the County of Marin, State of California where the mailing occurred. l
am over the age of eighteen (18) and not a party to the within action. My business address is 907
Sir Francis Drake Blvd., Kentfteld, CA 94904. I am readily familiar with the practices of
Wright, Finlay & Zak, LLP, for collection and processing of correspondence for mailing with the
United States Postal Service. Such correspondence is deposited with the United States Postal
Service the same day in the ordinary course of business. l am aware that on motion of party
served, service is presumed invalid if postal cancellation date or postage meter date is more than
one day after date of deposit for mailing in affidavit

On July 15, 2016, l served the foregoing DECLARATION OF RONALD M. ARLAS,
ESQ. PURSUANT TO CCP § 430.41(a)(3) on all interested parties in this action by placing []
the original [X] a true copy thereof enclosed in sealed envelope(s) addressed as follows:

Marc Applbaum, Esq.

KETTNER LAW CORPORATION

2150 West Washington Street, Suite 104
San Diego, CA 92110

Telephone: (619) 756-7300

Facsirnile: (619) 363-3944

E-Mail: marc@kettnerlawcorp.com

Attorneys for Plaintiff
MICHAEL PARADISE

[X] (BY UNITED STATES MAIL) I placed such envelope(s) for collection and mailing,
following our ordinary business practices.

[] (BY UNlTED STATES CERTIFIED MAIL) I placed such envelope(s) for collection
to be mailed on this date following ordinary business practices, via Certified Mail, Retum
Receipt Requested.

[ ] (BY OVERNIGHT DELIVERY) I enclosed the document(s) in an envelope or package
provided by an overnight delivery carrier and addressed to the person(s) at the
address(es) listed herein. I caused to be placed the envelope or package for collection
and overnight delivery at an office or a regularly utilized drop box of the overnight
carrier.

[ ] (BY MESSENGER SERVICE) I served the document(s) by placing them in an
envelope or package addressed to the person(s) at the address(es) listed herein and
providing them to a professional messenger service for service. A Declaration of
Messenger is attached to the original Proof of Service.

[ ] (BY PERSONAL SERVICE) I personally delivered the document(s) to the person(s) at
the address(es) as set forth on the attached service list. (1) For a party represented by an

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attorney, delivery was made (a) to the attorney personally; or (b) by leaving the
document(s) at the attorney’s office, in an envelope or package clearly labeled to identify
the attorney being served, with a receptionist or an individual in charge of the oi"i`ice; or
(e) if there was no person in the office with whom the notice of papers could be left, by
leaving them in a conspicuous place in the office between the hours of nine in the
morning and five in the evening (2) For a party, delivery was made to the party or by
leaving the document(s) at the party`s residence with some person not younger than 18
years of age between the hours of eight in the morning and six in the evening

I declare under penalty of perjury under the laws of the State of California that the
foregoing is true and correct

Executed on July 15, 201_6_, at Kentfield, California

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Catherine Lawler

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WRIGI-IT, FINLAY & ZAK, LLP

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Ronald M. Arlas, Esq., SBN 59091

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Tel: (949) 477-5050; Fax: (949) 477-9200

WRIGHT, FINLAY & ZAK, LLP
Ronald M. Arlas, Esq. SBN 59091

907 Sir Francis Drake Blvd.

Kentfield, Ca. 94904

Tel: 415/230-4350; Fax: 415/455~0370
rarlas@wrightlegal.net

Attomeys for Defendants FAY SERVICING, LLC AND US BANK, N.A. AS TRUSTEE FOR CVF
MORTGAGE LOAN ACQUISITION COMPANY (erroneously sued as US Bank, N.A)

IN THE SUPERIOR COURT OF THE STATE OF CALIFORNIA
IN AND FOR THE COUNTY OF SANTA CLARA

MICHAEL PARADISE,

Plaintiff
vs.
FAY SERVICING, LLC; U.S. BANK,
N.A.; FLAGSTAR BANK, FSB; and
DOES l through 50, inclusive,

Defendants

 

 

 

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Case No. l6CV296237

MEMORANDUM OF POINTS AND
AUTHORITIES BY DEFENDANTS FAY
SERVICING, LLC AND US BANK, N.A.,
AS TRUSTEE IN SUPPORT OF
DEMURRER TO PLAINTIFF’S
ORIGINAL COMPLAINT

Date: August 30, 2016
Time: 9:00 a.m.

Place: Dept. 8
Reserved Hearing Date

 

MEMORANDUM OF POINTS AND AUTHORITIES BY DEFENDANTS FAY SERVICING, LLC AND
U.S. BANK, N,A. AS TRUSTEE lN SUPPORT OF THE[R DEMURRER TO PLAINTIFF’S
ORlGlNAL COMPLAlNT

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THE EIGHTH CAUSE OF ACTION FAILS

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MEMORANDUM OF POINTS AND AUTHORlTlES BY DEFENDANTS FAY SERVICING, LLC AND
U.S. BANK, N.A. AS TRUSTEE IN SUPPORT OF THEIR DEMURRER TO PLAINTlFF'S

ORIGINAL COMPLA[NT

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U.S. BANK, N.A. AS TRUSTEE lN SUPPORT OF THEIR DEMURRER TO PLAfNTlFF’S
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MEMORANDUM OF POfNTS AND AUTHORIT|ES BY DEFENDANTS FAY SERVlClNG, LLC AND
U.S. BANK, N.A. AS TRUSTEE TN SUPPORT OF THEIR DEMURRER TO PLAINT|FF‘S
OR]GlNAL COMPLAFNT

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MEMORANDUM OF POlNTS AND AUTHORlTlES BY DEFENDANTS FAY SERVlClNG, LLC AND
U.S. BANK, N.A. AS TRUSTEE lN SUPPORT OF THE\R DEMURRER TO PLArNTlFF'S -
ORlGlNAL COMPLAINT

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I. INTRODUCTION

Plaintiff MICHAEL PARADISE (“plaintiff”) filed his original complaint on or about
6/10/2016 against defendants FAY SERVICING, LLC (“Fay”) and US BANK, N.A. AS TRUSTEE
FOR CVF MORTGAGE LOAN ACQUISITION COMPANY (erroneously sued as US Bank, N.A)
(“U.S. Bank”), collectively “defendants.” Plaintiff has also named FLAGSTAR BANK (“Flagstar”) as
a defendant but this demurrer is being presented only on behalf of defendants Fay and Trustee.

According to the complaint, plaintiff claims that “all times relevant” he has been “an individual
residing” in the subject property commonly known as 3927 Rhoda Drive, San Jose, Ca. 95117 (“the
Property”). See 111, pg. 2, line 3 of the complaint'. Defendants request that the Court take special
notice of how carefully this first paragraph is phrased because plaintiff leaves out a critical fact that
makes him ineligible for protection under the Homeowner’s Bill of Rights (“HOBR”). Specifica|ly, as
detailed below, the Property was purchased by a Rebekah Victoria Owen (“Owen”) on or about
10/25/04. This is crucial because plaintiff was gm a “borrower” on the Loan. HOBR does not
apply to non-borrowers. Although plaintiff is now the title holder of the Property, he has never been
on the Loan or the DOT and has never assumed the Loan. Thus, he is not and cannot be deemed a
“borrower” as contemplated under Civil Code 2920.5. As a result, plaintiff does not have standing to
bring any claims under HOBR. Because each of plaintist causes of action are intertwined with these
alleged violations, each and every claim set forth in the Complaint equally fails.

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On 11/5/2004, a Grant Deed was recorded transferring title to the Property to Owen. See
Request for Judicial Notice (“RJN”), Exhibit 1. On or about 10/23/2006, Owen, as an unmarried
person, took out the subject loan in the principal amount of $620,000 (“the Loan”). RJN Exh. 2. The
Loan was secured by a Deed of Trust (“DOT”) recorded on 10/31/2006, and named Flagstar as the
originating lender and Joan Anderson as the DOT Trustee. Id. On 4/10/2013, a substitution was
recorded naming the Law Office of Les Zieve as the DOT Trustee. R.TN, Exh. 3. That same day, a
Notice of Default was recorded by the Law Office of Les Zieve noting a delinquency of $23,251.71 as
of 4/8/2013. RJN, Exh. 4. On 7/19/2013, after the default had not been cured, a Notice of Trustee’s

 

' All future references to pages and paragraph numbers are to those in the complaint unless otherwise indicated.
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MEMORANDUM OF POlNTS AND AUTHORIT!ES BY DEFENDANTS FAY SERVICING, LLC AND
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ORIGINAL COMPLAINT

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Sale was recorded setting a sale for 8/13/2013. RJN, Exh. 5. On 9/19/2013, an assignment was
recorded referencing the transfer of the DOT to U.S. Bank. RJN Exh. 6. On 2/18/2014, the 4/10/2013
Notice of Default was rescinded thereby terminating the foreclosure proceeding. RJN Exh. 7. To
date, no new foreclosure proceeding has been initiated and no new Notice of Default recorded.

Evidently, at some point after entry into the Loan, which, per the 1-4 Family Rider, appears to
be a rental property because the Rider eliminated the occupancy requirement, Owen married plaintiff.
Unfortunately, Owen died on or about 12/13/2012. On 4/1/2015, by virtue of an Order from the Santa
Clara probate court, title to the Property was placed into the “Paradise Living Trust Dated December
ll, 2012” that plaintiff and Owen apparently executed 2 days before her death. RJN Exh. 8. Plaintiff
is the current trustee of said trust. The Loan was never assumed by plaintiff or the Paradise Trust, and
Fay was never notified on the transfer in title ownership, nor was Fay aware that borrower had died.

III. ARGUMENT

A. PLAINTIFF LACKS STANDING TO BRING THlS LAWSUIT

CCP §430.10(b) states, in pertinent parts, “[t]he party against whom a complaint has been
filed may object, by demurrer to the pleading on any one or more of the following grounds:...(b)
The person who filed the pleading does not have the legal capacity to sue.” This subsection of the
demurrer statute has been interpreted to mean “standing." The distinction is succinctly described in
Friendly Village Comm, Assn v. Si'lva & Hill Const. Co. (1973) 31 Cal.App.3d 220, 224 as follows:

“There is a difference between the capacity to sue, which is the right to come into court,

and the standing to sue, which is the right to relief in court, (Parker v. Bowron (1953)

40 Cal.2d 344, 351 [254 P.2d 6]; Klopstock v. Supert'or Court (1941) 17 Cal.2d 13, 18-

19 [108 P.2d 906, 135 A.L.R. 318].) Thus, although a plaintiff may have “capacity” to
sue, if the complaint shows that he is not a real party in interest and therefore lacks

“standing” to sue, a “general” demurrer will be sustained. (extensive citations omitted)”
(emphasis added.)

First and foremost, Plaintiff lacks the capacity to sue because he is not the title owner of the
Property. As evidenced by the judicially noticeable facts, the title owner is the “Paradise Living Trust
Dated December ll, 2012.” RJN Exh. 8. Plaintiff is merely the trustee of that Trust. The Complaint
concedes the same by stating that “Ms. Owen passed away and Subject Property was held in the

“Paradise Living Trust.” Plaintiff was confirmed Trustee of the ‘Paradise Living Trust.”’ 1113.

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Accordingly, it is undisputed that Plaintiff, who sued in his individual capacity, has no title ownership
interest in the Property. See 111 (“Plaintiff, MICHAEL PARADISE,... is, and at all times relevant to
the facts herein was, an individual. . .” (emphasis added)). Plaintiff, as an individual, is thus the wrong
party and lacks the capacity to sue with respect to claims which threaten any ownership interest in the
Property. Any such action would have to be brought by the real party in interest, Plaintiff, in his
capacity as Trustee of the “Paradise Living Trust Dated December 1 1, 2012.”

Next, and more importantly, Civil Code §2920.5 in HOBR states, in relevant part:

“§ 2920.5. Definitions
For purposes of this article, the following definitions apply:

(b) “Foreclosure prevention altemative” means a first lien loan modification or another
available loss mitigation option.

(e) (l) Unless otherwise provided and for purposes of Sections 2923.4,.2923.5,
2923.55, 2923.6, 2923.7, 2924.9, 2924.10, 2924.11, 2924.18, and 2924.19,
“borrower” means any natural person who is a mortgagor or trustor and who is
potentially eligible for any federal, state, or proprietary foreclosure prevention
alternative program offered by, or through, his or her mortgage servicer, [Emphasis
added.]

Under the undisputed facts here, plaintiff cannot be deemed a “borrower” with respect to
HBOR because he was never on the original Loan. 'l`hus, Plaintiff is not entitled to any protections
under I-IBOR as a matter of law as HBOR only applies to a “borrower.” Furthermore, there are no
allegations in the complaint that he ever assumed the Loan. Thus, he is not a “borrower”,
“mortgagor”, or “trustor." Moreover, plaintiff never informed any of the servicers of the death of the
borrower. It is true that plaintiff had a number of conversations with Fay over the past year or so.
However, these conversations were always in his original capacity as a “third party” authorized to
speak on behalf of the borrower. The bottom line is that plaintiff does not have standing to bring this
case or assert any violation under HBOR, which happens to be the linchpin to plaintiffs entire action.
Therefore, the entire complaint should be dismissed without leave. CCP §430.10(b).

B. lNDIVIDUAL CAUSES OF ACTION

l. THE FIRST CAUSE OF ACTION FAILS

Plaintiff's First Cause of Action is for violations of HOBR against all defendants Plaintiff
references violations of Civil Code §§2923.6, 2923.55, 2923.7 and 2924.18. 111[48-61. As stated

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above, plaintiff is not entitled to any protections under HOBR because he was and is not a “borrower”
under the Loan as defined by the express terms of the statute. For this reason alone, this First Cause of
Action should be dismissed without leave to amend.

In addition, even if HBOR did apply to plaintiff, which it cannot, this claim still fails. First,
plaintiffs allegations are vague and ambiguous both as to dates and the fact that plaintiff uses the word
“defendants”, plural, to allege actions undertaken against him. See, for example, 1151 and 1153-54 on
pg. 10. In order to set forth a viable claim under HOBR and not mere conclusions, plaintiff is required
to allege specific factual acts against specific defendants and not simply lump all of the defendants
together as one. Statutory violations must be pled with particularity. See Lopez v. Southern Cal.
Rapid Transit Disr., 40 Cal.3d 780, 795 (1985), (holding that statutory violations be pled with
particularity); Rahbarian v. JP Morgan Chase, 2014 U.S. Dist. Lexis 158719, at *10 (E.D. Cal. Nov.
10, 2014). Indeed, “courts typically uphold the sufficiency of such claims only upon the submission of
much more robust factual allegations than what Plaintiff has provided here.” Woodring v. chen
Loan Servicing, LLC, 2014 U.S. Dist. LEXIS 100873, *20 (C.D. Cal. 2014) (citing to cases). Plaintiff
fails to set forth any facts to establish what particular statute was violated by which particular
defendant(s) and when. This problem is particularly egregious here where plaintiff fails to allege
specific dates of wrongdoing or even allege when the servicing changed from Flagstar to Fay. See1|25
on pg. 5. Since HOBR was not effective until 1/1/2013, it is entirely unclear whether the alleged
actions of either Flagstar or Fay even fall within the protections afforded by HOBR. It is equally
impossible to tell from the Complaint whether the conduct plaintiff alleges fell within Flagstar’s tenure
as servicer, Fay’s tenure, or both. Allowing the pleading to stand with such ambiguity would be highly
prejudicial to Defendants.

Second, plaintiff alleges that defendants “are actively moving toward foreclosure of the horne
and took clear steps” to complete the foreclosure See 1[43 on pg. 8. Plaintiff is referring to the
recordation of the prior Notice of Default and Notice of Sale. ‘\NZO & 21 starting on pg. 4. Plaintiff
sums up his position by indicating that he wants an injunction and that foreclosure is imminent See
1144 & 46 on pgs. 8-9 and 1161 starting on pg. ll. However, as evidenced by the judicially noticeable

facts, the disputed NOD was rescinded in February, 2014 which effectively terminated the foreclosure

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proceeding based thereon by operation of law. RJN Exh. 7. No new notice of default has been
recorded in the two years since the Notice of Rescission was recorded, As such, the allegation in 1144,
pg. 8 that “defendants” have failed to rescind the NOD is blatantly false and there is no active
foreclosure proceeding at this time.

Similarly, because there has been no new notice of default or notice of sale recorded, plaintiffs
claims under section 2923.6, 2923.55, and 2924.18 fail as a matter of law. Each of those statues
merely mandate certain obligations being taken by a servicer/lender before a notice of default, notice
of sale, or sale be conducted See Civil Code §§2923.6(¢), 2923.55(a), and 2924.18(a)(l). Because
there is no operative notice of default or notice of sale recorded, and no sale has taken place, plaintist
claims under 2923.6, 2923.55, and 2924.18 fail as a matter of law. As for section 2923.7, plaintiff
merely argues that “[d]espite Plaintift’s request for assistance with an alternative to foreclosure, the
numerous representatives at FAY that Plaintiff spoke with were unable and/or unwilling to help and
consistently gave Plaintiff vague answers to questions. Said representatives failed to offer adequate
assistance to Plaintif ...” 1156. However, none of the above are obligations contemplated by the statute.
See Civil Code §2923.7(b). More importantly, as stated in the Code, “[f]or purposes of this section,
“single point of contact” means an individual or team of personnel each of whom has the ability and
authority to perform the responsibilities described in subdivisions (b) to (d), inclusive.” Civil Code
§2923.7(e). Plaintift’s allegation that “numerous representatives” were provided is itself unavailing
In addition, in order to successfully plead a cause of action for a violation of Section 2923.7, a plaintiff
must plead prejudice or damages. See, e.g., Rockridge Trust v. Wells Fargo, N.A., 985 F.Supp.2d
lllO, 1151-52 (N.D. Cal. Sept. 25, 2013) (holding that damages are a prerequisite to any violation of
Section 2923.7). Here, Plaintiff has not pled any prejudice or damages and cannot identify any harm
because no foreclosure proceedings have occurred-a new notice of default has not even been
recorded. Accordingly, this claim fails as a matter of law.

Lastly, up until 6/1/2016 defendant Fay was a “small servicer” as defined under Civil Code

§2924.18 of HOBR. Civil Code section 2924.18 states, in pertinent part:

“(b) This section shall apply only to [an entity that], during its immediately preceding
annual reporting period, as established with its primary regulator, foreclosed on 175 or

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fewer residential real prop§rties, containing no more than four dwelling units, that are
located in California.” [Emphasis added.]

In this case, RJN Exh. 9 is a licensing report wherein Fay notified the California regulator that
it did not foreclose on more than 175 units during the time frame in which plaintiff alleges the
wrongdoing occurred. This report is capable of being judicially noticed as it cannot be subject to
reasonable dispute. Thus, because Fay foreclosed on 175 or fewer residential real properties for the
relevant time frame apparently alleged by plaintiff, it was considered a “small servicer” for purposes of
HOBR at all times pertinent in connection with plaintiffs Complaint. Civil Code section 2924.18(c)
states that only after a servicer forecloses on more than 175 residential units in any prior calendar year
immediately preceding the required annual reporting period will sections 2923.55, 2923.6 and 2923.7

apply to its actions. Specifically, the statute states:

“(c) Within three months after the close of any calendar year or annual reporting period
which an entity or person described in subdivision (b) exceeds the threshold of 175
specified in subdivision (b), that entity shall notify its primary regulator, in a manner

acceptable to its primary regulator, and any mortgagor or trustor who is delinquent on a

residential mortPa¢e loan serviced by that entity of the date on which that entity will be
subiect to Sections 2923.55. 2923.6, 2923.7. 2924.9. 2924.10. 2924.11. and 2924.12.,..”
[Emphasis added.]

Based on the above, by statute, Civil Code sections 2923.55, 2923.6 and 2923.7 do not apply
to “small servicers” who foreclosed on 175 or fewer properties during its immediately preceding
annual reporting period. See also Civil Code §2923.55(g), (“This section shall not apply to entities
described in subdivision (b) of Section 2924.18.”); Civil Code §2923.6(i) (“Subdivisions (c) to (h),
inclusive, shall not apply to entities described in subdivision (b) of Section 2924.18”); and Civil Code
§2923.7(g)(1). (“This section shall not apply to...[entities who have] foreclosed on 175 or fewer
residential real properties . .”). Since Fay was a small servicer at the time the alleged unlawful actions
took place, prior to 6/1/2016, sections 2923.55, 2923.6 and 2923.7 are inapplicable.

For the numerous reasons previously detailed Plaintiff’s first cause of action for violation of
HBOR fails and should be dismissed without leave to amend.

2. THE COMPLAINT’S REMAINING CAUSES OF ACTION FAIL

 

A review of the complaint shows that each and every one of its remaining cause of action, two

through eight, against these defendants is based on alleged violations of one of the HOBR statutes,

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either Civil Code section 2923.55, 2923.6, or 2923.7. §§ 1139 on pgs.7; 1[1[41-44 on pg. 8 and 1146
starting on pg. 8 of the complaint for plaintiffs general allegations against these defendants Then see
111164 on pg. 12 and 11166-68 on pgs. 12-13 in the Second Cause of Action; see111]73 and 75 on pgs. 13-
14 in the Third Cause of Action; see1|1178 & 80 on pgs. 14-15 which incorporate by reference all prior
paragraphs as the operative paragraphs for the Fourth Cause of Action; see 111[94 & 97 on pg. 17 which
also incorporate by reference all prior paragraphs as the operative paragraphs for the Fifth Cause of
Action; see 1|11100-103 on pg. 18 in the Sixth Cause of Action; see 1111107 & 109 on pg. 19 which
incorporate by reference all prior paragraphs as the operative paragraphs for the Seventh Cause of
Action and finally 1111 12-116 on pgs. 19-20 in the Eighth Cause of Action. However, plaintiffs entire
statutory foundation for his complaint is based on statutes that were inapplicable and alleged violations
that are insufficiently pled and invalid as to these moving defendants

As such, plaintiffs entire action fails and should be dismissed without leave to amend.
Nevertheless, in addition to the above reasons why the Complaint fails in general, each remaining
cause of action also fails on its own accord as detailed below.

a. TIIE SECOND CAUSE OF ACTION FAILS

Plaintiff s Second Cause of Action is for violations of B&P §17200 et seq. against all
defendants Like the First Cause of Action, this cause of action is wholly predicated on alleged
violations of HOBR. 111|63~70. Because these allegations are invalid, this dependent claim must suffer
a similar fate. Rubin v. Wal-Mart Stores, Inc., 599 F.Supp.2d 1176, 1179 (N.D. Cal. 2009)
(“[p]laintiffs’ claim under Section 17200 - which is derivative of their erroneous [other] claims -
also fails to state a valid cause of action.”); Whi!e v. Starbucks Corp., 497 F.Supp.2d 1080, 1089-90
(_I\_I.D. Cal. 2007) (dismissing Section 17200 claim where underlying claim was invalid).

In addition, like plaintiffs HBOR claim, this cause of action is equally vague and ambiguous
as to time frames and continues to lump all defendants together rather than stating specific allegations
against specific defendants as required under due process See, for example, 1|1[64-65 on pg. 12.
Plaintiff fails to allege facts, as opposed to generalized statements as to which defendant supposedly
engaged in violating conduct at what time. Furthermore, his generalized allegations in 1166 on pg. 12

that “defendants”, plural, fail to give “homeowners” the chance to apply for modifications clashes with

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the factual allegations stated previously by plaintiff. Compare this 1166 with 1135 on pg. 7. In addition,
plaintiff fails to allege facts, as opposed to generalized statements about supposedly being charged
“fees and costs” without legal authority to do so. See 1167 on pg. 12. Nowhere in his factual
allegations is there a single mention of fees and costs supposedly improperly charged to him.
Defendants cannot tell from this poorly written complaint what conduct they allegedly engaged in and
what fees and costs plaintiff is referring to and which defendant supposedly imposed these charges
California law makes clear that there is no vicarious liability under the UCL. Pe)fec! ]0, lnc. v. V!SA
Im'l Service Ass'n, 494 F.3d 788, 808-09 (9th Cir. 2007) (“[A]n unfair practices claim under [the UCL]
cannot be predicated on vicarious liability. . . . A defendant’s liability [under the UCL] must be based
on his personal participation in the unlawfbl practice and unbridled control over the practices that are
found to violate [the UCL]”) (quoting Eme)y v. Visa Int'l Service Ass'n, 95 Cal.App.4th 952, 960
(2002)). Plaintiff s failure to delineate which defendant engaged in what conduct is fatal to his claim.
Also, in order to set forth a valid claim under section §17200, a plaintiff must show either an
(l) unlawful, unfair, or fraudulent business act or practice, or (2) unfair, deceptive, untrue, or
misleading advertising Stewart v. Life Ins. Co. of North Amerz'ca, 388 F.Supp. 2d 1138 (2005). Here,
Plaintiffs section 17200 claim fails because he has not alleged any facts demonstrating conduct by
Defendants that could be classified as unlawful, fraudulent, or an unfair act or business practice. Nor
does Plaintiff allege any conduct that could be deemed fraudulent or found to significantly threaten or
harm competition, or could constitute a reasonable violation of any law, or the policy or spirit of such a
law. Plaintiff must also demonstrate that he suffered injury in fact as a direct result of the unfair
competition Degelman v. Advanced Med. Optics, Inc., 659 F.3d 835, 839 (9th Cir. 2011). “[A]
plaintiff.,. lacks standing if he cannot causally link the defendant’s conduct to [the] loss.” Ford, supra,
2012 WL 2343898 at *8. Plaintiff fails to assert any facts as to how his damages if any, directly arose
from Defendants’ alleged conduct. Lastly, in order to allege a UCL claim, a plaintiff “must state with
reasonable particularity the facts supporting the statutory elements of the violation.” Khoury v. Maly's
of California, lnc., 14 Cal.App.4th 612, 619 (1993). Plaintiffs entire action suffers from a lack of
particular facts Therefore, this cause of action is demurrable pursuant to CCP §430.10(e) and (f) and

should be dismissed without leave to amend.

 

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b. THE THIRD CAUSE OF ACTION FAILS

Plaintiffs Third Cause of Action is for breach of the implied covenant of good faith and fair

 

dealing against all defendants Like the prior two'causes of action, this cause of action is uncertain,
vague and ambiguous because plaintiff continues to lump all defendants together and simple makes his
allegations against all “defendants”, plural, thereby denying them due process See, for example,111]76-
77 on pg. 14. This type of pleading against “defendants,” plural, is particularly problematic because
plaintiff has not even pled that the required written contract for this cause of action exists between
these defendants and himself. As the Court of Appeals stated in Smilh v. City & Cnty. of San
Francisco, 225 Cal.App.3d 38, 49 (1990), “[t]he prerequisite for any action for breach of the implied
covenant of good faith and fair dealing is the existence of a contractual relationship between the
parties, since the covenant is an implied term in the contract, 'I`he court of Appeals in Durell v. Sharp

Heallhcare, 183 Cal. App. 4th 1350, 1369 (2010) further explained what the covenant of good faith

and fair dealing meant, by stating:

“'l`he covenant of good faith and fair dealing, implied by law in every contract, exists
merely to prevent one contracting party from unfairly frustrating the other party's right to
receive the benefits of the agreement actually made. [Citation.] . . . The “covenant is
implied as a supplement to the express contractual covenants to prevent a contracting
party from engaging in conduct that frustrates the other party's rights to the benefits of the
agreement.” [Citations omitted.]

See also Ragland v US Bank N.A., 209 Cal.App.4th 182, 206 (2012), where the Court held,

“[t]he implied covenant of good faith and fair dealing is limited to assuring compliance
with the express terms of the contract, and cannot be extended to create obligations not
contemplated by the contract.”’ (Pasadena Live v. City of Pasadena (2004) 114

Cal.App.4th 1089, 1094 [8 Cal. Rptr. 3d 233].) Outside of the insured-insurer relationship
and others with similar qualities breach of the implied covenant of good faith and fair

dealing does not give rise to tort damages (Foley v. Interactive Data Corp. (1988) 47
Cal.3d 654, 692-693 [254 Cal. Rptr. 211, 765 P.2d 373]” [Emphasis added.]

Plaintiff has not and cannot allege any such written contract exists between these defendants
and himself for the simple reason that he was not and is not a borrower under the note and DOT.

The only written contracts that plaintiff alleges are the Note and DOT (“Mortgage
Agreement”). See 1173 on pg. 13. However, as RJN Exhs. 1 & 2 show, plaintiff was never a party to

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either of these documents nor has he ever assumed the Loan. As such, he cannot use the Mortgage
Agreement as the “written contract” that is a necessary element for this cause of action and his claim
that “[o]n or about October 23, 2006, Plaintiff entered into a loan agreement” is blatantly false. In fact,
plaintiff admits he was not a party to the Loan in para. 12. 1112 (“[a]s evidence of the loan. Ms. Owen
executed a promissory note [and] Deed of Trust. . .”).

Furthermore, plaintiff contends that “Defendants breached the covenant of good faith and fair
dealing and interfered with Plaintiffs ability to perform under the contract by refusing to provide
Plaintiff any meaningful assistance and then impairing his ability to get current on his loan like he was
trying desperately to do.” 1173. Plaintiffs reliance on the Mortgage Agreement is severely misplaced
in that the fundamental benefit it offers to a borrower is the receipt of sums of money from the lender.
As such, any implied covenants necessarily arise out of this fundamental benefit. Plaintiff fails to
identify any provision of the Mortgage Agreement which would require defendants to modify his
Loan, engage in meaningful modification negotiations or advise his as to his eligibility for a
modification. Such a duty/covenant does not flow from the express terms of the loan agreement And,
in fact, plaintiffs desire to modify the Loan is diametrically opposed to the express terms set forth in
the Note and DOT. Because the terms of the contract (i.e., the Note and DOT) do not relate to any
such duty, no implied duty with respect to modification negotiations can exist. The implied covenant
cannot be extended to create obligations not contemplated by the contract, See Pasadena Live, LLC v.
City of Pasadena, 114 Cal. App. 4th 1089, 1094 (2004); Racine & Laramr'e v. Department of Parks
and Recreation, ll Cal. App. 4th 1026, 1031-1032 (1992). Accordingly, plaintiffs third cause of
action fails and should be dismissed without leave to amend.

c. THE FOURTH CAUSE OF ACTION FAILS

 

The Fourth Cause of Action is for negligence against all defendants Again, plaintiff makes all
of his allegations against “defendants”, plural in this cause of action, thereby making it demurrable

pursuant to CCP §430.10(1). See, for example, 1180 on pg. 15.
Secondly, plaintiff has not pled any facts to show that any of the defendants owed him a duty of

care, particularly since he was never a borrower on the Loan. In order to prevail on a claim for
negligence, a plaintiff must establish “(a) a legal duty to use due care; (b) a breach of such legal duty;

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and (e) the breach as the proximate or legal cause of the resulting injury.” Ladd v. County OfSan
Mateo (1996) 12 Cal.4th 913, 917. California has long recognized that in commercial transactions
each party acts in its own best interest, Das v. Bank of America, N.A. (2010) 186 Cal.App.4th 727,
740-741. “As a general rule, a financial institution owes no duty of care to a borrower when the
institution’s involvement in the loan transaction does not exceed the scope of its conventional role as a
mere lender of money." Id. (citing Nymark, 231 Cal.App.3d at p. 1096). And this “conventional role”
does not cease to exist at the time of consummation of a loan, but continues throughout the life of a
loan, encompassing all actions concerning servicing of the loan, including loan modification
negotiations Karimr' v. Wells Fargo, 2011 WL 10653746 at *3 (C.D. Cal. 2011). “[E]ven where a
lender offers a loan modification, that is nothing more than a renegotiation of loan tenns.” Morgan v.
U.S. Bank, 2013 WL 684932 at *3 (N.D. Cal. 2013).

Here, plaintiff fails to allege specific facts against specific defendants in order to support his
claim that “defendants”, plural, owed him, a non-borrower, a duty of care. See, for example, 111184 &
85 on pgs. 15~16. Plaintiff further fails to explain how a servicer or lender would owe any duty to a
non-borrower in the first place, Plaintiffs generalized statements and raw conclusions utterly fail to
set forth the existence of a viable legal duty of care owed or that “defendants” exceeded the scope of
their conventional roles And at a minimum, plaintiff fails to set forth any actions on defendants' part
which could create a special relationship necessary to impose such a duty of care. Lastly, in light of
the Notice of Rescission (RJN, Exh. 7), the prior foreclosure proceeding was terminated and no sale
has taken place, Plaintiff therefore cannot establish any breach of any legal duty, damages or
causation. As such, plaintiffs fourth cause of action fails and should be dismissed v\_rigrppt leave to

amend.
d. THE FIFTH CAUSE OF ACTION FAILS
Plaintiffs Fifth Cause of Action is for negligent infliction of emotional distress (“NIED”)
against all defendants Once again, like the prior causes of action, this cause of action lumps all of the
defendants together which makes the cause of action impermissibly vague and ambiguous See 1195 on
pg. 17. Additionally, there is no such independent cause of action for NIED. As noted in Raglana' v.
U.S. Bank, N.A. (2012) 209 Cal.App.4th 182, 205, “[t]here is no independent tort of negligent

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MEMORANDUM OF POINTS AND AUTHORITIES BY DEFENDANTS FAY SERVlClNG, LLC AND
U.S. BANK, N.A. AS TRUSTEE IN SUPPORT OF THEIR DEMURRER TO PLATNTIFF'S
ORlGlNAL COMPLAlNT

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infliction of emotional distress; rather, “[t]he tort is negligence, a cause of action in which a duty to the
plaintiff is an essential elemen .” (Potter v. Fireslone Tire & Rubber Co., supra, 6 Cal.4th at p. 984.)
“'l`hat duty may be imposed by law, be assumed by the defendant, or exist by virtue of a special
relationship.” (Id. at p. 985.)”” Thus, the elements of a claim for negligent infliction of emotional
distress are: (1) a legal duty to use due care; (2) a breach of such legal duty; and (3) the breach is the
proximate or legal cause of the resulting injury. 5 Witkin, Summary of California Law, Torts, § 732
(9th Ed. 2003); see also, Truong v. Nguyen (2007) 156 Cal.App.4th 865, 875.

In this case, as detailed above, plaintiff has not and cannot allege any special factual
circumstances that would have imposed a duty of care on any of these defendants especially given his
capacity as a non-borrower. Plaintiff also has not and cannot establish any breach, causation or
damages considering that no foreclosure has taken place and the prior foreclosure proceeding was
rescinded. Finally, as far as plaintiff supposedly suffering “countless nights from severe anxiety”_
because of the alleged delays in reviewing his various loan modification applications (1|98, pg. 18),
such an allegation is ambiguous and conclusory. More importantly, such alleged damages are not
rccoverable. Emotional distress damages are not recoverable where the emotional distress arises solely
from property damage or economic injury to the plaintiff, Butler Rupp v. Lourdeaux (2005) 134
Cal.App.4th 1220, 1228-1229 (“a plaintiff may not recover damages for emotional distress in an action
for negligent misrepresentation where the ‘plaintiff's direct loss resulting from the negligent conduct of
the defendant was [only] economic.”’ (citing Branch v. Homefed Bank (1992) 6 Cal.App.4th 793,
801)). Here, not only has plaintiff incurred no damages but any damages which could have been
incurred would be purely economic. Thus, plaintiffs fifth cause of action for NIED fails and should
be dismissed without leave to amend.

e. THE SIXTH CAUSE OF ACTION FAILS
The Sixth Cause of Action is for breach of the Equal Credit Opportunity Act (“ECOA”). There

 

are three major problems with this cause of action, First and foremost, plaintiffs continued use of the
word “defendants”, plural, renders the entire cause of action uncertain, vague and ambiguous See

111102-103 on pg. 18.
Secondly, the basis of this Sixth Cause of Action is plaintiffs claim that defendants violated 12

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MEMORANDUM OF POlNTS AND AUTHORlTlES BY DEFENDANTS FAY SERVlClNG, LLC AND
U.S. BANK, N.A. AS TRUSTEE lN SUPPORT OF THElR DEMURRER TO PLAl`NTlFF'S
ORlGlNAL COMPLAINT

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CFR 1002.9 of ECOA which states “a creditor must notify an applicant of action taken on the
applicant’s request for credit, whether favorable or adverse, within 30 days after receiving a completed
application.” (Emphasis added). However, plaintiff has not alleged facts to show that he was and is an
“applicant” as defined under ECOA. An “applicant” is defined under ECOA, 15 USC §1691(b) as
“any person who applies to a creditor directly for an extension, renewal, or continuation of credit, or
applies to a creditor indirectly by use of an existing credit plan for an amount exceeding a previously
established credit limit.” ln plaintiffs case, he did not apply “directly” for credit because he was not
the “borrower” on the Loan. Instead, he allegedly sought a loan modification orr a loan which he had
no legal or factual relationship to since he was not a borrower thereunder and never assumed the Loan
either while his wife was alive or at any time after she passed away. As a result, it is factually
impossible for any violation of the ECOA to have ensued. Additionally, Regulation B, 12 CFR
202.7(d)(4), states:

“(4) Secured credit, If an applicant requests secured credit, a creditor may require the

signature of the applicant’s spouse or other person on any instrument necessary, or
reasonably believed by the creditor to be necessary, under applicable state law to make
the property being offered as secprity Bilable to satisfy the debt in the event of defa_p_lt,
for example, an instrument to create a valid lien, pass clear title, waive inchoate rights
or assign earnings.” [Emphasis added.]

As stated a number of times before, plaintiff is a stranger to the Loan and its security
instrument, the DOT [see RJN Exh. 2]. A modification would involve making sure that the security
instrument stayed intact and applicable to the modified loan, But since this plaintiff never executed
the DOT, nor did he ever assume it, the security instrument supporting any modification, i.e., Owen’s
DOT, would not be legally binding on plaintiff, And while the creditor could demand that the
borrower agree in writing to allow plaintiff to join on the DOT, since the borrower is now deceased,
this becomes impossible As such, plaintiff cannot claim to be an “applicant” entitled to ECOA
protection.

Moreover, plaintiff is not an “applicant” within the plain meaning of the ECOA since any
misconduct admittedly occurred during the servicing of the existing Loan. See Gorham-DiMaggio v

Countrywide Home Loans, Inc., 592 F. Supp. 2d 283, 291 (N.D. N.Y. 2008) (court held that the

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MEMORANDUM OF POlNTS AND AUTHORITIES BY DEFENDANTS FAY SERVlClNG, LLC AND
U.S. BANK, N.A. AS TRUSTEE lN SUPPORT OF THEIR DEMURRER 'l`O PLAINTIFF’S
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“Plaintiff was not an applicant within the plain meaning of the ECOA, and therefore cannot invoke the
protections of the Act...[because] [a]ny discrimination alleged in the complaint occurred during the
servicing of Plaintiffs existing loan”); see also Stoyanovich v. Fine Art Capital LLC, 2007 WL
2363656 at *2 (S.D. N.Y. 2007) (noting the Plaintiff must be a “loan applicant” to recover under the
ECOA). Finally, the ECOA statute requires that the creditor receive a “complete” application. As
plaintiff admits in 1|40 on pg. 8, Fay denied his last modification application attempt because the
application was incomplete. Thus, plaintiffs ECOA claim fails and his sixth cause of action should
be dismissed without leave to amend.
f. THE SEVENTH CAUSE OF ACTION

The Seventh Cause of Action is for declaratory relief against all defendants Again, this cause

 

of action is demurrable for vagueness and ambiguity because plaintiff continues to refer only to
“defendants” plural, throughout this cause of action, CCP §430.10(f). This cause of action also fails in
that it is duplicative of the relief sought in Plaintiffs other claims and is predicated on the Complaint’s
prior allegations which have been invalidated herein.

ln addition, pursuant to 11109 on pg. 19, plaintiff seeks to have this Court review the past
actions of “defendants” described in this paragraph. However, a declaratory relief order can only work
prospectively. lt does not apply to events that have already happened. As stated in Canova v. Trs. of
lmperial Irrigation Dist. Emp. Pension Plan, 150 Cal. App. 4th 1487, 1497 (2007), “Declaratory relief
operates prospectively to declare future rights rather than to redress past wrongs (Babb v. Superior
Court (1971) 3 Cal.3d 841, 848 [92 Cal. Rptr. 179, 479 P.2d 379].) Where, as here, a party has a fully
matured cause of action for money, the party must seek the remedy of damages and not pursue a
declaratory relief claim. (Jackson v. Teachers Ins. Co. (1973) 30 Cal. App. 3d 341, 344 [106 Cal. Rptr.
208].)” For these reasons plaintiffs seventh cause of action is for declaratory relief claim fails and
should be dismissed _vgthpu_t leave to amend.

g. THE EIGHTH CAUSE OF ACTION

The Eighth Cause of Action is for injunctive relief in general. It is well settled that injunctive
relief is not a cause of action, it is a remedy. See Shell Oil v Richter, 52 Cal.App.2d 164, 1268 (1942)‘,
Camp v Board of Supervisors, 123 Cal.App.3d 334, 356 (1981); Guessous v. Chrome Hearts, LLC

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MEMORANDUM OF POINTS AND AUTHORlTlES BY DEFENDANTS FAY SERVICING, LLC AND
U.S. BANK, N.A. AS TRUSTEE lN SUPPORT OF THEIR DEMURRER TO PLAINTIFF’S
ORlGlNAL COMPLAINT

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(2009) 179 Cal.App.4th 1177, 1187 (lnjunctive reliefis a rcmedy, not a cause ol"aetion). As explained
in Hafiz v. C)"reenpoint Mo)'tg. Funding, Inc. (N.D. Cal., 2009) 652 F.Supp.2d 1039, 1049, “injunetive
relief is a remedy which must rely upon underlying claims lf plaintiff seeks injunctive relief, she
should request it as part of her prayer for relief” ([bia'.) Thus, because injunctive relief is not a viable
cause ol" action and because plaintiffs remaining causes ol"aetion, on which his request for injunctive
relief is predicated fail, plaintiffs cause of action fails and is subject to this Demurrer.

111 addition, plaintiffs cause of action fails because there is nothing here to enjoin As
mentioned there is no pending foreclosure proceeding 'l`hcrefore, plaintiffs request l"or injunctive
relief is improper. Finally, this claim fails since plaintiff seeks the issuance of an injunction based on
alleged violations of HOBR. But, as shown above, plaintiff is not entitled to any protections under
HOBR since he is not a borrower as defined by the statute. /~\ecordingly, plaintiffs eighth and final
cause of action for injunctive relief fails and should be dismissed without leave to amend

IV. CONCLUSI()N

ln sum, plaintiff does not have standing to bring this complaint because he has brought it in the
naruc of the wrong party and was and is not the borrower on the .l.`.oan, nor has he ever assumed said
Loan. As a result, plaintiffs action is fatally deficient and cannot reasonably be cured F`urthermore,
plaintiffs complaint is long on generalizations and legal conclusions but absent on actual
substantiating facts in addition, the Complaint is impermissibly uncertain, vague and ambiguous as to
dates when crucial events and occurrences took place and equally unclear as to which particular
defendant is alleged to have engaged in unlawful conduct As such, Plaintiffs Complaint, in its
entirety, is subject to dismissal pursuant to CCP §430.10(b), (e) and (1), and defendants thus
respectfully request that this Court sustain their demurrer to each and every cause of action witth

leave to amend
Respectfully submitted
WRl,- 1-1'1`, lF`lNLAY & ZAK, LLP

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Ronald M. Arlas, Esq., Attorneys for
Defendants Fay Servicing, LLC and US Bank,
N.A. ns Trustee l;`or CVF Mortgage Loan
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MEMORANDUM OF POINTS AND AUTHORI"I`IES BY DEFENDANTS FAY SERVlClNG, hLC AND
U.S. BANK, N.A. AS "l`RUS'l`EE li\l SUPPORT Ol" ’l`l~llill{ DEMURRER 'l`O PerlN'l`ll"F`S
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PROOF OF SERVIQE

I, Catherine Lawler, declare as follows:

l am employed in the County of Marin, State of California where the mailing occurred. I
am over the age of eighteen (18) and not a party to the within action, My business address is 907
Sir Francis Drake Blvd., Kentf`teld, CA 94904. I am readily familiar with the practices of
Wright, Finlay & Zak, LLP, for collection and processing of correspondence for mailing with the
United States Postal Service. Such correspondence is deposited with the United States Postal
Service the same day in the ordinary course of business. I am aware that on motion of party
served, service is presumed invalid if postal cancellation date or postage meter date is more than
one day after date of deposit for mailing in affidavit

On July 15, 2016, I served the foregoing DEFENDANTS’ MEMORANDUM OF
POINTS AND AUTHORITIES IN SUPPORT OF THEIR DEMURRER TO
PLAINTIFF’S COMPLAINT on all interested parties in this action by placing [ ] the original
[X] a true copy thereof enclosed in sealed envelope(s) addressed as follows:

Marc Applbaum, Esq.

KETTNER LAW CORPORATION

2150 West Washington Street, Suite 104
San Diego, CA 92110

Telephone: (619) 756-7300

Facsimile: (619) 363-3944

E-Mail: marc@kettnerlawcorp.com

Attorneys for Plaintiff
MICHAEL PARADISE

[X] (BY UNITED STATES MAIL) l placed such envelope(s) for collection and mailing,
following our ordinary business practices.

[] (BY UNITED STATES CERTIFIED MAIL) I placed such envelope(s) for collection
to be mailed on this date following ordinary business practices, via Certified Mail, Retum
Receipt Requested.

[ ] (BY OVERNIGHT DELIVERY) I enclosed the document(s) in an envelope or package
provided by an overnight delivery carrier and addressed to the person(s) at the
address(es) listed herein. l caused to be placed the envelope or package for collection
and overnight delivery at an office or a regularly utilized drop box of the overnight
camer.

[ ] (BY MESSENGER SERVICE) I served the document(s) by placing them in an
envelope or package addressed to the person(s) at the address(es) listed herein and
providing them to a professional messenger service for service. A Declaration of
Messenger is attached to the original Proof of Service.

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PROOF OF SERVICE

 

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(BY PERSONAL SERVICE) l personally delivered the document(s) to the person(s) at
the address(es) as set forth on the attached service list. (l) I"`or a party represented by an
attorney, delivery Was made (a) to the attorney personally; or (b) by leaving the
document(s) at the attorney’s office, in an envelope or package clearly labeled to identify
the attorney being served, with a receptionist or an individual in charge of the oft"lce; or
(c) if there was no person in the office with whom the notice of papers could be left, by
leaving them in a conspicuous place in the o'f"l"lce between the hours o'l" nine in the
morning and live in the evening (2) For a party, delivery was made to the party or by
leaving the document(s) at the party’s residence with some person not younger than 18
years of age between the hours of eight in the morning and six in the evening

1 declare under penalty of perjury under the laws of the State of California that the

foregoing is true and con‘ect.

Executed on July 15, 2Q_16, at Kentf`leld, Calil`ornia.

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Catherine Icawler

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PROOF OF SERVICE

 

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Attomeys for Defendants FAY SERVICING, LLC AND US BANK, N.A. AS TRUSTEE FOR CVF
MORTGAGE LOAN ACQUISITION COMPANY (erroneously sued as US Bank, N.A)

IN THE SUPERIOR COURT OF THE STATE OF CALIFORNlA
IN AND FOR THE COUNTY OF SANTA CLARA

MICHAEL PARADISE, case No. 160v296237
Plaintiff REQuEsT FoR JUDICIAL NOTICE
vs. BY DEFENDANTS FAY sERvIcING,
FAY sERvIcING,LLc,etal. LLC AND US BANK» N~A- AS
TRusTEE IN sUPPoRT oF THEIR
Defendants DEMURRER To PLAINTIFF’s
oRIGrNAL coMPLArNT

Date: August 30, 2016
Time: 9:00 a.m.

Place: Dept. 8
Reserved Hearing Date

 

 

 

Pursuant to Evidence Code §451, 452 and 453, defendants FAY SERVICING, LLC and US
BANK, N.A. AS TRUSTEE FOR CVF MORTGAGE LOAN ACQUISITION COMPANY
(erroneously sued as US Bank, N.A), collectively “defendants”, request that this Court take judicial

notice of the documents attached hereto in support of their demurrer to plaintiffs original

 

. 1 _
REQUEST FOR JUDlClAL NOTICE BY DEFENDANTS FAY SERVlClNG, LLC AND US BANK, N.A.
AS TRUSTEE IN SUPPORT OF THElR DEMURRER TO PLAINTIFF’S ORlGlNAL COMPLA|NT

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Complaint. Evidence Code §452(g) and (h), states, in pertinent parts, as follows:

“Judicial notice may be taken of the following matters to the extent that they are not
embraced within Section 451:

(g). Facts and propositions that are of such common knowledge within the territorial
jurisdiction of the court that they cannot be reasonably be the subject of dispute.

(h). Facts and propositions that are not reasonably subject to dispute and are capable of
immediate and accurate determination by resort to sources of reasonably indisputable accuracy.”

Evidence Code section 452(h) provides that a court may take judicial notice of “[f]acts and
propositions that are not reasonably subject to dispute and are capable of immediate and accurate
determination by resort to sources of reasonably indisputable accuracy.” The Court “may take
judicial notice of recorded deeds.” Evans v. California Trailer Court, Inc. (1994) 28 Cal.App.4th
540, 549 (citing Maryland Casualty Co. v Reeder (1990) 221 Cal.App.3d 961, 977); See also
Poseidon Development, lnc. v. Woodland Lane Estates, LLC (2007) 152 Cal.App.4'h 1106, 1116
(trial court took judicial notice of various recorded documents related to the deed of trust securing
the Note). Additionally, the Court may take judicial notice of documents referred to in the
Complaint even when not attached. Pomona College v. Superior Court (1996) 45 Cal. App. 4th
1716, 1727-1728. See also Ingram v. Flippo (1999) 74 Cal. App. 4'h 1280, 1285 n.3.

While California law is that specific facts stated in judicially noticed documents cannot be
assumed to be true for purposes of a demurrer, the law does allow a court to take notice of the legal
effect of that recorded document. This distinction is fully discussed in the recent case of Fomenot v
Wells Fargo Bank, N.A., 198 Cal. App. 4‘h 256 (Aug. 2011). The court summarized the state of

California law by holding:

“Taken together, the decisions discussed above establish that a court may take
judicial notice of the fact of a document’s recordation, the date the document was

 

. 2 _
REQUEST FOR JUDlClAL NOTlCE BY DEFENDANTS FAY SERVICING, LLC AND US BANK, N.A.
AS TRUSTEE lN SUPPORT OF THE|R DEMURRER TO PLAINTIFF’S ORlGINAL COMPLAINT

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recorded and executed, the parties to the transaction reflected in a recorded document,

and the document’s legally operative language, assuming there is no genuine dispute
regarding the documents authenticity From this1 the court may deduce and rely upon

the legal effect of the recorded document. when_th_at effect is clear from its _f_`gc&“ 198

cal. App. 4'*‘ at 265. [Emphasis added.]

Based on the holding in Fontenot, supra, this Court can take judicial notice of the “legal
effect of the recorded documen ” submitted herewith.

Each of the documents described below to be judicially noticed come from sources of
“reasonably indisputable accuracy". Based on the above, defendants respectfully request that the
Court take judicial notice of the following documents pursuant to Evidence Code §§ 451, 452 and
453:

1. A true and correct copy of the Grant Deed memorializing the purchase of the subject
property by Rebekah Owen and recorded on 11/05/2004 in the Santa Clara County Recorder’s Office
as Document #18081457.

2. A true and correct copy of the Deed of Trust executed by Rebekah Owen and
recorded on 10/31/2006 in the Santa Clara County Recorder’s Office as Document #19164224.

3. A true and correct copy of the Substitution of Trustee executed by Rebekah Owen and
recorded on 4/10/2013 in the Santa Clara County Recorder’s Office as Document #22166797.

4. A true and correct copy of the Notice of Default (“NOD”) recorded on 4/10/2013 in
the Santa Clara County Recorder’s Office, as Document #22166798.

5. A true and correct copy of the Notice of Sale (“NOS”) recorded on 7/19/2013 in the
Santa Clara County Recorder’s Office, as Document #22308679.

6. A true and correct copy of the Assignment of Deed of Trust recorded on 9/19/2013 in

the Santa Clara County Recorder’s Offlce, as Document #22391632.

 

- 3 _
REQUEST FOR JUDICIAL NOT|CE BY DEFENDANTS FAY SERVICING, LLC AND US BANK, N.A.
AS TRUSTEE IN SUPPORT OF THE]R DEMURRER TO PLAINTlFF'S ORIGINAL COMPLAINT

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7. A true and correct copy of the Notice of Rescission recorded on 2/18/2014 in the

Santa Clara County Recorder’s O'l"‘l'ice, as Document #22520761.

8. A true and correct copy of the Order Con.t"trming Trustee and Conflrmlng Assets

Owned by ”l."rust recorded on 4/9/2015 in the Santa Clara County Recorder’s Oi`tice, as Document

#22913096.

9. A true and correct copy of the CMRL reported required to be filed by the Ca. O'l"l'ice
ol`Business Oversight by Fay Servicing, LLC on 2/27/2015; see especially the bottom of pg. 3 and
the top of pg. 4 of this report

Respeetfully submitted,

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Dated;rulyis, 2016 By: 1 1/1’\ » Ul/t/£a»r

T. Robert Finlay, Esq.,

Ronald 1\/1. Arlas, Esq., Attorneys for
Defendants Fay Servicing, LLC and US Bank,
N.A as Trustee for CVF Mortgage Loan
Acquisition Company

 

- 4 _
REQUEST l"OR JUDICIAL NOTICE BY DEFENDANTS FAY SERVICING, LLC AND US BANK, N.A.
AS TRUSTEE lN SUPPORT OF TlilZlR DEMURRER 'l`O PLAlNTlFl:"S ORlGlNAl, COMPLAINT

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Rebekah Victorla Owen

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FOR A VALUABLE CONSIUERA'|'!ON, receipt of which ls hereby acknowledged, Paui M. Nauss, an unmarried
man who acquired tide as Paul M. Nauss, a married man as his sole and separate property and
Bunjamin M. Nauss and Marian K. Nauso, as trustees of the Nauso Famiiy Living Trust, dowd March
16, 1590 as to an undivided 56% interest all as tenants in Common

hereby GRANi'S to Rebekah Vlctoria owen, an unmarried woman
the following described property in the Clty of san Jose, County of SANTA CLARA, St':ade of Californla:

LOT 17, AS DELINEATED UPCN THAT CERTAIN MAP ENT!TLED "TRACI' NO. 4131", FILED FOR
REC°RD IN THE OFFICE OF THE COUNTY OF SANTA CLARA, SfATE OF CALIFORNIA, 0N
FEBRUARY 24TH, 1966 IN BO°K 205 OF MAPS, AT PAGE 42.

EXCEPTING THEREFROM THE UNDERGROUND WATER OR RIGHTS THERETO WITH NO
RIGHTS 0F SURFACE ENTRY, AS GRANYED T0 SAN JOSE WATER WORKS, A CALIFORNIA

CORPORATION, BY INSTRUMENT, RECORDED MARC|'I 29, 1966 IN BOOK 7337 OF OFFICIAL
l~'iE(ZORDS,1 PAGE 232.

Dated: __1._|2£§[_29.%___.__

Mall TBX $tafemen\! T0: $AME B AB°VE

 

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O¢dorr N domestic

Case 5:16-cV-O4O49-NC Document 1-2 Filed 07/18/16 Page 69 of 118

 

 

A.i’.N.: 299-18-117 Grant Deed - continued File No.:4312-16377(7ct`il)
Date: 10/25/2004
Ben]am|n M. Nauss and Marl|yn K. Nauss as
l . '
pau M Nauss trustees of the Nauss Famliy Living Trust,
dated March 16. 1990 as to an undivided
56% interest all as tenants in Common
srATE or= a ` W\- }
} ss.
COUNTY OF ad’/’k' }
On l 1915 ' .. ` " . before

 

     

 

     

 

 

me, . . r t r personally
appeared _._ f .ir . _ ' . .
persenaly f ovav‘to me (or proved to me on the -:- of seti ctory evidence) to be e person(s) whose

lgnature(s) on the |nst.'rume the person(s) or the
e instrument,

in his/her/t'r " rauthorized oepaclty(lee) and that his/her
entity upon behalf ofwhlch the person(s) acted, execu

name(s) s =D ubscribed to the within instrument andre§$iedged to me that he[sh e.~cecuted the same

WITNESS my hand and official seai. 771/s area far amc/al

 

 

 

natalie/seal
Signature ‘ _
l/e»//) /
My Commisslon Expires: 8-&"09
Notary Neme: 6 Wln D;)M/ Notary Phone: w g" 875' '2700

 

 

Notary Registration Number: V'_[BJ__ County of Principal Piaoe of Businessr..'j?

hwzdz

Deecripeiaor santa Clara,¢h Document - Doazn 18081437 Pager 2 of 4
orderr x Commantr

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_._-. ..___._.. v

 

 

 

1
f v"o
-/.
RECORDING REQUESTED BY
F|rst Amerleen 'iitle Company
AND WHEN REC°RDED MA!L TO:
Rebekah Vlctoria Owen
Spaea Abovo This tina for Recorder’s lisa Oniy
A.P.N.: 29§-18-117 File No.: 4312-1637770 (CV)
GRANT DEED
SIGNED IN COUNTERPART
The Understgned Grantur(s) Dedare(s): DOOJMENTARY TRANSFER TAX $' ...; GTY TRANSFERTAX 3
SURVEY MDNUMENT FEE $

[ tt ] computed on dreoonstdelatlonorhiil valueolpropertyomveyed,OR
[ computed on tha miduadon or ful value less value of liens and/or errounbrenoes remaining at time of sale,

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[ ] urdnoorporamdarear [x] Cltyofsa ese,and
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slgremB{oedmen: 0

FOR A VALUABLE CONSIDERA‘UON, receipt of which is hereby acknowledged, Paui M. Nauss, an unmarried
man who acquired title as Paul M. Nauss, a married man as his sole and separate property and
Banjamin M. Nauss and Mar'iiyn K. Nauss, as trustees of the Nauas Famiiy Living Trust, dated March
16, 1990 as to an undivided 56°/0 interest all as tenants in Common

hereby GRANTS to Rebekah Victorla owen, an unmarried woman

the following described property in the Clty of San Jose, County 'of sANTA CLARA, State of Califomla:
L0‘i' 17, M DEL!NEA'IED UFON THAT CERTA!N MAF ENTITLED "TRAC'I' N0. 4131", FILED FOR
RECORD IN THE CFFlCE 0F THE COUNTY OF SANTA CLARA, STATE DF CALIFORNIA, ON
FEBRUARY 24TH, 1966 lN BOOK 205 0F MAPS, A`i' FAGE 42.
EXCEFTING THEREFR°M THE UNDERGRCUND WATER 0R R!GH‘|'S THEREI'C WIl'H NO
RIGHTS 0F SURFACE ENTRY, AS GRANTEI> TO SAN JOSE WATER WORK$, A CALIFORNIA

CORPQRATION, BY INSTRUMENT, RECORDED MARC|'I 29, 1966 IN BOOK 7337 OF OFFICIAL
REC°RDS, PRGE 232.

Damd: __I.Q.LZF_'LBSH._.__.__.

Mlli TBX Silldmetils Td: SAME AS ABOVE

 

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A.P.N.z 299-18~117 Grant Deed - continued Flie No.:4312-16377g|,)
(
Date: 10/25/2004
. Q
paul goss Ben]amln M. Nauss and Marl|yn K. Nauss, as

trustees of the Nauss Famiiy Living Trust.
dated March 16, 1990 as to an undivided
56% interest ali as tenants |n Common

 

Ben]amin M. Nauss. Trustee

 

Marilyn M. Nauss. Trustee

srATe oF M_
county or _QM£L¢
On_O_Gf[ZbU?/ 31 M . before

§ personally
L“ppeMMm.-m
personally known to me for proved to me on the basis of satisfactory evidence) to be the person(s) whose
neme(s) is/are subscribed to the within instrument end acknowledged to me that heishe!they escorted the same
in hisfherltheir authorized capacity[ies] end that hisfherltheir slgneture(s) on the instruth the person(s) or the
entity upon behalf of which the person(s) ected, execumd the instrument,

VV`»J
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WiTNESS my hand and official sea|. 771/s area for attic/al
natalie/seal _ -L._,.

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Sionawre , NoTAHv Pue\.ic

state or= cor.onnoo
_ My commission expires cams/2001
Mv commission erie __o_azas:éaaz___
Notary Neme:__L;lL-MLLUL__ Notary Phone: g 20 '&S:Z@_
Notary Registration Number: County of Prlnoipai Place of Business:

 

lopezon

Deaoript.!onr santa clera,¢!lt nocument: - mem 1608.1457 roger 4 ct 4
Orderr ll cameron

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EXH]BIT 2

 

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l § Fees.... 54 99
` l Ta><es
l ' i Coples.,

AMT PAlD 54 99
BRENDA DAVIS RDE ll 064
SANTA CLARA COUNTY RECORDER l@/3\/2@96
Recorded at the request cl 1=39 Pi'i

Commonwealth Land T'l t le

deeown(l)¢l“(¢r/?/l)éi,t

A£t.er Recording nature

FLAGSTAR BANK

5151 CORPORATE DRIVE

TROY, MI 48098

FINAL DOCUMENTS, MAIL STOP W~530-3

Escrow No.r 66211164
Vl ii‘BCD LOAN ll 501231839

 

[Spdco Above Th|s L|no For Rocordlng Dain]

DEED OFTFiUST

 

 

mm 100052550123183997

 

OEF|NlT|ONS

Worde used ln multiple sections ofthis documenlore delined below and other words are defined |n Sections 3,11, 13,
18, 20 and 21. Certaln rules regarding the usage of words used in this document are also provided in Section 18.
(A) "Sacurity lnstrumont” means this document, which le dated ocToBER 23, 2006, together with
all Fllders to this document

(Bl “B°"°W°"" \5 W W‘W=li/*?'¢ WWWY W *7“?‘7 WW F! S/WW *759‘?*?‘7])"’7'/

Rebekah V. Owen, an unmarried woman

Borrower is the trustor under this Securlty instrument
(C)"Lender"ls FLAGSTAR BANK, Pee.

CAL|FORN|A~-Slngle Famiiy-Fannlo MaolFroddlo Mao UN|FORM lNSTHUMENT Form 3005 1/01 Initlalsr L 1 [»__-

o 1099»2ootonunooacumamu. lnc. Pagel of 12 chapman cAEDEoL 0402
10-23-2006 14109

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Orderr M Commenbr

Case 5:16-cV-O4O49-NC Document 1-2 Filed 07/18/16 Page 74 of 118

vt waco conn 9 501231839
Lenderisa Faoannm.! commence snvuos saint organized and existing under the laws of
curran states or arrear¢:A. Lender‘s address is 5151 consensus ort,
cnov, ns asoss-zsss.

(D) "Trustee"ia conn e. mensca.

(E) “MERS" is Mortgage Eiectronic Flegistration Systems, lnc. MEFiS is a separate corporation that is acting solely as
a nominee for Lender and Lender's successors end assigns MERS le the beneficiary under this Security instrument,
MERS is organized and existing under the lowe ci Daiawere. and has an address and telephone number of P.O. Box
2028, Filrti1 M| 48501-2026, tel. (BBB) 879-MEHS.

{F) "Noie" means the promissory note signed by Borrower and dated accoan 23 , 2006 . The Note
states that Borrower owes Lender * * * *** **¢ H **** * 1 *H***BI! iii.itinit£:n THEHTY THOUSAND AND ito/100
acontinuancenooninconsistenciesneenenennnun Dq|lgrs {U,S, $620,000.00 )
plus interestl Borrower has promised to pay this debt in regular Parlodio Peymanta and to pay the debt in full not later
than nom-tama 1 , 2036 .

{a) “Prqparty" means the property that le described below under the heading "Transfer of Fiights in the Property."
(H) "Loan" means the debt evidenced by the Note, plus interest, any prepayment charges and late charges due under
the Note, and ali sums due under this Securlty instrument, plus interest

(l) "Hldere" means eil Fiidere to this Saourity instrument that erc executed by Borrower. The following Flidere areto be
executed by Borrower [check box as[£p-pilcabie]:

[:JAdjuetabia Fieie Fllder Ccndom|nium Rider ESooond Home Fiider
l:iBai|oon Fiider |::i Plannad Unit Development Hider C:iOlher(s) [speciiy]
|II! 1-4 Famiiy Fllder i'_':i Eihvealriy Payment Rider

l:lV.A. Flider

(J) “Appiicable Law" means ali controlling applicable iederai, state and local statutes, regulations, ordinances and
administrative rules and orders (that have the elfect cl law) as weil as ali applicable linai, non-appealable ludicle|
o inlons.

(|2) “Communlty Asecciation Duoa, Fecs, and Assassmonts" means eli dues, fees, assessments and other charges
that are imposed on Borrower or the Property by a condominium essociation. homeowners association or similar
organization

[L) “Eiactrcnio Funds Tronsfor" means any transfer offunds, otherthsn a transaction originated by check, dran, or
elmiiar paper instrument, which le initiated through an electronic terminal, telephonic instrumentl computer, or magnetic
tape so se to crdar, instruct, or authorize a financial institution to debit or credit an account. Such term inciudos, but is
not limited to, polnt-of»aala transfera. automated teller machine transactions. transfers initiated by telephone, wire
transiere, and automated clearinghouse transiers.

(M) "anrow ltame" means those items that are described in Section 3.

(N) "Mieoollanenus Proceada" means any compensation settlement award cl damsgcs. or proceeds paid by
any third party father than insurance proceeds paid under the coverages described in Section 5) ior: (l) damage
to. or destruction oi. the Property'. lli) condemnation or ethertaking cl eli or any part cl the Property; (iii) conveyance
In lieu el oondemnetion: or (|v) misrepresentations ol, or omissions as to, the value end/or condition of the
Property. ` l

(0) "Mortgaga ineur'enoo" means insurance protecting bender against the nonpayment of, cr default on, the Loan.
(P) "Pariod|o Payment” means lhe regularly scheduled amount due for (l) principal and interest under the Note, plus
{|ii any amounts under Section 8 of this Bacurity instrument

(O} “HESPA" means the Haai Estate Settiement Procedures Act (12 U.S.C. §2801 ot seq.) and itc implementing
regulation, Fioguietion X (24 C.F.Fl. Pert 3500}. as they might be amended from time to tima, or any additional or
successor legislation or regulation that governs the same sub]ect matter. As used in this Becurity instrument, "HESPA"
refers to ali requirements and resolutions that are imposed in regard to a “iedareiiy related mortgage ioen" even ll the
Loan does not quality aa a "fodaraliy related mortgage iosn' under HESPA.

{H) “Succoasorin intaraetcf Borrower" means any party that has taken title to the Property. whether or not that party
has assumed Borrowar's obligations under the Note and/or this Securlty instrument

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,...-.-_ - _._...._._ __-

v1 WB¢D LOAN i 501231839
TRANSFER OF FilGl-ii'S lN THE PFtOPERTY
The benciiciary cfthis Securlty instrument le MEHS isoler as nominee ior Lenderand Lencler‘s successors and assigns)
end the successors end assigns cf MERS. This Security instrument secures to Lender: (l) the repayment ot the Loan,
end all ranewals, extensions and modifications of the the; and (ii) the perion'nenoe of Borrowsr's covenants end
agreements under this Security instrument and the Note. For this purportsl Borrower irrevocably grants and conveys
to Trustee. in trust. with power oi' sale, the following described property located in the
¢QUNT! |Type ct Recording Jurladiclionl of SANTA CLARA
iNamc cl Heccrding Jurisdictlonli
mena oascit!Ps':os macitao naaaro arm trace rt am candor
ltFN lt 299-18-117

which currently has the address ot 3927 3929 lutooit aarva, san Jose,
iStl¢stliCitvl
Caliicmic 95117 (“Property Address'):
lle¢oda|

TOGEii-iEHWlTH ali the improvements nowcrhereaiter amsted onthaproperty, and alieeeernente. appurtenancesl
and fixtures now cr hereafter a part ct the properly. All replacements and additions shall also be covered by this Security
instrument All ct the foregoing is referred to in this Security instrument as the “F'roperty.“ Borrower understands end
agrees that MEFIS holds only legal title to the interests granted by Borrower in this Security instrument, but, il necessary
to comply with law or cuetom, MEHS ies nominee for Lsnder and Lender’s successors and assigns) has the right to
exercise any oraii of those interests, inoludlng, but not limited to, the righttotoraciose and seliihe Property; and to take
any action required cf t.ender includingl but not limited to, releasing and canceling title Security instrument

BORROWER COVENANTS that Borrower is lawfully seised of the estate hereby conveyed and has the right to grant
end convey the Property andthat the Property is unencumbered, exceptforencumbrences ct record. Borrowerwarrants
andwll| defend generally the title to the Property against ailclalms and demands, sublecttoany encumbrances olrecord.

THlS SECUR|TY lNSTFlUMENT combines uniiorm covenants lcr national use and non-uniform covenants with
limited variations by jurisdiction to constitute a uniform security instrument covering real prcperty.

UNlFORM COVENANTS. Borrower and l.ender covenant and agree as follows:

t. Peymentol' Prlncipal. interest, anrewlterns. Prapayrnant Charges, and tate Ghsrgee. Borrowershai| pay
when deaths principal oi, and interest on. the debt evidenced by the Note and any prepayrnentchargss and tate charges
due under the Note. Borrower shall else pay funds rcr Escrcw items pursuant to Section S. Paymcnts due under the
Note and this Security instnrment shell be made in U.S. currenoy. However, ii any check or other instrument received
by Lender as payment under the Note or this Securlty inatnrmcnt te returned to Lsnderunpald. Lendor may require that
any or all subsequent payments due under the Note and this Sacurlty instrument be made in one or more ofthe following
torme. as selected by Lender: (e) oash; [b) money order; (c} certiiled check, bank ohsclt, treasurer'e check cr cashier's
checit, provided any such check is drawn upon an institution whose deposits are insured by a iederai agency,
inetrumentslity, or entity; or {d) Electronio Funds Transier.

Payrnents are deemed received by Lender when received at the location designated in the Note or at such other
location ac may be designated by Lender in accordance with the notice_provlsions in Section 15. Lender may retum
any payment or partial payment ii the payment cr partial payments are insufficient to bring the Loan _current. L der

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o race-ecoa onrlns easements ina 1 Page 3 of 12 oaaoaot. cans
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v1 waco const t 501231839
may accept any payment or partial payment lnsutlicient to bring the Loan current. without waiver of any
rights hereunder cr prejudice to its rights to refuse such payment or partial payments in the futurel but Lender is not
obligated to apply such payments at the time such payments are accepted. if each Psricdic Payment ls applied ss
of its scheduled due date, then Lender need not pay interest on unapplicd funda. Lender may hold such unappiled
funds until Borrower makes payment to bring the Loan current. ii Borrower does not do so within a reasonable
period of timel Lender shall either apply such funds cr rstum them to Borrower. if not applied eartier, such funds will
be applied to the outstanding principal balance under the Note immediately prior to foreclosure. No oftset or claim
which Borrower might have now orln the future against Lendsrshal| relieve Borrowertrom making payments due under
the Note and this Security instrument or performing the covenants and agreements secured by this Securlty
instrument,

2. Applicetion ot Paymonte or Proeeede. Except as otherwise described ln this Section 2, eti payments accepted
and applied by Lender shall be applied in the following order of priority: {a) interest due under the thc; (b) principal
due under the Note: (c) amounts due under Section 3. Such payments shall be applied to each F'sriodio Payment in the
order in which lt became due, Any remaining amounts shell be applied first to late ohargea. second to any other amounts
due under this Securify instrument, end then to reduce the principal balance ct the Note.

lt Lender receives a payment from Borrower for a delinquent Feriodio Paymsnt which includes a sufficient amount
to pay any late charge duell the payment may be applied to the delinquent payment and the late charge. ll more than
one Periodlc Paymsnt is outstanding, Lender may apply any payment received from Borrower to the repayment ct the
Pericd|c Peymente it, end to the extent that, each payment can be paid in tu||. To the extent that any excess exists after
the payment is applied to the full payment ot one cr more Perlodlc Payments, such excess may be applied to any tate
charges due, Voiuntary prepayments shall be appliedf|ratto enyprepayment charges and then as described in the Note,

Any application of payments. insurance prooeeds, or Misoeileneous Proceeds to principaidue under the Note shall
not extend or postpone the due datc. or change the smount. of the Feriodic Payments.

ti, Funds tor Escrow items. Borrower shall pay to Lender on the day Per|odlo Payments are due under the
Note, until the Note is paid in fuii. s sum (ths “Funds") to provide for payment of amounts due for: (e) taxes and
assessments and other items which can attain priority over this Security instrument as a lien or encumbrance on the
Property; fbi leasehold payments or ground rents on the Property. if any; (e) premiums for any and all insurance
required by Lender under Section 6; end (dt Mortgage insurance premiums, |l'anyl cr any sums payable by Borrower
to Lender in lieu ot the payment of Mortgage insurance premiums ln accordance with the provisions cl Section 10.
These items are called “Eacrow ltams." At origination or at an_y time during the term cf the Loan, Lender may
require that Community Assooiat|on Dues, Fess. and Asssssrnents, lfany, be escrowed by Borrower. and such dues,
fees and assessments shall be en Escrow item. Borrower shall promptly furnish to Lender all notices cf amounts to
be paid under this Section. Borrower shall pay Lender the Funds for Escrow items unless Lender waives Borrcwor's
obligation to pay the Funds for any or all Escrow |tems. Lender may waive Borrowsr's obligation to pay to Lender Funds
for any or ali Escrow items at any tims. Any such waiver may only be in writing, in the event et such waiver, Borrower
shall pay directiy. when and where paysb|e. the amounts due for any Escrow items for which payment ct Funds has
been waived by Lender and, if Lender requiree. shell tumish to Lender receipts evidencing such payment within such
time period as Lender may require. Borrower’s obligation to make such payments and to provide receipts shall for ali
purposes be deemed to be a covenant and agreement_oontained in this Security instrumentl as the phrase "oovenant
end agreement“ ls used in Section 9. if Borrower is obligated to pay Escrow items direot|y. pursuant to a waiver. and
Borrower fails to pay the amount due for an Escrow |tem. Lender may exercise its rights under Section B and pay
such amount end Borrower shall then be obligated under Section 9 to repay to Lender eny_such amount Lender
may revoke the waiver as to any or eli Escrow items stacy time by a notice given in accordance with Section 15 and,
upon such revocationl Borrower shall pay to Lender all Fundsl end in such amounts, that are then required under this
Sect on 3. _

_ _ Lender _may, at any time. collect end hold Funds in an amount (a) sufficient to permit Lender to apply the Funds et
the time specified under FtESPA. and tb} not to exceed the maximum amounts isnder'can require under FlESPA. Lender
shall estimate the amount of Funds due on the basis of current data`and reasonable estimates of expenditures of future
Escrow items or othanMse in accordance with Appl|cabis Law.

T‘ne Funds shall be held in an institution whose deposits are insured by electoral agenoy. instrumentality, or entity
{includ|ng l.ender. ll Lenders an institution whose deposits are so |nsured) erin any Fsdera_l Home Loan Bank. Lender shall
appty the Funds to pay the Escrow items no later then the time specified under FlESPA. Lender shell not charge Borrower
for holding and applying the Funds, annually analyzing the escrow account. or verifying the Escrow |teme, unless Lender
pays Borrower interest on the Funds end App|icabie Law permits Lender to make such a charge. unless an agreement is
made in writing or Appiiosbie Law requires interest to be paid on the Funds, Lender shell not be required to pay Borrower

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Vl WBCD LOAN 9 501231839
any interest cr earnings on the Funds, Borrower and Lender can agree in writing. however, that interest shall be paid on the
Funds, Lender shall give to Borrower. without cherge. an annual accounting of the Funds as required by HESPA.

li there is a surplus of Funds held in sscrcw, ss defined under RESPA, Lender shall account to Borrcwartor the excess
funds in accordance with RESPA. iithere is a shortage cf Funds held in ascrow, as defined under RESPA, tender shall notify
Borrower as required by RESPA. and Borrower shall pay to Lender the amount necessary to make up the shortage in
eccerdancewith HESPA. butln ncmorc thentzmonthiypeymente. ifthere is adsficiancyctFunds held in escrcw. as defined
under HESPA, Lender shall nottty Borrower as required by REBPA, and Borrower shall pay to Lender the amount necessary
to make up the deficiency in accordance with HESPA, but in no more titan 12 monthly payments.

Upon payment in tull ci ali sums secured by this Security instrument, Lender shall promptly refund to Borrower any
Funds held by Lender.

»‘t. Chargea; lJens. Borrowershaii pay ali taxes, essessments, charges. fines, and impositions attributable to the
Property which can attain priority over this Security instrument, leasehold payments or ground rents on the Property.
iiany, and CemmunityAsscciatien Bues, Fees, and Asseesments. tiany. To the extentthat theseitems are Escrow items,
Borrower shell pay them in the manner provided in Section 3.

Borrower shall promptly discharge any lien which has priority over this Securliy instrument unless Borrower: (e)
agrees in writing to the payment ci the obligation secured by the lien in a manner acceptable to Lender, but only so tong
as Borrower is performing such agreement; (b) contests the lien in good iaith by, crdeienris againeteniorcement otthe
lien ln. legal proceedings which in Lender's opinion operate to prevent the enforcement et the lien while those
proceedings are panding. but only until such proceedings are ccnoiuded: cr (o) secures from the holder ct the lien art
agreement satisfactory tc Lender subordinating the lien tc title Security instrumentl if Lender determines that any part
cf the Property is subjective a lien which can attain priority ever this Security instrument, Lender may give Borrower a
notice identifying the lien. Within 10 days ct the date on which that notice is glven, Borrower shall satisfy the lien or take
one or more ot lite actions set forth above in this Section 4.

Lender may require Borrower to pay a one-time charge ior a real estate tax veriticaticn and/or reporting service used
by Lender in connection with this Loan.

E. Fropsrty insuranco. Borrower shall keep the improvements now creating or hereafter erected on the Property
insured age|nst_ioss by iire, hazards included within the term “etttended coverage .“ and any other hazards inciudlng.
but not limited tc, earthquakes and floods. for which Lender requires insurance. This insurance shall be maintained In
the amounts (including deductible ieveis) and ior the periods that Lender requires. What Lender.requires pursuant to
the preceding sentences can change during the tenn ct the Loan. The insurance carrier providing the insurance shaft
be chosen by Bcn‘cwer sub]_eot to Lendsr's right to disapprove Bcn’cwer's choice, which right shall notice exercised
unreasonab|y. Lender may require Bcr`rowertc pay, in connection with this Loan. either: (e) a onc-tirns charge foriicod
zone detamtinatien, ceriiiioaticn and tracking services; or (b) a one-time charge for iiocd zone deten'ninstien end
certification services and subsequent charges each time remappings or similar changes occur which reasonably might
attest such detennlnaticn or csrtiiicaficn. Borrower shall also be responsibie tcr the payment of any toes deposed by
the Federal Emergenoy Menagement Agency in connection with the review ot any tiocd zone determination resuiting
item an objection by Borrower. _

it Borrower fails to maintain any cf the coverages described 'abovs. Lender may obtain insurance coverege, at
Lendsr'_s option and Borrower's responsel Lender is under no obligation to purchase any particular type or amount of
coverage Therefore, such coverage shall cover Lsndsr, but might cr might not protect Borrower. Borrowsr's equity in
the Propertyl or_ the contents ot the Property. against any rlstrl hazard or liability and might provide greater or lesser
coverage titan was previously in eitect. Borrower acknowledges that the cost ct tito insurance coverage so obtained
might.signilicarttiy exceed the cost oi insurance that Borrower could have cbtained. Any amounts disbursed by Lender
under this Section 5 sheii become additional debt oi Bcn'ower secured by title Security instrument 'i'hese amounts shall
bear interest a`t lite Note rate from the date of disbursement and shall be payabie, with such interest, upon notice trcm
Lender tc Borrower requesting payment.

All insurance policies required by Lender and renewals cf such policies shall be subject to Lender right to
disapprove such poi|eies, shall include a standard mortgage oisuse, and shall name Lender as mortgagee and/or ss
an additional loss payee end Borrcwariurther agrees to generally assign rights to insurance proceeds to the holder ct
the Note up to the amount ct the outstanding loan baiance. Lender shall have the righttc hold the policies and renewal
certificatcs. it Lender requires. Borrowershaii promptiy give to Lender all receipts cf paid premiums and renewal notices.
i‘i Borrower obtains any form ci insurance coverege, not otherwise required by Lender, icr damage to, or destruction
of. the Property. such policy shall include a standard mortgage clause and shall name Lender as,mortgagse andror as
en additional loss payee and Borrower further agrees to generally assign rights tc insurance proceeds to the holder of
the Note up to the amount oi' the outstanding loan baiartce.

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ln the event ct lose. Borrower shall give prompt notice to the insurance carrier and Lender. Lender may make proof
cl loss if not made promptly by Borrower. Un|sas Lender and Borrower otherwise agree in wltt|ng, any insurance
prcceeds. whether or not the underlying insurance was required by Lendsr. shell be applied to restoration cr repair of
the Property. litho restoration or repair is economically feasible and Lender's security is not |essensd. During such repair
end restoration period, Lender shall have the right to hold such insurance proceeds until Lender has had an opportunity
lo inspect such Property to ensure the work has been completed to Lander‘e satisfaction, provided that such inspection
shall be undertaken prcmptly. Lender may disburse proceeds lor the repairs and restoration in a single payment or in
a series cl progress payments as the work is oomptated. Uniasa an agreement is made in writing or Applicabis Law
requires interest to be paid on such insurance proceeds, Lender shall not be required to pay Borrower any interest cr
earnings on such prcceeds. Fses for public adjusters. or other third partiesl retained by Borrower shell not be paid out
ct the insurance proceeds and shall be the soto obligation ot Borrower. ii U'te restoration or repair is not economically
feasible cr Lendar‘s security would be iessened, the insurance proceeds shall be applied to the sums secured by this
Security instrument, whether or nctthen duel with the excass, ii any, paid to Borrower. Such insurance proceeds shall
be applied in the order provided for in Section 2.

ii Borrower abandons the Property. Lender may iiie, negotiate and settle any available insurance claim and related
mcttsrs. ll Borrower does net respond within 30 days to a notice from Lender that the insurance carrier has offered to
settle a ciaim. then Lender may negotiate and settle the ciairn. The SD-day period will begin when the notice is givan.
in either evant, or it Lender acquires the Property under Section 22 or otherwisel Borrower hereby assigns tc Lender
(e) Borrower's rights to any insurance proceeds in en amount not to exceed the amounts unpaid under the Note or this
Sacurily instrument and (b) any other ot Borrower's rights (ciherthen the right to any refund ci unearned premiums
paid by Borrower] under eli insurance policies covering the Property. inscier as such rights are applicable tc the
coverage of the Property. Lender may usa the insurance proceeds either to repair cr restore the Property or to pay
amounts unpaid under the Note cr this Becurity instrument, whether or not than due.

ti. Occupaney. Borrower shall cccupy, establish. and use the Property as Bcncvver's principal residence within
60 days after the execution ot this Boourity instrument and shell continue to occupy the Property ss Borrower‘s principal
residence for at least one year after the date ct oooupanoy, unless Lender ctheniviss agrees in writing. which consent
shall not be unreasonably withheid. cr unless extenuating circumstances exist which are beyond Borrower's ccntrol.

7. Preserval|on. Melntenencs end Protcctlon of the Property; lnspectiona. Bon’ower shall not destrcy,
damage or impair the Property, allow the F"rcperty to deteriorate or commit waste on the Property. Whether or not
Borrower is residing |n the Property. Borrower shall maintain the Property in order to prevent the Fropsrty from
deteriorating cr decreasing in value due to its condition. Unless_ lt is determined pursuant to Bectionl 5 that repair or
restoration ls not economically iaaslb|s, Borrower shall promptly repair the Frop,erty il damaged to avoid further
deterioration or damaga. il insurance or condemnation proceeds are paid in connection with damage to. ortho letting
oi, the Property, Borrower shall be responsible lcr repairing or restoring the Property only ii Lender has released
proceeds tcr such purposss. Lender may disburse proceeds for the repairs end restoration in a single payment or in
a series off progress payments as the work is completed. ii the insurance or condemnation proceeds are not sufficient
to repair or restore the Froperty. Borrower le not relieved cl Eorrcwcr's obligation for the completion ct such_repair cr
restoration.

Lender cr its agent may make reasonable entries upon and inspections cl lh`e Property. .if it has reasonable cause,
Lender may inspect the interior of the improvements on the Property. Lender shall give Borrower notice at the time ci
or prior to such an interior inspection specifying such reasonable oeuse.

a. Borrcwc_r‘e Loan Appileatlcn. Borrower shell be in delauit ii, during ihs Loan application proosss. Borrower
or any parsons or entitles acting at the direction of Borrower or with Borrower's knowledge cr consent gave materially
taise. misleading, or inaccurate information orstatements to Lender (orlaiiad to provide Lenderwlth material inlcnnatlon)
in connection with thc Loan. Mater|e| representations inciuda, but srs not limited tc, representations concerning
Borrower‘s occupancy cf the Property as Borrower principal residence.

ti. Froteotlcn of Lender'a interest in the Property end nghts Under this Securlty instrument, ll (e) Borrower
tells to perion'n the covenants and agreements contained in this Securily instrument1 (b) there is a legal proceeding
that might signilicantiy aiioct Lender's interest in tha Property andicr rights under this Security instrument (such as
a proceeding in bankruptcyl probatc.tor condemnation crforieiture. to`r enlcrcsmentofaiien which may attain priority
over this Securiiy instrument or to enforce laws or regulations), or (c) Borrower has abandoned the Froperty. then
Lender may do and pay for whatever is reasonable or appropriate to protect Lender's interest in the Property and rights
under this Security instrument, including protecting andfor assessing the value cf the Property. end securing endicr
repairing the Property. Lendsr's actions can inoiuda. but are not limited tc: (e) paying any sums secured by a lien which
has priority over this Securtty instrument; (b) appearing in ool_.rrt: and {c) paying reasonable attorneys' fch to E§ct

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its interest in the Property sndror rights under this Security in slrumsntl including its secured position in a bankruptcy
proceeding Securing the Property inciudes, but is not limited to. entering the Property to make repairs, change ioclts.
replace or board up doors and wlndews, drain water irom pipes, eliminate building or other code violations or
dangerous conditions. and have utilities turned on cr oil.A|thcugh Lender may take cotton underthls Section 9. Lender
does not have to dc so and is not under any duty er obligation'tc do so. it ls agreed that Lender insure no liability lor
not taking any or ali actions authorized under this Section 9.

Any amounts disbursed by Lender under this Section ii shall become additional debt of Borrower secured by this
Seecr|ty instrument These amounts shall bear interest st the Note rate from the date cl disbursement end shall be
payable, with such interestl upon notice from Lender lo Borrower requesting peymsnt. '

if this Security |nstrumsntis on a leasehoid, Borrower shall oompiywith ali the provisions cl the ieese. Borrower shall
not surrender the leasehold estate and interests herein conveyed or terminate or canoeithe ground tease. Eorrowersha||
nol, without the express written consent ct Landar, alter or amend the ground leass. il Borrower acquires lee title to the
Property. the leasehold and the lee title shall not merge unless Lender agrees to the merger in writing.

10. Mortgage lnsurancs. ii Lender required Mortgage insurance as a condition cl making the Loanl Borrower shell
pay the premiums required tc maintain the Mortgage insurance in efiect. it, for any reascn, the Mortgage insurance
coverage required by Lender ceases to be available trent lite mortgage insurer that previously provided such insurance
end Borrower was required to make separately designated payments toward the premiums for Mortgage lnsurancs.
Borrower shell pay the premiums required to obtain coverage substantiain ecLulvaient to the Mortgage insurance
previously in affectl at a cost substan ally equivalent to the cost to Borrower oil s Mortgage insurance previously in
effect. from an altemete mortgage insurerseiected by Lender. ll substantially equivalent Mortgage insurance coverage
is not available, Borrower shall continue to pay to Lender the amount ot‘ the separately designated payments that were
due when the insurance coverage ceased to be in effect Lender will accept, use and retain these payments as a non~
refundable loss reserve in lieu ot Mortgage lnsurancs. Such loss reserve shall be ncn-reiundab|e, notwithstanding the
fact that the Loan le ultimately paid |n luii, and Lender shall notbs required to pay Borrower any interest cr earnings on
such loss reserve. Lender can no longer require loss reserve payments ll Mortgage insurance coverage {in the amount
end lorthe period that Lenderrequires) provided by an insurer selected by Lender again becomes aveiiebie, is obtained,
and Lender requires separately designated payments toward the premiums icr Mortgage lnsurancs. it Lender required
Mortgage insurance as s condition ct making the t.esn end Borrower was required to make separately designated
payments toward the premiums lor Mortgage insurancel Borrower shall pay the premiums required to maintain
Mortgage insurance in etiect, or to provide a non-refundable loss reserva, until Lender's requirement for Mortgage
insurance ends in accordance with anywr|tten agreement between Borrower and Lender providing tier such termination
or until termination is required by Appiicable-Law. Nothing in this Section 10 attests Borrower'e obligation tc pay interest
attire rata provided in the Note. _ - .

Mortgage insurance reimburses Lender (or any entity that purchases the Note) tor certain losses it may incur if
Borrower does not repay the Loan as sgreed. Borrower is not a party to the Mortgage lnsurancs.

Mortgage insurers evaluate their total risk on all such insurance interco trom time to time, and may enter into
agreements with other parties that share cr modlly their rlsk, or reduce iosses. These agreements are on terms and
conditions that era satislactory to the mortgage insurer and the other party (or perties) to these agreemenls. These
agreements may require the mortgage insurer to make payments using any source oltunds that the mortgage insurer
may have available (which may include funds obtained i'rern Mortgage insurance premiums). - . -

Ae a result otthese agreements. Lender. any purchaser cl the Note, another insurer, any rsinsurer. any other entity, cr
any ailillate ct any ct the loregcing, may receive (direstiy cr indirecliyi amounts that derive from (or might be characterized
acts portion ct Borrower's payments lor Mortgage lnsurancs. in exchange tor sharing or modilying the mortgage insurer
rio , or reducing iossss. if such agreement provides that en aiiiliate cl bender takes a share cl the lnsurar's risk in exchange
tcr_a share cl the premiums paid to the insurer, the anangement is otten termed “oapiive rs|nsurance." Funher:

(e) Any _ such agreements will not affect the amounts that Borrower has agreed to pay for Mortgage
insurancel cr any other terms ol the Loan. Such agreements will not increase the amount Borrower will owe for
Mortgage lnsurancs. end they will not entitle Borrower tc any retund.

(b) Any such agreements will not street the rights Borrower has - it any - with respect tc the Mortgage
insurance under the Homsownero Protsotlcn Act ct 1898 or any other iaw. These rights may include the right to
receive certain dieciosurce, to request and obtain cancellation of the Mortgage lnsurancs. to have the Mortgage
insurance terminated automaticaiiy, end/cr tc receive a reiund ct any Mortgage insurance premiums that wore
unearned et the time ct such cancellation cr tenninetion.

11. Assignment cf Miscellaneous Proceeds; Fcrteiture. All Mlsoelisneous ?roceads are hereby assigned to and
shall be paid to Lender.

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li the Property is demaged. such M|sceiisncous Proceeds shall be applied to restoration or repair of the Property.
it the restoration or repair is economically feasible and Lender's security is not iessened. During such repair and
restoration periodl Lender shall have the right to hold such M|sceilaneous Proceede until Lenderhes had an opportunity
to inspect such Property to ensure the work has been completed to Lender‘s eatisiaction. provided that such inspection
shall be undertaken promptiy. Lender may pay for the repairs end restoration in a single disbursement or in a series of
progress peym ante as the work is oompieted. Un|ess an agreement ls made in writing orAppiioabie Law requires interest
to be paid on such Mlsoeilaneous i'~`roceedsl Lender shall not be required to pay Borrower any interest or earnings on
such Mlscsiianeous Froceeds. if the restoration or repair is not economically feasible or Lender's security would be
lessened. the Misceilaneous Proceeds shall be applied to the sums secured by this Saourity lnstrument, whether or not
then due, with the exoese, llany, paid to Borrower. Such Misoellansoue Prooesds shell be applied in the order provided
for in Section 2.

in the event cl a total takingl destructionl ortoss in value ofthe Property. the Miscei|enecus F’rooeeds shell be applied
to the sums secured by this Security Instrument. whether or not then due, with the excess. it any, paid to Borrower.

in the event ot s partial taking. destruction, or loss in value ot the Property in which the fair market value of
the Property immediately before the partial taking, desbucilcn, or loss in value is equal to cr greater than the amount
ot the sums secured by this Sacurity instrument immediately before the partial teklng, deetruction. or loss in
value, unless Borrower end Len der otherwise agree in writing. the sums secured by this Securlty instrument shall be
reduced by the amount oi the Misoe|ianeous Frooeeds multiplied by the following iraoiion: (e) the total amount of the
sums secured immediately before the partial taking. destruction. or loss in value divided by [b} the fair market value
of the Property immediately before the partial tsiring, destruction, or lose in vaiue. Any balance shell be paid to
Borrower.

in the event ots partial telling. destructicn, orloss in value of the Property in which thetalrmarlret value oi the Property
immediately before the partial taking. destrucllcn, or loss in value ia less than the amount of the sums secured
immediately before the partial taking, destruction. or loss in value, unless Borrower and Lender otherwise agree in
writing. the Mieceiianeous Procesds shall be applied to the sums secured by this Eisourity lnstrument whether or not
the sums are then due,

litho Property is abandoned by Borrower. or il. alternoiice by Lendsrto Borrowerthatthe Oppesing Party las defined
in the next sentenoe) offers to make an award to settle a claim for demeges. Borrower laiis to respond to Lender within
30 days after ths date the notice is glven, Lenderis authorized to collect and apply the Misoeiianoous Proceeds either
to restoration or repair of the Property or to the sums secured by this Security instrument, whether or not then due.
"Opposing Party" means the third party that owes Borrower Misoeiianeous Procesds or the party against whom
Borrower hss.e right election in regard lo Misceilaneous Proceeds. - _

Borrower shall be in default if any action or procesding, whether civil or orlm_ina|, is begun that, in Lender's]udgmentl
could result in forfeiture of the Property or other material impsinnent of Lender's interest in the Property or rights under

` this Security instrument Borrower can cure such a default encl, if acceleration has occurred, reinstate as provided in
Section 18. by causing the action or proceeding to be dismissed with a ruling that, in Lenderfs |udgment. precludes
forfeiture of the Property or other material impairment oi Lender's interest in the Property or rights under this Seourity
instrument 'i'he proceeds of any award or claim for damages that are attributable to the impairment el Lender's interest
in the Property are hereby assigned and shell be paid to Lender. .

All Mlsoelianeous Proceeds that sre not applied tc restoration or repair of the Property shall be applied ln the order
provided tot in Section 2.

12. Borrower Not Reieesed; Forbeeranoe By Lender Not a Weiver. Extenslon_ot the time for payment or
modilication of amortization of the sums secured by this Security instrument granted by Lender to Borrower or any
Successor in interest of Borrower shall not operate to release the liability ot Borrower or any Suocessore in interest of
Borrower. Lender shall not he required to commence proceedings against any Suooessor in interest oi Borrower or to
refusals extend time for payment or otherwise modify amortization of the sums secured by this Security instrument by
reason ot any demand made by the original Borrower or any Successors in interest ot Borrower. Any forbearance by
Lender in exercising any right or remedy inoludlng. without iimitation. Lender’s acceptance of payments from third
persons. entities or Suoccssors in lnterestot Borroweror in amounts less than the amount then due, shall notbe awalvor
of or preclude the exercise of any right cr`remedy. ,

13, Jolnt end Severel t.isbiilty; Co-stgnere; Succeseore end Assigns Bound_. Bon'ower covenants end agrees
that Borrower obligations end liability shell be ]oint and severai. However, any Borrower who oo-eigns this Security
instrument but does _not execute the Note la 'co-slgner"}: (e) is oo-signing this Security instrument only to mongege,
grant and convey the co-slgner's interest in the property under theterrns ot this Seeurity instrument; (b) is not personally

obligated to pay the sums secured by this Security inslr'ument; and (e) agrees that Lender and any other B]rro;er can
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agree to crctend, modiiy. forbear or make any accommodations with regard to the terms cf this Security instrument cr
th_a Note without the co-signer's consent.

Subject to the provisions of Section 18. any Succeesor in interest of Bonower who assumes Bonower obligations
under this Security instrument in writing. and is approved by Lender. shall obtain eli of Borrower's rights end benefits
under this Security instrument, Borrower shall not be released from Borrowar's obligations and liability under this
Security instrument unless Lender agrees to such release in writing. The covenants end agreements of this Security
instrument shell bind (sxcept as provided in Section 201 and benth the successors end assigns of Lender.

14. Loan Chargea. Lender may charge Borrowcrfees fcrserv|css performed in connection with Borrower's default,
for the purpose of protecting Lender'e interest in the property and rights under this Security instrument, inoludirrg. but
not limited to. attorneys’ fees, property inspection end valuation fsas. in regard to any oiharfeea, the absence cf steeress
authority in this Security instrument to charge a spaoifio tss to Borrowershaii not be construed as a prohibition on the
charging of such fae. Lender may not charge fees that are expressly prohibited by this Security instrument or by
Appiicabie Law.

lt the Loan is subject to a iewwhich sets maximum loan eharges, and that law is finally interpreted so that the interest
cr other loan charges collected cr to be collected in connection with the Loan exceed the permitted iimlts, them (e) any
such loan charge shall be reduced by fha amount necessary to reduce the charge to the permitted iimit; and (b) any
sums alreadycciieoted from Borrowerwhlch exceeded permitted iimiiswiiiberefundedto Borrower. Lender may choose
tc make this refund by reducing the principal owed under the Note orby making a direct payment to Borrower. if a refund
reduces principai, the reduction will be treated as a partial prepaymentwithout any prepayment charge (whether or not
s prepayment charge is provided for under the Note). Borrower's acceptance ct any such refund made by direct
payment tc Borrowerwiii constitute a waiver of any right erection Bonower might have arising out cf such overcharge.

16. Noticse. All notices given by Bonower cr Lender in connection with this Security instrument must be in writing.
Any notice to Borrower in connection with this Security instrumentshell be deemed to have been given to Bonower when
mailed by first class mail orwhen actually delivered to Borrower’s notice address ii sent by other means. Notice to any
one Bonower shell constitute notice to ali Borrowere unless Appiioabie Levv expressly requires othelwise. The notice
address shall bc the Property Address unless Borrower has designated a substitute notice address by notice to Lender.
Bonower shall promptly notify Lender of Bcrrcwer's change of address. ii Lender specifies a procedure ior reporting
Borrower's change of address, titan Bonower shall only report a change of address through that specified procedure.
There meybe_oniy one designated notice address under this Security instrument at any one tims. Any notice tc Lender
shall be given by delivering it cr by mailing it by first class mail to Lender's address stated herein unless Lender has
designated another address by notice to Borrower. Any notice in connection with this Security instrument shall not be
deemed tc have been given to Lender until actually received by Ls`nder. iiany notice required by this Security instrument
is also required underAppiicab`ie Law, the Appiicable Law requirement will satisfy the corresponding requirement under
this Security instrument

16. Govcrnlng Law; Savarebiiity; Fiuiea of Ccnetructicn. This Security instrument shall be governed by federal
law and the law ct the ]urisd|cilcn in which the Property ia tooated. All rights end obligations contained in this Security
instrument era subject tc any requirements and limitations oiAppiicabte Law. Appi|cebie Law mighteitplicltiycrimpiicitiy
allow the parties to agree by contract or lt might be sileni, but such silence shall not be construed as s prohibition against
agreement by contract in the event that any provision cr clause of this Security instrument or the Note conflicts with
Appilca.bis Law. such conflict shall not affect other provisions ofihis Security instrument or the Note which can be given
efiect without the conflicting provisicn. `

As used in this Security instrument: ia) words ofthe mascuiins gender shall mean and include corresponding neuter
words or words of the ierninins gsnder: (b) words in the singular shell mean end include the plural and vice versa: end
{o) the word l‘mey" gives sole discretion without any obligation to take any action, . ’

17. Borrower's Gopy. Bonower shell be given one copy of the Note end ot this Security instrument

18. Trensfar ci' the Property cr a Bsneficlei interest in Borrower. As used in this Section 18. "lnterest in the
Frcperty" means any legal or beneficial interest in the i'-‘rcperty, including. but not limited tc, those beneficial interests
bansierrad in a bond lor deed, contract for deed. installment sales contract cr escrow agreement the intent of which
is the transfer of title by Borrower at a future date to e purchaser.

ii ali cr any part of the Property cr any interest in the Property is sold cr transferred (or if Bonower ls not a natural
person and a beneficial interest in Bonower is sold or transiened) without Lender's prior written oonsent, Lender may
require immediate payment in full of ali sums secured by title Security instrument However, this option shall not be
exercised by Lender ll such exercise is prohibited by Apptioabie Law. , .

ii Lender exercises this opiion. Lender shall give Bonower notice cfaoceleraticn. The notice shall provide a period
cf notices then 30 days from the data the notice is given in accordance with Section 15 within which Berrcwar;uz pay

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all sums secured by this Security instrument if Bonower tells to pay these sums prior to the expiration cl this period,
Lender may invoke any remedies permitted by this Security instrument withoutl'urlher notice cr demand on Borrower.

19, Borrower'e Filghttc Reinelate After Aceeieretion. if Borrower meets certain conditions. Borrower shall have
the right tc have enforcement of this Security instrument discontinued at any time prior le the earliest of: (e) five days
before sale of the Property pursuant to any power of sale contained in this Security lnstrumsnt; (b ) such other period
as Appiioable st might specify for the termination of Eiorrower’s right lo reinstata; cr (e) entry cf a |udgrnent enforcing
this Security lnstnrment. Those conditions are that Borrower: (e) pays Lender ali sums which then would be due under
this Security instrument and the Note as if no acceleration had cccurred', (b) cures any default of any other covenants
or agreemenfs: lo) pays eli expenses incurred in enforcing this Security instrument1 inciuding, but net limited to.
reasonable attorneys'fees, property inspection and valuation fees. and otherfaee incurred for the purpose cfproteoting
Lender‘s interest in the Property and rights under this Security |nslrument; and (d) takes such action as Lender may
reasonably require to assure that Lender'e interest in the Property end rights under this Security instrument, end
Borrower's obligation to pay the sums secured by this Security instrument shell continue unchanged. Lender may
require that Bonower pay such reinstatement sums and expenses in one or more of the following fcrms, as selected
by Londsr: (e) oash; (b) money crdsr: (e) certified cheoir:l bank cheslr, tr'easurer‘e check cr oaahier‘e check. provided
any such check ls drawn upon en institution whose deposits are insured by atedersrl agency, instrumentality cr entity;
or ld) Eiectron|c Funds Transfer. Upon reinstatement by Borrower. this Security instrument and obligations secured
hereby shall remain fully effective as if no acceleration had cccurred. However, this right to reinstate shell not apply in
the case of acceleration under Section 18.

20. Sale of Note; Change cf Loan Servicer; Notice of Grlevanos. The Note cr a partial interest in the Note
{togelher with this Security instrument) can be cold one or mere times without prior notice to Borrower. A sale might
result in a change in the entity (i-rnown es the "i.oan Bervieer“) that collects Ferlodio Payments due under the Note end
this Security instrument and perfcrrns other mortgage loan servicing obligations under the Note, this Security
instrument, end Appiicabie Law. There also might be one cr more changes el the Loan Servicer unrelated to a sale cf
the Note, if there is a change of the Loan Servicer, Borrower will be given written notice of the change which will state
the name and address cf the new Loan Servicer, the address to which payments should be made end any other
information FlESFA requires in connection with a notice of transfer ct s arvlcing. lillie Note le sold and thereafter the Loan
is serviced by a Loan Senrlcer other than the purchaser ot the Note, the mortgage loan servicing obligations to Borrower
will remain with the Loan Servicer or be transferred to a successor Loan San/leer and are not assumed by the Note
purchaser unless otherwise provided by the Note purcheser. ,

Nelther Borrower nor Lender may commence. |cin, or be |cined to any]udiciei action (ss either an individual litigant
or the`rnember of a ciass) that arises from the other party's actions pursuant to this Security instrument cr_that alleges
that the other party has breached any provision ot, or any duty owed by reason of. this Security instrument, until such
Bonower or Lender has notified the other party lw|th such notice given in compliance with the requirements of S_ectlon
151 cl such alleged breach and afforded the other pertyheretc a reasonable period after the giving lofsuel'r notice to take
corrective action. iprpliceb|e Lew provides a time period which must elapse before certain action can be taken, that
time period will be deemed to be reasonable for purposes of this paragraph. The notice of acceleration end opportunity
to cure given to Bonower pursuantto Section 22 end the notice of acceleration given to Borrower pursuant to Section
18 shall be deemed to salisly the notice and opportunity to take corrective action provisions of this Section 20.

21. Hazordoussubstencee.ns used in this Section 21: {a) 'Hazerdcus Substances"are those substances defined
as toxic cr hazardous substances, pollutantsl cr wastes by Environmenlai Law and the following substances: gasoline,
kerosene, other liamrnable or toxic peb'oleurn products, toxic pesticides and herbicides, volatile scivents. materials
containing asbestos or formeidahyde, and
radioactive materlais; (b) llEnvlronmentei l.aw' means federal laws and laws of the jurisdiction where the Property is
located that relate to heailh. safety cr environmental protection: (c) “Environmentei Cleanup" includes any response
action, remedial action, cr removal action, as defined in Envlrcnmental Law; end (d) an “Envlronmentai Conditlon"
means e condition that can cause. contribute te. or otherwise trigger en Envircnmental Cieanup.

Bonower shall not cause or permit the |:rreeencel usel dispose|, storage, or release cf any l-lazerdous Substances.
cr threaten to release any Hazardcue _Substances, on cr in the Property. Borrower shall not dc. nor allow anyone else
to dc. anything affecting the Proper (e) lhatls in violation ofany Environmentai Law, (b) which creates an Environmentai
Ccndiiion. or (e) whichl due ic the presenoe. use. or release of a Hazardous Substance, creates a condition that
adversely affects the value ofthe Property. The preceding two sentences shall net appiyto the presence. use. or storage
on the Property of small quantities of Hazardous Bubetancee that are generally recognized to be appropriate to normal
residential uses end le maintenance of the Property (lnciuding, but not limited to. hazardous substances in consumer

products).
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o resesz open easements mo Pege 10 of 12_ cAEoEoL ease

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Borrower shall promptly give Lender written notice cl (e) any investigation1 claiml demand, lawsuit or other action

by any governmental cr regulatory agency or private party involving the Property and any Hszardous Substance cr

Envircnmentai i.ewotwhlch Borrower has actual knowledgs, (b) any Envlrcnmenta| Condlt|cn. including but not limited

io, any spili|ng, leaking. dlacharge, release or threat cf release ci any Hezardoue Substance, end {o) any condition

caused by the presence, usa cr release ct a Hazerdous Bubstanoe which adversely atlanta the value cf the Property.

ii Borrower ieame, cr ls notified by any governmental cr regulatory authonty, or any private party, that any removal or

other remediation of any Hazardous Substance affecting the Property is necessary. Borrower shall promptly lake all

necessary remedial actions in accordance with Envircnrnentai Law. Nothing herein shall create any obligation on Lender
for an Environmentai Oleanup.

NON-UNiFOFiM CQVENANTS. Borrower and Lender further covenant and agree as iciiowa:

22. Accelsret|on; Hemsd|ss. Lender shell give notice to Borrower prior to acceleration following Borrower'e
breach of any covenant cr agreement in this Security instrument (but not prior to acceleration under Section 18
unless Appliceb|e Lew provides ctherwlee). The notice shell specify: (e) the deteuit; (b) the action required to
curethe defeuit; (c) s daie, not less then 30 daysfl'om the date the notice is given to Borrowerl hywh|ch the detault
must be curad; end (d} that failure to cure the default on cr before the date specified in the notice may result in
acceleration cf the sums secured by this Security instrument and sale of the Froperty. The notice shall further
inform Bonower of the right to reinstate after acceleration end the right te bring a court action to assert the ncn-
ea|stence of a default or any other defense of Borrower to acceleration and csie. if the default la not cured on
er before the date specified in the notice, Lender st its option may require Immediete payment |n full of eli sums
secured by this Security instrument without further demand and may invoke the power of sale end any other
remedies permitted by Appiicabie Lew. Lender shall be entitled tc collect ali expenses incurred in pursuing the
remedies provided in this Section 22, inciudlng, but not limited to, reasonable ettornsye' fees and costa ot title
evidence.

if Lender invokes the power of sale, Lender shall execute or cause Trustee to execute a written notice of tito
occurrence of en event of default and of Lender'a election to cause the Property to be sold. Trustee shall cause
this notice to be recorded in each county in which any part ofthe Froperty le located. Lender cr Trustee shall mall
copies of the notice as prescribed by Appiicebie Lew to Borrower end to the other persons prescribed by
Appilcebia st. Trustee shell give pubilc notice olsslo to the persons end in the manner prescribed byApplicabie
Law. Attcrthe time required by Appllcable Law, Trustoe, without demand on Borrower. shell sell the Property st
public auction to the highest bidder at the time and piece and under the terms designated in the notice of sale
in one_cr more parcels end in any order Trustee determines. Trustee may postpone sale of oil or any parcel of
the Property by public announcement at the time and piece of any previously scheduled eeie. Lender cr its
designee may purchase the Property at any saia.

Trustee 'sheii deliver to the purchaser lt'rustee's dead conveying the Property without any covenant or
warranty, expressed or impiiad. The recitals in the Truslse's deed shall be prima facie evidence of the truth cf
the statements made there|n. 'l’ruetee shall apply the proceeds of the sale in the following ordor: (e) to eli
expenses of the sale, includingll but not limits to, reasonable Trustea'a and attorneye' feee; (b) to ali sums
secured by this Security instrument; end (e) any excess to the person or persons legally entitled to it.

23, Reconveyanos. Upcn payment cf ali sums secured by title Security |nstntmsnt. Lender shall raquestTrultee
to reconvey the Property and shall surrender this Security instrument and all notes evidencing debt secured by this
Security instrument to Trustee. Trustee shell reconvey the Property without warranty to the person or parsons legally
entitled tc it. Lender may charge such person or parsons a reasonable tea for reconvey|ng the Property. but only ifthe
fee is paid to a third party touch as the Trustsei icr services rendered and the charging cf the fee is pertained under
Appiioabieahaw. if the' lee charged does not exceed the ice set by Appiioabla Law, the fee is conclusively presumed to
be reason is. _ _ `

24.' l..'t`ubstitute Trustee. Lendcr. at its opilon, may from time to time appoints successor trustee to any Trustee
appointed hereunder by an instrument executed and acknowledged by Lender and recorded in the office of the
Fteccrder cf the county in which the Property ls iocetad. `ihe instrument shell contain the name of the original l.andcr,
Trustee and Borrower. the book and page where this Security instrument le recorded and the name end address of the
successor truetea. Without conveyance ot the Property, the successcrtrustse shell succeed to eli the title. powers end
duties conferred upon the anetee herein and by Appiicable Law. This procedure for substitution of trustee shall govern
to the exclusion cf ali other provisions tcr substitution , l

26. Statsment ct Dbitgstion Fee. Lender may collect a fee not to exceed the maximum amount psnnittad by
Appi|cabie Law for fum|si'ling the statement of obligation as provided by Section 2943 ol the Civil Code cl Csilfomlc.

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501231839
BY.SIGN|NG BELOW, Bonower accepts and agrees to the terms and covenants domain this Security

lnstrument and ln any Rlder executed by Bonower and recorded with |L

(Heal!.)

 

State of CALIF°RHIA County of SANTA CLARA
on fD'z~B'O(» , before me,_‘§|g!gg" §§ A\YQ$ Doi£lg! §H,hhc
(horo i t n s d ti a o 123 off cer), personally eased
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personally known to me (or !ad an me on the basis of satisfactory avidenoa) to be
'LE:

 

 

 

 

the person(s) whose name{o) are subscribed to the within tremont and
acknowledged to me that hal - !tbey executed the name in hi /their authorized
eapaoit.y(ies), and that by hie/ their signatura(e) on tha natrument. the person(s),
or the entity upon behalf of whl the person(s) aeted, executed the instrument,

WITNEBS my hand and official seal.

 

 

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arden M moments . _.. .-._.._._._._-.... ..

 

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Order No: 66211164

Legal Dcscription

All that certain real property situated in the County of Santa Clara, State ofCalifomia, described as follows:

(C|ty of San Jose)

Lot l7, as delineated upon that certain Map entitled "l\'act No. 4131", filed for record in the Oh`ice of the County of
Santa Clara, State of Califemla, on Febmary 24°, 1966 in Book 205 o{Maps, at page 42.

Bxeept|ng therefrom the underground Wator or rights thereto with no rights of surtaee entry, es granted to San lose
Water Worka, e Coli|'omia Corporation, by lnstrumem, recorded Mareh 29, 1966 in Book 7337 of O|Heial Reeords,

Page 232.

Commonweelth Leud Tltle Cempany

2020 S. Ba:com Avenua. SulreG ¢ Campbell, Cd 95008 ~ Phone: (408) 37I-I330 ' Fax: (408) 377-4987
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Vl WBCD LOAN 5 501231839
HIN #l 100052550123183997

1-4 FAM|LY RlDEFi
(Asslgnment of Rents)

THiS 1-4 FAMILY R|DER is made this cans dev of corcaea, 2006

and is lncorpcratecl into and shall be deemed to amend and suf|:t) iernentthe Mortga e,

Deed cl Trustl or Security Deed ithe “Securiig |nstrument") o
the undersigned (the “Borrower‘

e same date given y

)tc secure orrowe\’s Noteto mccann annx.

FBB, h FEDBRALL¥ cBARIHRBD HRNIEHB BRIK

(the "Lender"

of the same date and covering the Property described in the Security instrument an
located et: 3921 39er moon carva, san Jose, ca 95111.

1-4 FAM|LY COVENANTS. |n addition to the covenants and agreements made |n

the Securi instrument, Borrower end Lender further covenant and agree as follows:

A. DD|T|ONAL PFlOPEHTY SUBJECT TO THE SECUR|TY NSTF|UMENT.
in additionto the Prcdper:¥|ciescrlbed |n Security instrument thefc|iowing items now
cr hereafter attache to e Prop erty to the extent they are ures are added to the
Property deecri tionl and shell also constitute the Property covered by the Security
instrument: bui ding materlais, appliances and goods cl every nature whatsoever
now or hereafter located ln. on, or usedr or intended tc be used in connection with
the Prope , inciuding, but not limited to, those for the purposes cl supplying cr
distributing eeting. cociing, electricity, gss, water. air and light, fire prevention and
extinguish ng apparatusl security and access control agglarams, piumbing, bath
tubs. water heaters, uratercicsetsl rrinitsl ranges, stoves r erators, diehwashers,
disposa|e, washers, d ers, ewnings. storm urini:ioi.vsl storm oors, screens, blinds
shades. curtains en curtain rods attached mirrors, cabinetsl enellng an
attached i|ocr cravenanl ali oiwhich, includln replacements and ad itionsthereto,
shall be deemed to be and remain a pen oft e Property covered b the Security
instrument, All of the foregoing together with the Property described n the Security
instrument (or the leasehold este e ii the Security instrument is on a |easehoid] are
referred to in this 1-4 Famli Rid er end the Securi instrument as the “Property.“

B. USE OF PFiOPER ;COMPLIANCE WIT LAW. Borrower sheii not seei<,
agree to or make e chen e in the use cl the Property or itc zoning ciassiiicatlon
unless Lender has agree in writing to the chanfge. Borrower shall comply with eli
ien::, oédlnances, regulations and req uirements o any governmental body applicable

o s ro e .

C. SIJBOFKDINATE LiENS. Except as permitted b federal |aw, Borrower shall
not allow any lien inferior to the Security netrument o be perfected against the
Property without Lend er*s prior written permission

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MquleTATE 1-4 FAM|LY nloen-Fannle Muo/Fmdlo rim uNlFonu le'muMENT Fom\ 3110 1101
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D_. FlEN'l_' LOSS iNSURANCE. Borrower shall maintain insurance a ainst rent
loss rn addition to the other hazards for which insurance is required bg action 5.

E. “BCRHOWER'S FilGi-i`l'TO HEINSTATE" DELETED. Secticn'i is deleted.

F. BOHF\CWEF|'S OCCUPANCY. Un|eschnderand Bonower otherwise agree in
writing Section 6 concerning Borrower's occupancy of the Property is deleted.

G. ASS|GNMENT OF LEASES. Upcn Lender s re uest after delauit Borrower
shall assign to Lender ali leases of the Property and security deposiis made ln
connection with leases ofthe Property. Upcn the aerslgnrnentl Lender shall have the
right to mod , extend or terminatet a existing leases and to execute new leasesl
in ender’ s sc e discretion As used in this paragraph G the word “ iease' shall mean

"sub|ease“ litho Securl instrument is on a ieasehoi .

i-l. ASSIGNMENT 0 l'-iENTS; APPOINTMENT OF HECE|VEH; LENDEl-'i lN
POSSESSION. Borrower absolutei and unconditionally assigns and transfers to
Lender ali the rents and revenues (‘ ents“) cf the Pro erRr, re ardiess ol to whom
the Rents of the Pro atty are payab|e. Borrower a c aes ender or Lender's
agents to colleetthe ents and a rees that each tenant of the Prope shall pay the
Fients to Lendercr Lende . s egan .chever Borrower shall receive he Fients until

i) Lender has ivan Bonower notice cldefau|i pursuanttc Section 2201 the Security
nstrument en (ii Lend er has given notice to he tenent(s) that the Fients are tc be
paid to Lender or ender's agent This assignment cl Fiants constitutes an absolute
asst nmsnt and not an assignment for ad lticnai security oniy.

l Lender ives notice of efau|t to Borrower:ehiz eli Fients received by Borrower
shall be held y Bonower as trustee for the ben cl Lender cnly, to be a piled tc
the sums secured by the Security instrument (g) Lender shall be entitled c collect
and receive all cl the Flents cl the Property; (iii) answer agrees that each tenant cl
the Prc e shall pay all Rents due and unpa ci tc Lender or Lender's agents upon
Lende swr tten demand to the tenant (iv) unless applicable law rcvides otherwisel
all Rents collected by Lender or Lender's agents s all be appi eci first to thecosts
of taking control of and maria lng the Prope and collecting the Fients, lnciuding,
but not lmlted.to, attomey‘s ees, receivers ees, premiums on receivers bonds,
repair and maintenance costs insurance premiumsl taxes assessments and other
charges on the Fro erty, and inch to the sums secured by the Securi lnstrumsnt;
(v) Lendar, Lende s a ante cr any ludlcia|iy appointed receiver shai be liable to
account for only those ents actually received; and ivy Lender shall be entitled to
have a receiver appointed to take oasesslon cl an manage the Property and
collect the Fients and profits derived m the Property without any showing as to the
inadequacy cl the Property as security.

if the Rents cl the Property are not sufficient to cover the costs eliciting control
of and managing the Property and cf ccl|cetin the Fients any funds expended by
Lender icr such purposes shall become in ebtec| ness of Borrower to Lender
secured by the Becuri instrument pursuant_tc Section B.

Borrower re rosen and warrants that Borrower has not executed any rior
assignment of e Hents and has.not periormed, and will not perlorm, any ac that
wou d prevent Lender from exercising its rights under this pa;agraph.

'In tialer
MULUBTATE 1-4 FAM|LV RlDEH-Fannle MeeIFreddle lilco UNlFORM lNSTRl-|MEN'|' Forrn 3170 1l01 .
o tsaezool onune occurrence icc - Pago 2 of 3 _ anom,u care
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Lender, or Lender’s agents or a judicially appointed receiver, shall not be
re uiredto enterupon.takecontro|oformaintaln ePrcH:)ertybeforeoratterdglt/ing
no loe of default to Borrower. Howsver Lender, or Len afs agents or a ]u ciaiiy
apgo|nted receiver. may do so at any t|'rne when a default occurs. An application
o ents shall not cure or waive any default or invalidate any other rig t or remedy
of Lendsr. This assignment cl Flsnts of the Property shall term nate when allthe sums
secured bBthe Securi instrument are paid in fu|l.

l. CR SS-DEFA LT PHOV|SION. Borrower's default or breach under any
note or agreement in which Lender has an interest shall be a breach under the
Security instrument and Lender may invoke any of the remedies permitted by the
Security instrument

EiY SiGNlNG BELOW. Borrower accepts and agrees to the terms a ovenants
contained in this 1-4 Famiiy i`-lldsr.

 

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EXH[BIT 3

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Taxes
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Serviceka AMT PA| D 25 00
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°°5 °Y° Recordeci at the request of g- |4
l8377 Beach Blvd.l Suite 210 Record, n se . ' AM
emission ama cauroma 92643 9 ' "' °°
Loan NO.: 0004002327 TS NO.: 13-2233§
SUBSTITUTION OF TRUSTEE

WHEREAS, REBEKAl-l V. OWEN, AN UNMARR|ED WOMAN was the original Trustor. JOAN H.
ANDERSON was thc original Tmstce, and FLAGSTAR BANK, FSB as Lendcr, Mortgage Eieotroulc
Registration Syatems, lnc. was the original Bcnciiciary under that certain Deed of Trust dated 1003/2006 and
recorded on 10/316006, ar instrument Nurnber 19164224 ofOfiiciai Records oi` Santa Clara County,
California; and

WHEREAS, the undersigned is the present Bcnehclary under said Dccd of’i`ntst, and

WH BRBAS, thc undersigned desires to substitute a new Tmstec under said Deed of Trust in place and
instead oi' said original Trustee. or Succcasor Trustee. tharcunder, in the manner in said Deed oanxst provldcd,

NOW, THEREFORE, the undersigned hereby substith Law Otitces of bca Zlcve, as Trustee under
said Dccd ot`Trust. Whencver the contact hereof so requirea, the mascuiine gender includes the fcminins and/cr
neutcr, and the singular number includes the plural.

oated: \ ,l,_l /'3 mgmt-a nurse

State cf MlCHlGAN
County of AKLAND

0
On l /('/"’/ ; § beihra nrcl EVELYN D,ME§§}EA Notary Public, personally
appeared VIN FAY who proved to me on tila basis of satisfactory
evidence to be l.hc person(s) whose namc(s) lafara subscribed to the within insutuncnt and acknowledged to me that
he/shc/titcy executed the same in his/her/thcir authorized cepacity(ics), and that by his/hcr/their signaturo(s) on the
instrument the pcrson(s), cr thc entity upon behall'ofwhicit tire person(s) acicd, executed the humanan

l certify under FENALTY ¢F PEIUURY under thc laws oi'thc State of Di!§!!§N§ that thc foregoing

  

strauan a uasall~ln
Notary Pr.rbiic. State of Mich|gan
County oi Macomb
My Commisslon Expirea Auguai 28. 2048
Acting in lite (°.cuntv of Oeirland

 

Descriptiom Santa clara,f.!A Document - boom 22166797 Pager 1 cf l
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EX}HBIT_ 4

 

 

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Law offices of Les move SANTA CLARA COUNTY RECGRDER 4/19/29|3
18317 coach Blvd., suite 210 R°°°'d?°' °" *h° request of 9-' 14 mt
Huntington Beach, Ca|iiomie 92648 R°°°"dlna Service

 

TS NO.! 13-22335
APN: 299-18~117

NOT|CE OF DEFAULT AND ELECT|ON TO SELL UNDER DEED OF
TRUST

PURSUANT TO ClVlL CODE § 2923.3(3), THE SUMMARY OF iNFORMAT|ON REFERRED TO
BELOW lS NOT ATTACHED TO THE RECORDED COFY OF TH|S DQCUMENT BUT ONLY TO THE
COP|ES PROV|DED TO THE TRUSTOR.

No'ra: THEer rs A suMMARY oF THE lNFoRMATloN rN THls oocuMEN'r At'rAcHED
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Luu t: t<EM THEo oAY t.A aAN TRINH aAY T¢M t.U'cic ve THoNG TrN TRoNG TAt t.ieu NAY

|MPORTANT NOT|CE
|F YOUR PROPERTY iS lN FORECLOSURE BECAUSE YOU ARE
BEH|ND |N YOUR PAYMENTS lT MAY BE SOLD WiTHOUT ANY

COURT ACT|ON, and you may have the legal right to bring your account in good standing by
paying ali oi your past due payments plus permitted costs and expenses within the time permitted by law
ior reinstatement oi your account. which is normally live business days prior to the date set for the sale oi
your property. No sale date may be set until approximately 90 days from the date this notice oi default may
be recorded (whieh date of recordation appears on this notice).

This amount is $23,251.11 as of 4i8r1i113 , and will increase until your account becomes
current Wh|la your property ls |n foreclosure, you still must pay other obligations (such as insurance and
taxas) required by your Note and Deed of Trust or mortgage ii you fail to make future payments on the
loan, pay taxes on the proporty, provide insurance on the property. or pay other obligations as required in
the Note ann Deed oi Trust or mortgaga. tha Bene|iolary or mortgagee may insist that you do so tn order
to reinstate your account in good standing. ln addition. the Benelioiary or mortgagee may require as a
condition of reinstatement that you_prov|de reliable written evidence that you paid all senior ilens, property
taxes, and hazard Insurance premiums. .

Upcn your written request the Beneiiclary or mortgagee will give you a written itemization ol the entire
amount you must pay. You may not have to pay the entire unpaid penton of your account. even though
iuli payment was demanded. bu_t you must pay all amounts in default at the time payment is made.

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arden il Comeni:t ~ - _ _._

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Case 5:16-cV-O4O49-NC Document 1-2 Filed 07/18/16 Page 93 of 118

NOT|CE OF DEFAULT AND ELECT|ON TO SELL UNDER DEED OF TRUST

TS NQ. 13-22335

However. you and your Benollciary or mortgagee may mutually agree in writing prior to the time the Notice
of Saie is posted (wh|ch may not be earlier than three months after this notice of default ls recorded) to,
among other lh|nga. ill Provlde additional time |n which to cure the delau|l by transfer of the properly or
otheniv|se: or (2) Establlsh a schedule of payments in order lo cure your default; or, both (1) and (2).

Follow|ng the expiration of the lima period referred to in the first paragraph ol this nollce, unless the
obligation being foreclosed upon or a separate written agreement between you and your creditor
permits a longer panod, you have oniy the legal right to stop the sale of your property by paying the
entire amount demanded by your cradltor.

To find out the amount you must pay, or to arrange for payment to stop the
foreclosure, or if your property is in foreclosure for any other reason, contacts

Flagstar Bank FSB
C/O Low Offices ol' Les Zievc
18377 Bcrich Blvd., Suite 210
Huntlngton Beach, California 92648
Phone: 1-800-393-4887

lf you have any questions, you should contact a lawyer or the governmental agency which may have
insured your loan. Nolwlthstandlng the fact that your property is in foreclosure. you may offer your
property for sale provided the sale la concluded prior to the conclusion oi the foreclosure

Remember, YOU MAY LOSE LEGAL RlGHTS lF YOU DO NOT TAKE
PROMPT ACT|ON.

NOT|CE lS HEREBY GlVEN: That Law Ofltces of Les Ztcve ls either the original Trustee. the duly
appointed substituted Trustee. or acting as agent for the Trustee or Beneliclary under a Deed ol Trust
dated illnsrzotia, executed by REBEKAH v. OWEN, AN UNMARRlED wOMAN, es Trustor. to
secure certain obligations in favor oi' FLAGSTAR BANK, FSB as Lendor, Mortgage Eicctriiiric
Reglstrotion_ systems lnc. as Beri etlclit_ry. recorded trim/2006, as instrument No.~ 19164224, in Book ~~,
Paga -, of `Oitlcial Records iri tha Office of the Recorder `of Snntn Clara County, California
describing land therein aa: Ae more particularly described on said Deed of Trust.

The

subject obligation includes NOTE(S) FOR THE OR|G|NAL sum of $620,000.00. A

breach of, `and default lnl the obligations for which such Deed of Trust is security has
occurred in that payment has not been made oi the following:

The

monthly installment which became due on tolilziitz, along with late charges, and all

subsequent monthly inatailments.

You are responsible to pay all payments and charges due under the terms and conditions of
the loan documents which come due subsequent to the date of this notice, lnciudlng, but not
limited to; foreclosure trustee fees and coata, advances and late chargas.

Furthermore, as a condition to bring your account ln good standing, you must provide the
undersigned with written proof that you are riot in default on any senior encumbrance and
provide_proof of lnsurancs.

Nothing in this Notice of Defauit should be construed as a waiver of any fees owing to the
beneficiary under the Deed of Trust. pursuant to the terms and provisions of the loan
documents.

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Case 5:16-cV-O4O49-NC Document 1-2 Filed 07/18/16 Page 94 of 118

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NOT|CE OF DEFAULT AND ELECTION TO SELL UNDER DEED OF TRUST

TS No. 13-22336

That by reason thereof. the present Benetlciary under such Deed of Trust. has executed and delivered
to said duly appointed Trustee. a written Declaration of Default end Demend for same. and has
deposited with said duly appointed Trustee. such Deed of Trust and ali documents evidencing
obligations secured lhereby. end has declared and does hereby declare all sums secured thereby
immediately due end payable and has elected and does hereby elect to cause the trust properly to be
acid lo satisfy the obligations secured thereby.

WE ARE ASSIST|NG THE BENEF|C|ARY TO COLLECT A DEBT AND ANY lNFORMAT|ON WE
OBTAiN WiLL BE USED FOR THE PURPOSE BY ElTHER OURSELVES OR THE BENEF|C|ARY.
WHETHER RECEiVED ORALLY OR iN WR|T|NG. YOU MAY DiSPUTE THE DEBT OR A PORT|ON
THER,EOF UPON WR|`ITEN REQUEST WlTH|N TH|RTY 30) DAYS. THEREAFTER WE WiLL
OBTAIN AND FORWARD TO YOU WR|TTEN VERIF|CAT|O THEREOF. SHOULD YOU NOT DO
SO. THE DEBT WiLL BE CONS|DERED VAL|D. lN ADDiTiON, YOU MAY REQUEST THE NAME
AND ADDRESS OF THE OR|G|NAL CRED|TOR iF DlFFERENT FROM THE CURRENT ONE

The loan servicer has fulfilled its obligation under either California Civil Code section 2923.5 or
2923.55 (as applicabie). Piease see Declaration of Compliance attached hereto.

Dated: 4/8/2013 Lew Officss of Les Zieve, as Trustee

 

Deeaript:.ionr santa clara,CA Document - DoaID 22166799 Pagea 3 et 4

Ordez'r N comment r

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CAL|FORN|A DECLARAT!ON OF COMPL|ANCE
(Civii Code § 2923.55(0))

Borrower(s): REBEKAH V. OWEN

Mortgage Servicer'. Fiagstar Benk FSB

Property Address: 3927 & 3929 RHODA DR|VE
SAN JCSE, CA 95117

T.S No: 13-22335

The undersignsd. as an authorized agent or employee cl the mortgage servicer named below. declares
that:

t. U The mortgage servicer has contacted the Borrower pursuant tc Califomla Civil Code §
2923.55 b)(2) to assess the borrowers financial situation and explore options ior the borrower to
avoid reciosure . Thirty (30) daye. or merel have passed since the initial contact was mada,

2. The mortgage servicer has exercised due diligence to contact the borrower pursuant to
Califomla Civil Code § 2923.55(0 to assess tire borrower's financial situation and explore options
for the borrower to avoid foreclosure . Thirty (30) days, cr more, have passed since these due
diligence aliens were ssilsfied.

3. n No contact was required by the mortgage servicer because the individual did not meet the
definition of 'bonower pursuant to Celiiom|e Civil Code subdivision (c) of§ 2920.5(¢).

4. ij The requirements of California Civil Code § 2923.55 do not apply because the loan ls not

secured by a first lien mortgage or deed of Trust on owner occupied residential real property es
dallned by Callfomla Civil Code § 2924.15.

i certify end represent that this mortgage servicst declaration is eccurete, complete and based upon
competent and reliable suldence. which the mortgage servicer has reviewed including my review of the
mortgage servicer business reocrds. to substantiate the borrowers default and ihs right to iorsoiose.

including the borrower s loan status and loan inlomtatlon.

Date: igt;`g § Fiegsls an FSB.M:\:rtgage Sarvicer
' B“/'S§)UQM\'W¢LD$U

ATTACHMENT TO NOT|CE OF DEFAULT

 

Deecz'.f.pt:ionr Santa Clara,t.'.'»\ Document - DoaID 32.1.66798 Pager 4 of 4
order1 H Comms.ntr . --

 

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EXHIBIT 5

 

 

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Huatington Beach, California 91648 ServiceLinlt - irvine Blbt

 

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T.S. NO. 13-22335 APN: 299-18-117

NOTICE OF TRUSTEE'S SALE

PURSUANT TO CNIL CODE § 2923.3(8), THE SUMMARY OF lNFORMATlCN REFERRED TO
BELOW |S NOT ATTACHED TO THE RECORDED CCPY OF THiS DOCUMENT BUT QNLY TO THE
COP|ES PR°V|DED T0 THE TRUSTOR.

NoTE: THERE rs A suMMARv oF THE lNFoRMAnoN lN THts oocuMENT ArTAcHED
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No‘rA: se AoJuNTA uN REsuMEN oE LA iNFoRMAcloN oE Es‘rE oocuMEN'ro
TALA: MAYRooNG euoo No iMPoRMAsYoN sA ooKuMENToNG tro NA NAKALAKIP
Lu’u v: KEM THEo DAY t.A BAN TRINH eAY Torvr LLch ve THONG TrN TRoNG TAl Lleu NAY

YOU ARE iN DEFAULT UNDER A DEED OF TRUST DATED 10l23l2006. UNLESS YOU TAKE
ACTION TO FROTECT YOUR PROPERTY, i'i' MAY BE SOLD AT A FUBLiC SALE. tF YOU NEED AN
EXPLANAT|ON OF THE NATiJRE OF THE PROCEED|NG AGA|NST YOU, YOU SHOULD CONTACT
A LAWYER.

A public auction sale to the highest bidder tor cesh, cashiers check drawn on a state or national bank,
check drawn by a state or federal credit union, or s check drawn by a state or federal savings end loan
association, or savings association, or savings bank specified in Section 5102 ot the Finenciai Code and
authorized to do business in this state will be held by the duly appointed trustee as shown bsiow. of all
right. tltie. and interest conveyed to and now held by the trustee in the hereinafter described property
under and pursuant to a Deed ot Trust described beiow. The sale will be mads, but without covenant or
warrantyl expressed or |rnpiied, regarding title, possession, or encumbrancss. to pay the remaining
principal sum of the note(s) secured by the Deed ot Trust. with interest and late charges thereon, as
provided in the note(s}. advenoss. under the terms of the Deed of Trust. interest thereon. fees, charges
and expenses of the Trustee for the total amount [at the time of the initial publication of the Notice of Saie)
reasonably estimated to be set forth beiow, The amount may be greater on the day of sale,

Trustor: REBEKAH V. 0WEN, AN UNMARR|ED WOMAN

Duiy Appointed Trustee: Lew Oftices ot Les Zieve Deed ol Trust recorded 10/31/2005 as instrument No.

19164224 in book -, page - of Official Records in the office of the Recorder of Santa Clara County.

Ceiifomia. ,
Date of Saie:8l13l2013 at 10:00 AM

Piace of Saie: At the entrance to the Superior Courthouse 190 N Niarket Street San Jose. CA

Esttrnated amount of unpaid balance and other oharges: $693,412.42

Note: Because the Beneficiery reserves the right to bid less than the total debt owed. it is possible that at

the time of the sale the opening bid may be less than the total debt owed.

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Orderr lt Commeatr

 

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Street Address or other common designation of 3927 & 3929 RHODA DR|VE
real property: SAN JOSE, CA 95117
Described as follows:

AS MORB FULLY DBSCRIBED ON SAID DEED OF TRUST

AP.N #.: 299-18-117

The undersigned Trustee disclaims any liability for any incorrectness of the street address or other
common designstion, if any, shown above, if no street address or other common designation is ehown,
directions to the location of the property may be obtained by sending a written request to the beneficiary
within 10 days of the date of first publication of this Notice of Sale.

NOTlCE TO POTENTiAL BlDDERS: if you are considering bidding on this property lien, you should
understand that there are rtsks involved in bidding at a trustee euctlon. You will be bidding on a llen. not on
the property itssif. P|aoing the highest bid at a trustee auction does not automaticain entitle you to free
and clear ownership ol the property. You shoutd also be aware that the lien being auctionad off may be a
junior ||en. if you are ihs hlghest bidder at the auction. you srs or may be responsible for paying off ali
liens senior to the lien being auctioan oif, before you can receive clear title to the property. You are
encouraged to investigate the existencel priority. end size ot outstanding liens that may exist on this
property by contacting the county recorder office or a title insurance oornpsny. either of which may
charge you a fee for this infon'nation. if you consult either of these resouroee. you should be aware that
the same lender may hold more than one mortgage or deed of trust on the property.

NOT|CE TO PROPERTY OWNER: 'i'he sale date shown on this notice of sale may be postponed one or
more times by the mortgegae. banefioisry, trustes, or s court, pursuant to Section 2924g oi' the California
Civil Code, The law requires that information about trustee sale postponements be made available to you
end to the pubiio, as a courtesy to those not present al the sale, ll you wish to team whether your sale
date has been postponed. and. il epp|imbis, the rescheduled time and date for the sale of this property,
you may call (?14) 848-9272 or visit this intemet Web site www.eiitepostandpub,oorn. using the file
number assigned to this case 13-22335. lnfon'netlon about postponements that are very short in duration
or that occur close fn time to the scheduled saia may not immediately be reflected in the telephone
information or on the internat Web aite. The best way to verify postponement information ls to attend the

scheduled sale.

Dated: 7I1712013 Law offices of Les Zieve, as Trustee
18377 Beach Blvd., Suite 210
Huntington Beach, Califomla 92648
For Non-Autometed Saie information, caii: (114) 848-7920

For Saie into etion: (714) 848-9212 www.eiitepostand pub.com
. Christine O:Qen, Tru§e Saie officer '
Tttls FtRM is ATTEMFT|NG To ooLLEcTA DEBT AND quél;l;oRMATroN w`E oBTAtNED wiLL aa usEo FoR THAT
P RP

Descr.tpt:.tonr santa clara,¢it Document - Docm 223086'79 Peger 2 of 2
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Case 5:16-cV-O4O49-NC Document 1-2 Filed 07/18/16 Page 99 of 118

_EXHIBIT 6 `

 

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AHT PA|D 34 00

 

REC\NA ALCOMEMRAS RDE ii 391
SANTA CLARA GWNTY RECORDER 9/\9/29\3
' Recorded at the request of 9=|2 AM

Finenolel Cenpeny

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Caret.eglr:
450 E Botlridhry St.
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ASS|ONMBN'|' OF IIBBD OF TRUST
KNOW ALL MW BY TllESE |'RBSBNTS
B'l'ATB DF Clllfol'ltia lAlnl 004001327
~ COUNTV 0\" SANTA CLARA MlNli 100052550123183991

That, MORTGAGE ELECIRON|C REG|$TRATlON SYSTEM, iNC., AS NOM|NEE FOR FLAGSTAR BANK, FSB,
|TS SUCCESSOR‘S AND/oil h$$l€hl$ lis slth and assigns which ims nn whites md phone n\tmhsr e|` F.O. 80)(
2026, F|.lNT Ml 48501 tASSlGNOlt) acting herein by and through a duly authorized afikar. deal miss its interest in the
cea sr'nm owner by liesiilu\it v. owen mens tire mr orsszo,otio.eo aaa mize/2006, md recorded
10/31/2005 as DOCUMEN’|'NO. 1916€224, Fth-l€ which win needed en the iel(a) er pucel|s) demi'bed therein
slumtrd in the City er SAN iOSE, county ci‘ SANTA CtAltA. State or Califomla

mw
Commonly K.oown As: 3927 3929 RHODA DRNE, SAN JOSE. CA 95117

For gacd, valuable and sufficient cons|dsrlilloa palll. tile receipt ei'eihlch ll hereby admonitich does hucbyirmal'i:r and
mm m ever md active to u.S. Bsnl: Natlanai Auocletien, ss Trustee for C\ii= Mortgage l.esn
Aoquisitten company hammer ma nom watts im m adam or 60 livingston live nue, EP-MN-

WSZ-i D, St. Faul, Mlil 551¢? [A.HIGNBE} ali interest in and title le said Meng:ga, together with all adm lime aguilar
said prepaty naming tito miami thereon and all tll.la held by the undersigned in end iesa.id' land.

10 HAVB AND 1`0 HOLD unto said Assignes said above dmlhad Mortgage lapthar with oil and singular the liens rights
aqu|ilca. title and estate in said real acute therein described securing the payment thereon emmeer

0n 6/21/2013
MURTGAGE ELECTRON|C REG|STRATIUN
SY$|'EM, lNC., AS NOM!NEE FOR
FU\GSTAR BANK, F$B, l`|'$ SUCCES$DR'$
AND/Ol\ ASS|GNS

   

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S'I'ATB 0|' M
COUNTY OF QAKLAND

ACKNOWLEDGEMBNI'

on 6!27!2013 berlin ma item mile assured 1153 LOU|$E MAHONY. !|§E_EBE$!REBI. smooth known w r'\=
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intimation and acknowledged to ma that heiahallhsy counted the same in hvmcdlli.air cade that by hialhen'iha|r
signature[s) en the inmanaat, the individuei{s} ar tire person upon bahall‘ai‘whlch tire lndivt\iuai[a} ustcd. mooted the
|rtdrcmai. mill that such individual make each appearance b¢.|'ara the undersigned in tha Clty ol‘Trey, Ml

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EXI~IIBIT 7

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RECORD|NG REQUESTED BY: ’

 

 

rr N E E
REGI NA ALCOMENDRA$ RDE ii 004
Lew Oil'iccs of Les Zieve
30 Corporatc Park, Suite 450 SANTA CLARA COUNTY RECORDER 2/ lB/2B i4
lwin¢' CA 92606 Recorded et the request of 91 18 AM
Atiorney
TS Nc.: 13-22335 APN: 299-18-117
Property Address:
3927 & 3929 RHODA DR|VE
SAN JOSE, CA 95117
NOT|CE OF RESC|SS|ON

OF DECLARATION OF DEFAULT AND DEMAND FOR SALE
AND OF NOT|CE OF BREACH AND ELECTION TO SELL UNDER DEED OF TRUST

NOTICE lS HEREBY GIVEN: That Law Offices of Les Zleve is duly appointed Trustee under a Deed of
Trust dated 1012312008. executed by REBEKAl-l V. OWEN, AN UNMARR|ED WOMAN, as Trustor. to
secure certain obligations in favor cf FLAGSTAR BANK, FSB as Lender, Mortgage Eiectronlc
Registration Systems, lrtc.l as Beneflciary, recorded 10i31r2006. as instrument No.19164224, in book --
. page -, of Official Records in the Oiiice of the Recorder of Santa clara County. California describing
land therein as more fully described on the above referenced dead of irust.

WHEREAS: The present beneficiary under that certain Deed oi Trust herein above described,
heretofore delivered to the Trustee thereunder written Declaration of Deiault and Demend for Sale; and

WHEREAS: Notice was heretofore given of breach of obligations for which said Deed of Trust is
security and of election to cause to be sold the properly therein descnbed;

NOW THEREFORE: Notice ls hereby given that the present Beneflciary and/or the Trustee. does
hereby rescind, cancel and withdraw said Declaration of Default and Demend for Saie and said Notice of
Breach and Eiectlon to Cause Sale; it being understood. however. that this rescission shall not in any
manner be construed as waiving or affecting any breach of default pasl. present or future under said Deed
cl Trust. or as impairing any right or remedy ihereunder, but is. and shall be deemed to bel only an
election. without prejudice, nol to cause s sale to be made pursuant to said Declaration and Notice. and
shall ne way jeopardize or impair any righl. remedy or privilege secured to the Beneiiolary andior the
Trustee. under said Deed of Trust. nor modify ncr alter in any respeot, any of the terms, oovanartts.
conditions or obligations tharaof. and said Deed of Trust and ali obligations secured thereby are hereby
reinstated end shall be and remain in force end effect fha same as ii said Declaration of Defauii and
Notice of Breach had nol been made and given. Said Notice was recorded on monell as instrument No.
22166798. in Book . Pege . of Official Records in the oiiice of the Recorder of Santa Clara County.
California

Dated: 2/r\rzor4 . MM bg

Marcy Axelrod, Trustiro Saie Officer

Deecript:ionr Santa clara,€i\ Document - DaaID 2252076.‘|. Pager 1 cl l
Orderr ll Comeot:r

Case 5:16-cV-O4O49-NC Document 1-2 Filed 07/18/16 Page 104 of 118

EXHIBIT 8

CaS€ 5216-CV-O4049-NC

RECORDING REQUESTED BY:

DouoLAs P. BARNes,
A PnoFessloNALLAw CoRPottA'rloN

WI'IEN RECORDED MAIL TO:

DouoLAs P. BARNes,

A PROFBsleNALLAw CoRPoltA'rioN
210 ALMaNoRA AveNua

Los GA'ros, CALtFole/t 95030-721 l

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SANTA CLARA COUNTY RECORUER 4/09/20|5
Recorded at the request of 3'@8 PM

Recordi ng Serv i oe

 

(SPACE ABOVB 'I'HIS Ll'NB FOR RECORDER'S USE)

ORDER CONFlRMING TRUSTEE AND
CONFIRMING ASSETS OWNED BY TRUST

 

DOCUMENT TlTLE
APN: 299-18-117

SEPARA'I‘B PAGB PURSUANT TO CAL. GOVT. CODE § 27361.6
Deeoript:loo: santa Clara,CA Document - Doo.tD 22913096 yager .‘|. of 4

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Case 5:16-cV-04049-NC Document 1-2 Filed 07/18/16 Page 106 of 118

 

 

DOUGLAS P. BARNES, SBN 9?00$
.iUDlTH N. DOUGLASS, SBN 146162 l L- E
DOUGLAS P. BAR.NES, A PROFESSIONAL LAW CORP.
30 gmcndcr:l$`/enue%OBO 7211
s tos, omie - ..
§408 395-4800 Telephone: APR 1 2015
408 395-4899 ermu¢
ATTORNBY FOR: MICHAEL PARADISE, Trustee
SUPBR]OR COURT OF CALIFORNIA .
l COUNTY OF SANTA CLARA
In re the matter of Casc No: i-l 5-PRl75808
THE PARADISE LIVING TRUST DATBD ORDER CONFIRMING TRUSTEE AND
DBCBMBBR ll, 2012. ¥§U§'FMING ASSE'I`S OWNBD BY THE
MICHAEL D. PAMDlSE end RBBBKAI-i [Probate Code § 17200]
OWBN-PARADISE, Scttlors
MICHAEL PARADISB, Trustee. DATB: Aoprtl l, 2015
~ DBPT: l
_/ 'I'IME: 9:30 a.m.

 

Petttioner, MICHAEL PARADISE, Trustee of the PARADISE LIViNG TRUST Dated
December l l,' 2012, having filed his PB'I'ITION FOR ORDBR CONFIRMING TRUSTEE AND
CONFlRMING PR.OPERTY OWNED BY TRUST (Probate Code Sections 17200, et seq), the Court tinds:
l. 'Due notice of hearing of the petition has been given as required by law.
2. All allegations of the petition are true.
Now, THEREFoRE, 11 ls HEREBY onnanan than
i. MlCHAEL PARADISE is continued as Trustee of The Paradlse Living Trust Dated
December l i, 2012, to serve without bond;

2. The asset set forth in BX.HIBlT“A" attached hereto is confirmed to MICHAEL PARADISE
as Trustee of Paredise Living Trust Dated December l l, 2012;

3. ' For such additional orders es; the Court deems proper.

Dat¢d: -pPr_t o 1 2015

 

.i E F'I`H S PERl 0
Thomas E. ltultnle

 

 

 

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EXHIBIT A

The reel ropcrty located at 3927 & 3929 Rhoda Drive, San Jose, Ceilt‘omia, APN: 299-18-117,
common y described as follows:

Lot 17, as delineated upon that certain Ma entitled "Tract No. 4131", filed for record in the Ofticc
gfthc4County of Santa Clare, State of Ca ifornia, on February 24"', 1966 in Book 205 of Meps, at
age 2.

Bxccpt:ing therefrom the underground water or rights thereto with no rights of surface eniry, es
rented to San lose Water Works, a California Corporotion, by instrument, recorded March 29. 966
it Book 7337 of Official Records, Page 232.

APN: 299-18-117

 

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RJN EXHIBIT 9

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Thanl< you for yourtlrne and effort in providing the information requested on the 2014
CRMLA Annuai Report.

If you have saved your progress and wish to return later.'
Access the survey again by clicking on the Survey link in the email you received from the DBO
and then continue lnputting lnformat|on.

If you have submitted your completed survey end would like to make changes:
Access the Survey again by clicking on the Survey l|nl< in the emal| you received from the
DBO. Make any necessary changes and click the submit button again,

To print and/or review the Survey with your data:

C|lcl< here to review the lnforrnation you have answered into the Suryey. Only fields that you
have answered will be visib|e. 'i‘o print what you've entered, right c|lci< on the Survey that
pops up. (Note: Your browser securlty settings may need to be modified to allow pop-ups
from this website.)

For assistance or questions, please emall.'
survey@dbo.ca.gov.

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2014 CRMLA Annuai Report Pagc 1 of 2

" ice departmental

 

' d Business eyesight

2014 CRMLA Annual Report

Rogort of P[|ncipal Amount of i.oans Originntorl and
Anqrooato Amount of Loans Serviced

Please rcporttho §ailfgggia loans orlginatod. serviood. procosscd. underwritten and brokered. Your annual assessment
forthc fiscal year Ju|y 1. 2015'throug|r Juno 30, 201|, as provided by Financioi Codo (FC) Section 60401, will he
calculated from the information provided in this rcport. improper reporting will result in nn incorrect assessment lfyou
have nothing to report for n quoet|on, then inputa zero ("0").

LOAN$ PROCESSED AND LJNQEBHR|| !EN;

As required by Section 50129 (FC), each licensee must report iho number and principal canountof California loans
processed and undorwritton. Tlto ionns to be reported oro iirooo loans which, ptrrsu:'rntto`n written agency contraciwith
anothorinstitut|ona| lender. the i|consoo engages in thc business of soilc|ling, processing applicationc, or applying
residential loan underwriting criteria for residential mortgage loans for that iondor, using or advancing tim funds o[ that
lender.

LOANS OEIG|EATED;

As required by Section 50401 (FC), each licensee must report thc number and principal amount of California mortgage
loans originated each mcnth. "Princlpol Amount“ moons the initial total amount a borrower le obligated to repay the
lender. The loans to bo reported are those which the licensee made with its own iuntls. including funds obtained from
warehouse credit linos.

LOAN B K R D'

Section 50702 {i'-'Ci authorizes a residential mortgage tender to provide brokerage services pursuant to o written
brokerage agreement with the borrower under the authority oi its iicunso. Pioueo report the number nnd aggregate
principal amount ofciocod California residential mortgage loans secured by residential real estate in which the licensee
provided brokerage services under the authority of itc residential mortgage iondorliconso issued by tim Departrneni of
Business Ovorsight.

Me§ee_v\eees
As required by Section 60401 (FC), each licensee must report the total aggregate amount ofnli California loans serviced

“Aggrogato Amount of Loans Servicod" means tim aggregate dollar value of all mortgage loans secured by residential
real property serviced by a licensoo. calculated ao ot tito iastday oi each month in tito 2014 calendar year.

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Report by respondent for '2014 CRMLA Annuai R_eport' Page l of 6

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Report by respondent for ‘2014 CRMLA Annuai Report' Page 2 of 6

The Commissloner of Business Oversight directs DBO-iicensed California Residantiai Mortgage
t.ondsrs and Servicars to complete and submit the 2014 California Resldentlel Mortgage Lendlng Act
Annual Report, pursuant to Financiai Code sections 50307 and 60401.

IliE.AlitN.iiAi-.B§E.QBT_EQ.UZ
The Report includes the following sacdons:

o Report of Pr|nolpsi Amount of Loene Orlglnsted and Aggrsgste Amount of Loans Servlcod for the 12 tilonth Psriod
Ended December 31. 2014

v Re art on iion-deltional. Adiusteble Rato and Mortgage Loan Producte

~ ca lfornle Foreciosure Redootion Act

~ Non-`l'raditional, Ad|uatebls Rots and Mortgage Loan survey

MWLEILEIHE.BEEBIZ
The 2014 CRMLA Annuoi Rsport must be fliad by every ilesnsse, even if no business was conducted under the authority
of the license in 2014. companies with multiple branches must prepare one consolidated repert.

EEBiQD_QRDRED.E¥l|iE.BEEQ-BL

The reporting period is (1) January 1, 2014, through December 31. 2014, er (2) from the effective date of licensure for
licenses issued in 2014 through December 31, 2014.

 

The report must be completed and submitted onllne no later than March t. 2015.

Fursuentto Section lti$£e of the Financlai cedo. failure to file the reports within ten §10) days of the due dets. or failure
to include any matter required in the report. will maull ln a penalty of Sttlii for avery ay up to the tenth day. Thereafter.
any failure shell constitute grounds for the suspension or royoeetlon of the llcsnse.

 

r if your answer la "tl", you must type in "ii."

¢ Bsya your progress by eliciting the “Save" hutton at the bottom of each page. You can return to make changes by
sticking on the |inir that was enrolled to you from the 080.

~ You must ciiolt the “Submlt" button at the end ofthe reportte complete the forrn.

¢ The report fink is aecure, and input la protected b 128-bit ancrypiion to maintain privacy and conlidentiallty.

v This link le unique to your institution end should o shared only with people authorized to ssa the infonnatlon.

» Onty one person may enter data in the report ate time.

~ Bema:ue'et::na depend on how you answer otherquestlons; therefore some questions may not appear in
nume ca o er.

- aetna f|e‘iida calculate totals automatically. while some do not. Be sure to double-check that required questions are
answers .

- All items mandating dollar amounts should be rounded to die nearest whole deiiar. Do net add “.00' to represent
roundln to the nearest doiiar. Do not round lterne to the nearest thousand or million dollars. Do not round
intense late calculations

- The report works heat when Je\ra Baript le onshlad.

v Gildt here for a copy cf these inatruct|ons.

- li la highly recommended that you dick here for a bisnit paper copy of the reportto help you compile information
for tire onlino fenn. emma uua‘r se eueun'rso name nra oNuNa Fonu.

EQB.A§§.[§IAN§.B

if you have any questions about the content of the Report or need clarification on the instructiona, please small
CRMLA.|nqulries@dbo.ca.gov.

if you would like technical assistance with the form. please contact survey@dbo.co.gov.

 

Licensee Contact information

 

 

 

ucensec Nama (es shown on iicsrue): FAY simde t.l.c
CA 080 license Numbcr: dusen
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Case 5:16-cV-O4O49-NC Document 1-2 Filed 07/18/16 Page 113 of 118

Report by respondent for '2014 CRMLA Annuai Report' Page 3 of 6

Contact information

 

For the Purpose of Arranglng nguiatory Exsmlnatlons

 

 

Name: nda lilvero

Street Addi'es$l 4110 8 while it Suite little
Clty: Ctucago

State: illinois

Fhone: 332-808¢4125@

 

Pleoaa report the §g]H%P]g loans ori instantl esr'\ricad.r proceessd, underwritten and brokered. Your annual assessment
ior the iiacal year duly , 2515 tirroug Juna sti, 2016, as provided by F|nenolal Code (FC) Section 50401, will be
calculst from the information provided in this report improper reporting will result in an incorrect assessment ifyou
have nothing to report for a quasiion. than inputs aero ("0").

its required by Section 80128 (F¢], each licensee must reporttho number and principal amount el California loans
processed and underwriiten. The loans to be reported are these loans which, pursuant to a written agency contrast with
another inetit\.rtions| lender. the licenses engages in the business el soliciting, processing applicationa, supplying
:ss:!dantiai loan underwriting criteria lor residential mortgage loans for that lender. using or advancing the funda of that
B|'l Bf.

LQAN§.QB|§|NAIED»'
Aa required by Section Siidil‘l {FG}, each licenses must report the number end principal amount of California mortgage
loans originated each month.“Principol Arnount” means the initial total amount a borrower is obligated to repay tha

lender. The loans to be reported are those which the licensee made with its own runda, including funds obtained from
warehouse credit iinse.

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auction mfti! {FCi authorizes a residential mortgage lender to provide brokerage services pursuant to s written

brokers s agreement with the borrower under the authority of its tloenae. Plsoeo report the number and aggregate

princl a amount el closed california residential mortgage loans secured by residential reel estate in which the licensee

great sd brokorlaogl:r services under tire authoth et its residential mortgage tender license issued by the Deparbnont of
ualnaas mere t.

LQAN§_§.EB¥!§.EQE
ns required by Section onset Fi¥}. each licensee must reportthe total aggregate amount of ali California loans sorvicad.

“A grsgale Amount of Loana erviced" means the ag rsgate dollar value of all mortgage loans secured by residential
rea property serviced by s liaensoo, calculated ss of s last day of each month in the 2014 calendar year.

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Report by respondent for '2014 CRMLA Annuel Report' Page 4 of 6

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|-1&. LOANB PROCESSED, UNDERWR|TTEN AND ORlGlNATED

 

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Froceued end CA t.oaru i>rocesrad l of CA Leens iinnclpal Arnounr of

 

 

 

 

underwritten end underwritten Onglnecad CA tocns Orlalnctcd

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1b. LOANB BROKERED AND SERVICED

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Mey o c x,eso,eu,sse
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Tdtdl 0 il 17,804,989,221
§_elti_e.mia.£am_ciseure_Br.daatian.A§-i

Eifaol.lve January 1, 2013.1.|1¢ California Foreclosure Reductian Act tAB 288 (Gh. tlB, Stats. 2012) end BB soil {tih. tli’. Btats.
limit includes s sallie requirements for licensees that conducted mere then 115 foreclosures during drs previous
calendar year. a Dopartmant has included an addendum to the Report of Principal Amount of Loana Originated and
Aggragate Ameuntof Loane tiervlecd fertile 12~hlonth Forled Ended December 31. 2014, to collect tha number of
foreclosures completed during the 2014 calendar year.

The following questions stein connection with the California Foreclosure Roductlon Act and these requirements.

 

2. Durln 2014, did you foreclose on 116 or fewer residential real properties containing no more than four dwelling units
first are ocated in Californla?

 

 

 

 

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Report by respondent for '2014 CRMLA Annuai Repori' Page 5 of6

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3. Provlde the total numbsgof foreclosures com istsd on residential real re ertles located ln calif l l
more than four dwelling units during 2014. p p p °m'a' com n ns no

 

Numbar of foreclosuras: ss

 

Califomia Code of Reguiationa 'l'ilie ttl, section tabo.$ie.li requle avery licensee to implement treat practices to
manage loan Elreduct rlelr on a continuous basia. Theao boat practices include practices set forth in the Guidsnce orr
iiienlreditlonei engage Preduci Risirs published on Novembsr14, 2|illB, by the Coniarence of Btete Bsnlr Suponriecra
EBBBI and the Amerlcan Aeaociation ct Resldentlal Mortgo s iteguiatere (MRMR). and the Ststarnent on Subprime
engage Lendln published on duly 17, lui.i‘f. by G~BBB. AA R and the iialionai Aaaoclatien of Conaurnar Credit
Adrnlniatratore. th publications era collectively referred to herein aa the "Guidsnce.' "Boat practiooa“ means lawful
processes, policiee. and procedures to manage rlalce aaaeciatad with cas of nontreditionai mortgage products and

adjustable rata mortgage products se defined and prescribed by the Guldence.

tracy nonbsd|tional mortgage loans er adjustable rate mortgage loans subjectto the Guidence wore made or arrangsd.
the licenses must also so mlt information regarding those loan products on the form balow, the Non-tr'sditlonal.

kd]ustabls Rete and Mortgage Loan Burvey (Survey}.

 

d. Salect the following non-traditional mortgage products er adjustable rate mortgage products made or arranged
during the 2014 calendar year.

 

 

 

l'" Mada non-traditional mortgage products

l" Arrencsd non-traditional mortgage products
l'° Mads adjustable rate mortgage products

l' licensed adjustable rate mortgage process
i~" sons cr nrc above

 

 

o in thousands and number of loans retained as of december 31, 2014, and the

Flease show the dollar voium
d number orleans sold over the t!-montir period ending December 31, 2014.

dollar volume in thousands an

THE SUld 0F THE "NUMBER OF LOANS" F|ELDS AND THE “DOLLAR AMOUNT lN TH°UBANDS" FlELDS w MATCH
WITH "I 0F CA LOANS OR|G|NATED" AND “PRiNClPAL AMOUNT OF CA LOANS ORlGlNATED" TOTALS lN QUESTICN 1A.

 

 

 

 

italalncd (Numbsr of kelcined (eeliar Seld (Numbsr cf Said (Dolter mount in
i.earts) Amount in 'iheusands) Locnr) Thousandsi
20. All originated Loens (Non-Tradldoncl end
Tradiuonel): ° ° 11 a,sea,ass
Verlfloation

 

 

i certifyldeclsre under penalty of perjury that the foregoing information and the attached report are true end correct.

 

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preparer litter tlcncger of l.icanslng
mporer ?hona dr 312-808-4:2.5@
Propamr Emall: advm@foyservlcing.com
Clry in which report was execuccdr chiceeo

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voter (mrnlddlvyyy) 02/37/3038

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Report by respondent for '2014 CMA Annual Report' Pagc 6 of 6
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When you have completed the Report. elicit the Submlt button beiow. A oenlinnatton message of your submission will
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PROOF OF SERVICE

I, Catherine Lawler, declare as follows:

I am employed in the County of Marin, State of California where the mailing occurred. I
am over the age of eighteen (18) and not a party to the within action. My business address is 907
Sir Francis Drake Blvd., Kentf`leld, CA 94904. I am readily familiar with the practices of
Wright, Finlay & Zak, LLP, for collection and processing of correspondence for mailing with the
United States Postal Service. Such correspondence is deposited with the United States Postal
Service the same day in the ordinary course of business. l am aware that on motion of party
served, service is presumed invalid if postal cancellation date or postage meter date is more than
one day after date of deposit for mailing in affidavit

On July 15, 2016, I served the foregoing REQUEST FOR JUDICIAL NOTlCE lN
SUPPORT OF DEFENDANTS’ DEMURRER TO PLAINTIFF’S COMPLAINT on all
interested parties in this action by placing [ ] the original [X] a true copy thereof enclosed in
sealed envelope(s) addressed as follows:

Marc Applbaum, Esq.

KETTNER LAW CORPORATION

2150 West Washington Street, Suite 104
San Diego, CA 92110

Telephone: (619) ?56»‘?300

Facsirniie: (619) 363-3944

E-Mail: marc@kettnerlawcorp.com

Attorneys for Plaintiff
MICHAEL PARADISE

[X] (BY UNITED STATES MAIL) I placed such envelope(s) for collection and mailing,
following our ordinary business practices.

[] (BY UNITED STATES CERTIFIED MAIL) I placed such envelope(s) for collection
to be mailed on this date following ordinary business practices, via Certified Mail, Retum
Receipt Requested.

[ ] (BY OVERNIGHT DELIVERY) I enclosed the document(s) in an envelope or package
provided by an overnight delivery carrier and addressed to the person(s) at the
address(es) listed herein. I caused to be placed the envelope or package for collection
and overnight delivery at an office or a regularly utilized drop box of the overnight
camer.

[ ] (BY MESSENGER SERVICE) I served the document(s) by placing them in an
envelope or package addressed to the person(s) at the address(es) listed herein and
providing them to a professional messenger service for service. A Declaration of
Messenger is attached to the original Proof of Service.

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PROOF OF SERVICE

 

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Case 5:16-cV-O4O49-NC Document 1-2 Filed 07/18/16 Page 118 of 118

[ ] (BY PERSONAL SERVICE) l personally delivered the document(s) to the person(s) at
the address(es) as set forth on the attached service list. (l) For a party represented by an
attorney, delivery was made (a) to the attorney personally; or (b) by leaving the
document(s) at the attorney’s office, in an envelope or package clearly labeled to identify
the attorney being served, with a receptionist or an individual in charge of the office; or
(e) if there was no person in the office with whom the notice of papers could be left, by
leaving them in a conspicuous place in the o'l"l"ice between the hours of nine in the
morning and live in the evening (2) For a party, delivery was made to the party or by
leaving the document(s) at the party’s residence with some person not younger than 18
years of age between the hours of eight in the morning and six in the evening

l declare under penalty of perjury under the laws of the State of California that the
foregoing is true and correct

Executed on July 15, 2016 at Kentiield, California

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'\. .' '
MULQ_€IQ_,Q;:)'C`LLU'L/.,Q/l;,

Catherine Lawler

 

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PROOF OF SERVICE

 

 

